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 1                UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF OHIO
 3                      EASTERN DIVISION
 4                    ~~~~~~~~~~~~~~~~~~~~
 5      IN RE: NATIONAL PRESCRIPTION     MDL No. 2804
        OPIATE LITIGATION
 6                                       Case No.
                                         17-md-2804
 7
                                                   Judge Dan Aaron
 8                                                 Polster
 9      This document relates to:
10      The County of Cuyahoga v. Purdue Pharma, et
        al., Case No. 17-OP-45004
11
        City of Cleveland, Ohio v. Purdue Pharma L.P.,
12      et al., Case No. 18-OP-45132
13      The County of Summit, Ohio, et al. v. Purdue
        Pharma L.P., et al., Case No. 18-OP-45090
14
                          ~~~~~~~~~~~~~~~~~~~~
15
16
                        Videotaped Deposition of
17                            GERALD CRAIG
18                          January 11, 2018
                               9:12 a.m.
19
20                            Taken at:
21                       Jackson Kelley, PLLC
                   50 South Main Street, Suite 201
22                           Akron, Ohio
23
24
25                      Stephen J. DeBacco, RPR

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    1 APPEARANCES:                                                   1 APPEARANCES, Continued:
    2                                                                2
    3   On behalf of the City of Akron, Summit                       3   On behalf of CVS Rx Services, Inc., and
        County, and the Witness:                                         CVS Indiana, LLC:
    4                                                                4
           Motley Rice LLC, by                                              Zuckerman Spaeder LLP, by
    5      ANNE MCGINNESS KEARSE, ESQ.                               5      DANIEL P. MOYLAN, ESQ.
           JODI WESTBROOK FLOWERS, ESQ.                                     100 East Pratt Street, Suite 2440
    6      ANNIE E. KOUBA, ESQ.
                                                                     6      Baltimore, Maryland 21202-1031
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           akearse@motleyrice.com                                        On behalf of Walmart, Inc.:
    9      (843) 216-9163                                            9
           jflowers@motleyrice.com                                          Jones Day, by
   10      (843) 216-9225                                           10      MEREDITH C. KINCAID, ESQ.
           akouba@motleyrice.com                                            1420 Peachtree Street Northeast
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   12                                                               12      (404) 581-8043
   13                                                                       mkincaid@jonesday.com
        On behalf of Cardinal Health:                               13
   14                                                               14   On behalf of Cardinal Health, via
           Williams & Connolly, by                                       Teleconference:
   15      PAUL E. BOEHM, ESQ.                                      15
           MELINDA JOHNSON, ESQ.                                            Williams & Connolly, LLP, by
   16      Williams & Connolly LLP                                  16      BRAD MASTERS, ESQ.
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   19      mkjohnson@wc.com                                         19          ~~~~~
   20           ~~~~~                                               20
   21                                                               21
   22                                                               22
   23                                                               23
   24                                                               24
   25                                                               25

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     2                                                               2
         On behalf of Cephalon, Inc.; Teva                               On behalf of Cephalon, Inc.; Teva
     3   Pharmaceuticals USA, Inc.; Actavis, LLC;                    3   Pharmaceuticals USA, Inc.; Actavis, LLC;
         Actavis Pharma, Inc. f/k/a Watson Pharma,                       Actavis Pharma, Inc. f/k/a Watson Pharma,
     4   Inc.; and Watson Laboratories, Inc.:                        4   Inc.; and Watson Laboratories, Inc., via
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     9   On behalf of Endo Health Solutions, Inc.,                   8       pamela.holly@morganlewis.com
         and Endo Pharmaceuticals, Inc.:                             9
    10                                                                   On behalf of AmerisourceBergen Drug
             Baker Hostetler, by                                    10   Corporation, via teleconference:
    11       CAROLE S. RENDON, ESQ.                                 11       Reed Smith LLP, by
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    15   On behalf of Johnson & Johnson and                         15
         Janssen Pharmaceuticals, Inc.:                                  On behalf of McKesson Corporation:
    16                                                              16
             Tucker Ellis, LLP, by                                           Covington & Burling LLP, by
    17       BRENDA A. SWEET, ESQ.                                  17       PATRICK R. CAREY, ESQ.
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    19       brenda.sweet@tuckerellis.com                           19       pcarey@cov.com
    20            ~~~~~                                             20            ~~~~~
    21                                                              21 ALSO PRESENT:
    22                                                              22       Kurt Henschel, Legal Videographer
    23                                                              23            ~~~~~
    24                                                              24
    25                                                              25

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                                                   Page 18                                                Page 20
     1           THE VIDEOGRAPHER: Today's date is 1              Covington & Burling on behalf of McKesson
     2   January 11, 2019. We're on the record at 9:12.   2       Corporation.
     3           We're here in the matter of the          3           GERALD CRAIG, of lawful age, called for
     4   National Prescription Opiate Litigation.         4       examination as provided by the Federal Rules of
     5           This deposition is taking place in       5       Civil Procedure, being by me first duly sworn,
     6   Akron, Ohio.                                     6       as hereinafter certified, deposed and said as
     7           Will counsel please identify             7       follows:
     8   themselves for the record.                       8             EXAMINATION OF GERALD CRAIG
     9           MR. BOEHM: Paul Boehm --                 9       BY MR. BOEHM:
    10           MS. KEARSE: Anne --                     10           Q. Good morning, Mr. Craig.
    11           MR. BOEHM: I'm sorry. Go ahead,         11           A. Good morning.
    12   Anne, please.                                   12           Q. Thank you for being here. My name
    13           MS. KEARSE: Anne Kearse, County of 13            is Paul Boehm. I represent one of the
    14   Summit, City of Akron, and Jerry Craig with     14       Defendants, and I'll be asking you some
    15   ADM.                                            15       questions today.
    16           MS. KOUBA: Annie Kouba with Motley16                     We introduced ourselves before we
    17   Rice on behalf of the County of Summit, the     17       went on the record, and just wanted to do that
    18   City of Akron, and Jerry Craig, the witness.    18       again on the record.
    19           MS. FLOWERS: Jodi Flowers on            19               Have you ever been deposed before
    20   behalf of Summit County, City of Akron, and the 20       today?
    21   witness.                                        21           A. Yes.
    22           MS. SALERNO: Danielle Salerno with 22                Q. When was that?
    23   Motley Rice on behalf of City of Akron, Summit 23            A. Probably back in the mid-'80s.
    24   County, and the witness.                        24           Q. Have you been deposed more than
    25           MR. BOEHM: Paul Boehm for Williams 25            once?
                                                   Page 19                                                Page 21
     1   & Connolly for Cardinal. I'm joined by my            1        A. No.
     2   colleague Melinda Johnson. We're from Williams       2        Q. What was the matter in which you
     3   & Connolly.                                          3   were deposed in the mid-1980s?
     4           MS. FEINSTEIN: Wendy West                    4        A. It was a civil litigation on an HR
     5   Feinstein with Morgan Lewis for the Teva             5   issue.
     6   Defendants.                                          6        Q. Were you a party in the litigation?
     7           MS. RENDON: Carole Rendon, Baker             7        A. Yes, I was.
     8   Hostetler, for the Endo Defendants.                  8        Q. Were you a plaintiff or a
     9           MR. MOYLAN: Daniel Moylan,                   9   defendant?
    10   Zuckerman Spaeder, for the CVS Defendants.          10        A. I was the defendant.
    11           MS. KINCAID: Meredith Kincaid with          11        Q. What was the nature of the claims?
    12   Jones Day for Walmart.                              12   What were the nature of the claims in that
    13           MS. SWEET: Brenda Sweet of Tucker           13   litigation?
    14   Ellis, LLP, for Janssen Pharmaceuticals and         14        A. It -- it was a civil rights
    15   Johnson & Johnson.                                  15   complaint that I was unfairly promoted.
    16           THE VIDEOGRAPHER: And by                    16        Q. Who was the plaintiff?
    17   telephone?                                          17        A. The individual who was not
    18           MR. MASTERS: Brad Masters for               18   promoted.
    19   Cardinal Health.                                    19        Q. And what was the outcome of that
    20           MS. HOLLY: Pam Holly with Morgan            20   litigation?
    21   Lewis on behalf of Teva Defendants.                 21        A. I believe we prevailed.
    22           MS. HIBBERT: Kelly Hibbert of Reed          22        Q. Did it go to trial?
    23   Smith on behalf of AmerisourceBergen Drug           23        A. No, it did not.
    24   Corporation.                                        24        Q. When you say you prevailed, what do
    25           MR. CAREY: Patrick Carey of                 25   you mean by that?
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     1        A. I mean that there -- there was --           1      A.     Yes.
     2   it was found that there was no basis for the        2      Q.     Okay.
     3   claim.                                              3           MS. KEARSE: Unless I instruct him
     4        Q. A judge found that?                         4   not to answer.
     5        A. To be honest, I didn't -- I --              5       Q. Right. I'm talking about just an
     6   it's -- I don't recall. I don't recall exactly      6   objection to a question. You do understand
     7   how that -- how that was brought to conclusion.     7   that?
     8        Q. Were you accused of some kind of            8       A. Excuse me. Yes, I do.
     9   misconduct?                                         9       Q. What have you done to prepare for
    10        A. No.                                        10   your deposition here today?
    11        Q. Have you ever testified in any             11       A. We've had a series of meetings with
    12   other context?                                     12   our attorneys.
    13        A. Yes. I was -- I was a                      13       Q. When you say "we," tell me what you
    14   representative at the organization I was           14   mean.
    15   working at the time, Community Support             15       A. Representatives from our
    16   Services, in a civil matter related to the         16   organization, and myself included.
    17   murder of a resident of a group home.              17       Q. Who are the people from your
    18        Q. Did you testify in a deposition or         18   organization that have had these meetings with
    19   in a courtroom?                                    19   your attorneys?
    20        A. I testified in a courtroom.                20       A. I'm not aware of -- of all of them,
    21        Q. When was that?                             21   but I can -- I can state that Kim Patton --
    22        A. That was in the early 2000s.               22           MS. KEARSE: Can I ask for
    23        Q. Other than the two instances that          23   clarification? And I'm done interrupting, but
    24   you've now described, have you ever given any      24   I believe that the question was in preparation
    25   other sworn testimony?                             25   of your deposition?
                                                  Page 23                                                 Page 25
     1       A. Not that I can recall.                       1        Q. Go ahead. Yeah, go ahead.
     2       Q. Okay. You may recall from your               2        A. In -- in preparation -- okay.
     3   prior occasions of having to testify, and           3        Q. Go ahead.
     4   particularly in the context of the deposition,      4        A. Can you ask the question again,
     5   there are some basic ground rules that we try       5   then, please?
     6   to follow. So far I think we've both been           6        Q. Can you just go ahead and finish,
     7   doing a pretty good job.                            7   and then I'll ask my next -- my next question.
     8           But as the day wears on, we'll want         8            MS. KEARSE: I think he just asked
     9   to make sure that we're not talking at the same     9   for you to the question.
    10   time, and that is so you hear my question and      10        A. Could you repeat the question so
    11   so that I can hear all of your answer. And it      11   that I understand what you're asking?
    12   also helps Stephen, who is our court reporter      12        Q. You had -- you had said that there
    13   today, who needs to be writing everything down     13   had been meetings that I understood you to be
    14   that we say.                                       14   saying you have participated in?
    15           Does that make sense?                      15        A. There have been meetings that I
    16       A. Fair enough.                                16   have participated in, yes --
    17       Q. If -- if your lawyer says                   17        Q. Okay. And -- and who --
    18   "objection," as she might today --                 18        A. -- with our -- with our attorneys.
    19           MS. KEARSE: You think?                     19        Q. Okay. And who participated in
    20           MR. BOEHM: I hope not, but we'll           20   those meetings?
    21   see. I left open the possibility you wouldn't.     21            MS. KEARSE: I'm going to object to
    22           MS. KEARSE: We've been three               22   the -- I want to make sure he's answering your
    23   minutes into it. Okay.                             23   initial question, so I would ask the court
    24       Q. -- you understand that you should           24   reporter to make sure we're answering the
    25   continue to answer the question?                   25   question you initially asked.
                                                                                              7 (Pages 22 - 25)
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                                                  Page 26                                                 Page 28
     1           If you asked him a new question and         1       A. Before that, I'm not sure I could
     2   you don't want him to finish that, that's fine.     2   give you a date.
     3       Q. Okay. Let's just -- let's back up            3       Q. Okay. Did anybody other than
     4   for a minute.                                       4   attorneys from Motley Rice attend the meetings
     5           My first question was what have             5   that you've had to prepare for your deposition?
     6   you -- what have you done to prepare for your       6       A. No.
     7   deposition here today, and you indicated that       7       Q. Have you talked with anybody other
     8   you had participated in a series of meetings        8   than the attorneys for Motley Rice about the
     9   with others.                                        9   fact that you would be giving deposition
    10       A. I've participated in a series of            10   testimony today?
    11   meetings with the attorneys from Motley Rice.      11       A. I may have, yes.
    12       Q. Who participated in those meetings?         12       Q. Who have you spoken with about
    13       A. In preparation for my deposition,           13   that?
    14   just me.                                           14       A. My wife. Possibly one of my
    15       Q. Okay. So you -- you've -- you're            15   children.
    16   indicating, I think, that you've met with the      16       Q. Anybody else?
    17   attorneys for other purposes, but for purposes     17       A. No one who I can recall
    18   of your preparation for a deposition, the          18   specifically, but I may have mentioned it.
    19   meetings have just involved you and lawyers        19       Q. Have you spoken with any of your
    20   from Motley Rice; is that --                       20   professional work colleagues about the fact
    21       A. Those --                                    21   that you'd be giving a deposition?
    22       Q. -- right?                                   22       A. Oh, yes.
    23       A. I'm sorry. Those meetings that              23       Q. Who have -- who have you talked
    24   were specific to my deposition, only me and the    24   with?
    25   attorneys.                                         25       A. On Tuesday mornings I have a
                                                  Page 27                                                 Page 29
     1       Q. Okay. When did you meet with your            1   meeting with all of my staff, and I go over my
     2   attorneys to prepare for your deposition here       2   schedule with them. And so one of the -- one
     3   today?                                              3   of the things that I mentioned is that this is
     4       A. On several occasions over the past           4   the week that I would be giving my deposition.
     5   four months or so.                                  5       Q. Have you discussed with your work
     6       Q. How many times?                              6   colleagues in any way the questions you might
     7       A. If I had to guess, I would say               7   be asked or the testimony you might give in
     8   maybe five times.                                   8   response to the questions that you are asked
     9       Q. For how long have you met?                   9   during today's deposition?
    10       A. Generally for several hours at a            10       A. No. No. I may have spoken to them
    11   stretch.                                           11   about some information that would help me
    12       Q. Half a day? A full day?                     12   prepare a little bit for a deposition.
    13       A. Most of the time it's been roughly          13       Q. What information did you discuss
    14   three or four hours.                               14   with your colleagues might help you prepare for
    15       Q. When did you most recently meet             15   your deposition?
    16   with your attorneys here to prepare for your       16       A. Some information about our
    17   deposition?                                        17   financial -- some of our finances related to
    18       A. Yesterday.                                  18   the opiate epidemic.
    19       Q. How long did you meet yesterday?            19       Q. What?
    20       A. About four hours.                           20       A. Just general --
    21       Q. And before that, when had you last          21           MS. KEARSE: Objection.
    22   met with the lawyers for Motley Rice to prepare    22       A. Just general --
    23   for your deposition?                               23           MS. KEARSE: Just to the form.
    24       A. On Monday.                                  24       A. -- general -- general questions
    25       Q. How about before that?                      25   about methodology that -- that we utilized in
                                                                                              8 (Pages 26 - 29)
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                                                  Page 30                                                     Page 32
     1   order to come up with the damages or the cost       1             MS. KEARSE: All right. Well, you
     2   associated with the opiate epidemic.                2   just --
     3        Q. And I'm asking you for the                  3            MR. BOEHM: So just wait until I'm
     4   particulars of those conversations. Not just        4   done and then you can object.
     5   for the high-level, had a conversation about        5        Q. So I believe you testified that you
     6   it. I want to know what you discussed.              6   had had a conversation about whether or not the
     7           MS. KEARSE: Object to form.                 7   Summit County ADAMHS Board had accounted for
     8        A. I don't have -- I don't have                8   all the categories of expenses that you have
     9   a recollection of the exact nature of the           9   incurred in connection with the opioid abuse
    10   conversations. I think part of those               10   epidemic in the county; is that right?
    11   conversations had to do with whether or not we     11            MS. KEARSE: Object to form.
    12   covered all of the -- all of the expenses          12   Misstates his testimony.
    13   related to the opiate epidemic in -- in the        13        A. I'm -- you're -- you're going to
    14   different domains, including the treatment         14   need to ask that question with a little bit
    15   services, prevention services, our work with       15   more clarity, because I'm not sure I follow
    16   the Opiate Task Force, and also the time that      16   you.
    17   our staff had been spending to respond to          17        Q. Okay. We can do this the hard way,
    18   opiate-related community requests.                 18   I guess.
    19        Q. What did you determine about that?         19            You indicated, you told me, that
    20        A. Well, we were -- we were able to --        20   you had had conversations with people on your
    21   we were able to kind of clarify, you know, a       21   staff about whether or not you had accounted
    22   methodology that we were -- we would all be        22   for the various categories of expenditures for
    23   able to use.                                       23   the ADAMHS Board, right?
    24        Q. What was the methodology you -- you        24        A. That's correct.
    25   decided you would use for that?                    25        Q. Okay. And you said you concluded
                                                  Page 31                                                     Page 33
     1       A. Just that we were covering all of            1   that you had accounted for all those
     2   the -- all the topics and all of the                2   categories, right?
     3   activities.                                         3       A. To the best of our knowledge, yes.
     4       Q. No, I'm asking about the                     4       Q. Did you write those down?
     5   methodology that you would use.                     5       A. We did collect that information,
     6       A. Perhaps that wasn't the best way to          6   yes.
     7   state it.                                           7       Q. Where is that information right
     8             It was more or less whether or not        8   now?
     9   we had covered all the different activities         9       A. We provided that information to our
    10   related to our response to the opiate epidemic.    10   attorneys.
    11       Q. And what did you conclude?                  11       Q. Okay. Did you send it -- did you
    12       A. Our conclusion was that we were             12   discuss that with your work colleagues by
    13   satisfied at the end of the -- at the end of       13   e-mail?
    14   this -- this conversation, that we had covered     14       A. I don't believe we did, no.
    15   everything that we could think of collectively     15       Q. What are all the categories of
    16   to address any costs associated with the opiate    16   expenditures that you -- you believe that the
    17   epidemic.                                          17   Summit County ADAMHS Board has incurred in
    18       Q. And when you say that you had               18   connection with the opioid abuse epidemic?
    19   covered all the categories that you thought        19       A. Well, as I said before, the
    20   were associated with the opiate abuse epidemic     20   activities of the Opiate Task Force, our
    21   in Summit County --                                21   education and community involvement and
    22             MS. KEARSE: Object to form.              22   engagement, our support services, staff time.
    23   Mischaracterizes his testimony.                    23            Trying to remember if there are any
    24             MR. BOEHM: I'm sorry. I'm not            24   others that I may have forgotten.
    25   even halfway done with my question.                25       Q. I'll give you --

                                                                                                 9 (Pages 30 - 33)
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                                                     Page 34                                                Page 36
     1       A. And -- and claims --                            1   litigation there, that is privileged
     2       Q. I'll give you a minute.                         2   information, to the extent that's what we're
     3       A. And claims -- and claims                        3   talking about.
     4   information, of course. Claims information on          4        A. I don't recall the total. The --
     5   funds that were utilized to pay for people who         5   the total, I could not -- I could not give you
     6   were diagnosed with a substance use disorder,          6   that number with any degree of certainty.
     7   primarily with an opioid diagnosis.                    7        Q. Could you give me a rough ballpark
     8       Q. Anything else?                                  8   of what that number was?
     9       A. I think that covers -- I think that             9        A. No, because we looked at so many
    10   covers it.                                            10   iterations of the numbers, I don't remember
    11       Q. When did you have these                        11   exactly what we finally arrived at.
    12   conversations with your staff?                        12        Q. Do you know what methodology
    13       A. This has been a series of                      13   Ms. Peivich used in computing what she believed
    14   conversations probably over several months.           14   to be the expenditures the Summit County ADAMHS
    15       Q. When have you most recently had                15   Board had incurred in connection with the
    16   conversations with your staff about these             16   opioid abuse epidemic --
    17   categories?                                           17            MS. KEARSE: Object to --
    18       A. Earlier this week I had a                      18        Q. -- in this county?
    19   conversation with my chief clinic -- or my            19            MS. KEARSE: Object to form.
    20   chief operating officer to clarify the process        20        A. Generally, I -- I -- she and I
    21   by which our agencies were paid.                      21   discussed methodology. She proposed some
    22       Q. When you say "your agencies," you              22   methodologies, and we selected what we felt
    23   mean the agencies -- the contracting agencies         23   would be conservative and defendable, those
    24   that the ADAMHS Board funds?                          24   expenditures that we could best track directly
    25       A. Yes, the contract agencies.                    25   to expenditures of funds; and for those that we
                                                     Page 35                                                Page 37
     1       Q. Have you performed a calculation or             1   could not -- and those were nominal, such as
     2   a computation of what you believe to be the            2   staff time -- we did our best estimate.
     3   expenditures the Summit County ADAMHS Board has        3        Q. Do I understand correctly that you
     4   made in -- with respect to each of the                 4   considered a variety of different methodologies
     5   categories you just identified?                        5   for calculating your costs?
     6       A. I did not personally, but our                   6        A. Yes.
     7   organization did create a -- a document.               7        Q. And then you sel- -- you selected
     8       Q. Who did that?                                   8   among those options, one?
     9       A. It was under the -- it was under                9        A. No. It depended on the source of
    10   the stewardship of our chief operating officer,       10   the data. For example, we -- one methodology
    11   Jen Peivich.                                          11   we used was to pull claims data that listed
    12       Q. When did Jen do that?                          12   individuals who had a substance use disorder
    13       A. I can't tell you specifically when.            13   who also were -- were diagnosed with an opiate
    14   I don't -- I can't assign a month or -- but it        14   dependence. So that would be one methodology
    15   was several months ago.                               15   for one aspect of what we collected information
    16       Q. Was it in the last six months?                 16   for.
    17       A. Yes.                                           17            We also collected information
    18       Q. What was the total amount that                 18   around the expenditures for our marketing and
    19   Ms. Peivich determined the ADAMHS Board here in       19   community relations specifically targeted to
    20   Summit County had incurred in terms of                20   the opiate epidemic.
    21   expenditures specifically related to the opioid       21            We also -- we also looked at
    22   abuse epidemic?                                       22   invoices and other payments that we made
    23            MS. KEARSE: And I'm just going to            23   related -- for any activity related to the
    24   counsel the witness if anything was done at the       24   opiate epidemic outside of the Opiate Task
    25   advice of counsel or for counsel with                 25   Force. And, of course, any expenditures that
                                                                                               10 (Pages 34 - 37)
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                                                   Page 38                                                  Page 40
     1   we made to agencies to capitalize startup for        1   sure there weren't any mistakes along the way?
     2   programs and services. We -- and -- and              2            MS. KEARSE: Object to form.
     3   probably others that I'm not -- that I'm not         3        A. If we were asked about a specific
     4   necessarily capturing.                               4   expenditure, I'm relatively confident that we
     5           But there -- there were various              5   could replicate that number through -- through
     6   methodologies for various ways of collecting         6   the information that we have available.
     7   data, depending on where those activities            7        Q. Okay. And you broke those
     8   were -- were funded or tracked within our            8   expenditures down category by category,
     9   system.                                              9   correct?
    10       Q. So you used a variety of                     10        A. That's correct.
    11   methodologies depending on the category of the      11        Q. And expense by expense?
    12   expenditure or the particular nature of it, an      12        A. Yes.
    13   expenditure, to calculate what you believed to      13        Q. And I think you indicated you
    14   be a total amount of money that the Summit          14   provided that to your lawyers, right?
    15   County ADAMHS Board spent in connection with        15        A. That's correct.
    16   the opioid abuse epidemic here in this county.      16        Q. When did you do that?
    17           Did I summarize that fairly?                17        A. Again, we -- we provided this
    18           MS. KEARSE: Object to form.                 18   information on a number of occasions. I think
    19       A. I would say that would be accurate.          19   we provided it prior to the -- to entering the
    20       Q. Okay. And did you keep a record of           20   litigation. We provided that information to
    21   the methodologies that you used to perform          21   the -- through the County Executive's Office,
    22   these computations and calculations?                22   and then later we provided some updated
    23           MS. KEARSE: Object to form.                 23   information as we provided a little bit more
    24       A. I did not keep a record of the               24   thoughtful list of -- of expenditures.
    25   methodology. Most of this was -- was -- were        25        Q. Is it fair to say that a lot of the
                                                   Page 39                                                  Page 41
     1   conversations. It's -- it's possible, but --     1       work that the Summit County ADAMHS Board
     2   but I don't know for certain that our chief      2       performs involves a variety of different
     3   operating officer did. But I don't -- but I      3       substance abuse disorders, not just one?
     4   can't say that with any degree of certainty.     4               MS. KEARSE: Object to form.
     5       Q. You don't know whether Ms. Peivich        5           A. That would be accurate.
     6   kept a record of the methodologies that you all  6           Q. So, for example, some of the
     7   used to perform these computations?              7       services the ADAMHS Board funds go toward
     8           MS. KEARSE: Object to form.              8       treatment of a variety of different addictions
     9       A. That's correct.                           9       to a variety of different substances, fair?
    10       Q. Okay. Did you ask her to keep a --       10           A. And to a variety of different
    11   the methodology -- keep a record of the         11       mental health disorders.
    12   methodologies that were used?                   12           Q. Right. And indeed, isn't it also
    13       A. I did not ask her to keep a record       13       true that some of the -- the funds that are
    14   of the methodologies she used.                  14       used by service contracting agencies funded by
    15       Q. So if somebody were to look at the       15       the Summit County ADAMHS Board devote those
    16   number that she arrived at, would it be         16       monies to individuals who suffer from a variety
    17   possible to reverse engineer that to try and    17       of different substance abuse disorders and
    18   understand exactly how you all came to the      18       mental health disorders?
    19   conclusions you reached?                        19           A. That would be correct.
    20           MS. KEARSE: Object to form.             20           Q. Given the complexity of that, how
    21       A. It would be possible.                    21       did you and -- and Ms. Peivich and whoever else
    22       Q. How would one go about that? Would 22             was involved in this process go about teasing
    23   they have to talk to you, or would there be     23       out opioid-specific expenditures from
    24   some other manner by which they could see your 24        expenditures that involved perhaps
    25   number and then reverse engineer it to make     25       polysubstance abuse disorders, mental health

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                                                 Page 42                                                   Page 44
     1   disorders, or addictions to a variety of other     1   of damages --
     2   substances?                                        2           MS. KEARSE: Object to form. Well,
     3           MS. KEARSE: Object to form.                3   go ahead. Finish.
     4       A. So our organization acts as an              4           MR. BOEHM: Wow.
     5   insurance company. We have -- we have claims       5           MS. KEARSE: Well, I didn't -- go
     6   that are submitted by our agencies that -- that    6   ahead.
     7   document the services that they provide. As        7       Q. Did you and Ms. Peivich include in
     8   part of the claims process, they have to           8   your computation of damages funds that were
     9   identify the diagnosis of the individual for       9   devoted through the claims data -- claims
    10   whom they're providing services.                  10   submission process, treatment of individuals
    11           Because those claims go into a            11   who were experiencing polysubstance abuse
    12   centralized system for payment, we can run        12   disorders?
    13   reports against those claims, and we can          13           MS. KEARSE: I'm going to object to
    14   identify by diagnosis precisely the individuals   14   the form. Calls for a legal conclusion when
    15   that we're paying for, to the extent that that    15   you're calling it "computation of damages."
    16   information is available.                         16       A. It's possible, yes.
    17           If that information is not                17       Q. Okay. Is it -- is it possible, or
    18   available in claims, we -- we are not able to     18   did you?
    19   render a payment; therefore, they have to have    19           MS. KEARSE: Object to form.
    20   that information in those claims.                 20       A. I know that it's -- I know that
    21       Q. Okay. But you indicated that in            21   agencies can submit claims. Am I aware of
    22   some cases your claimed expenditures don't fit    22   claims specifically? I don't look at the
    23   very nicely into claims-related data, right?      23   claims, so I don't know.
    24           MS. KEARSE: Object to form.               24       Q. Well, my question is -- let's back
    25       A. That our claims data does not --           25   up a second.
                                                 Page 43                                                   Page 45
     1       Q. Well, you had indicated that you            1           You're aware that many people who
     2   had to use different methodologies for             2   suffer from substance abuse disorders can be
     3   different categories of expenditures, and I        3   addicted to more than one substance, right?
     4   thought you said that to the extent there's        4           MS. FLOWERS: Objection. Lack of
     5   claims data, you can rely on the claims data,      5   foundation.
     6   but where there's not claims data, you had to      6        A. Substance abuse disorders? There's
     7   use different methodologies to try and             7   substance use disorders. I don't know about
     8   calculate your expenditures --                     8   any substance abuse disorders.
     9           MS. KEARSE: Object to --                   9        Q. Okay. I don't -- I don't want to
    10       Q. -- right?                                  10   get into a semantics fight with you about it,
    11           MS. KEARSE: Object to form.               11   but somebody who has a substance abuse disorder
    12       A. For purposes of providing treatment        12   is typically abusing a substance, right?
    13   to individuals with a substance use disorder,     13           MS. KEARSE: I'm going to object to
    14   through our agencies, in order for agencies to    14   that --
    15   get reimbursed, they have to bill us for those    15           MS. FLOWERS: Foundation.
    16   services. For expenditures related to             16           MS. KEARSE: -- question as well.
    17   developing programming, those -- those --         17           MR. BOEHM: I'm sorry.
    18   those expenditures do not go through our claims   18           MS. KEARSE: Okay.
    19   processing system.                                19           MR. BOEHM: I'm sorry. How many --
    20           But my understanding is your              20   did I just hear two people object?
    21   question was related to the treatment of those    21           MS. FLOWERS: I'm sorry. It just
    22   individuals, and specific to that, those          22   popped out.
    23   interactions are -- are compensated through       23           MR. BOEHM: Okay. I'll accept the
    24   claims.                                           24   apology and ask that it not happen again.
    25       Q. Did you include in your computation        25           MS. KEARSE: Well, actually --

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     1           MS. FLOWERS: I can't guarantee you          1   understand the disease of addiction, any
     2   that.                                               2   substance can raise -- it can satisfy an
     3            MS. KEARSE: -- under the protocol          3   addiction. And so whether you could claim that
     4   we have, two people can --                          4   somebody is addicted to a specific substance, I
     5            MR. BOEHM: I've got the protocol           5   think that there are substance -- I'm working
     6   here. And I know you made that claim on             6   through this in my own mind. I guess it would
     7   Friday. It's not going to -- or last Monday.        7   be fair to -- to say that a person could be
     8   It's not going to happen again today. If you        8   addicted to many substances.
     9   want to point me in -- where in the protocol        9       Q. And you know that happens, right?
    10   you think that's true, I'm happy to hear it,       10       A. Yes.
    11   but if not --                                      11       Q. That's actually quite common,
    12            MS. KEARSE: I will at a break on          12   right?
    13   there, too.                                        13            MS. KEARSE: Object to form.
    14            MR. BOEHM: Okay.                          14       A. I can tell you that when we look at
    15            MS. KEARSE: There's two people            15   some of the reports from people who have died
    16   allowed.                                           16   as a result of overdoses, that there are
    17            MR. BOEHM: You got it.                    17   typically more than one substance on board.
    18        Q. Are you ready to answer the                18       Q. And in those instances where
    19   question?                                          19   somebody's being treated for polysubstance use
    20        A. I'm not sure I remember the                20   disorder by one of your contract service
    21   question now.                                      21   agencies here in Summit County, and you are
    22        Q. Yeah. It's hard when you've got a          22   seeing that in the claims data, is it possible
    23   lot of people talking.                             23   that you included in your computation of
    24            MS. KEARSE: And --                        24   damages, along with Ms. Peivich, treatment for
    25        Q. Isn't it true that many people who         25   somebody who had a variety of mental health
                                                  Page 47                                                 Page 49
     1   suffer from addiction are addicted to more than     1   and/or substance use disorders?
     2   one substance?                                      2           MS. KEARSE: Object to form.
     3           MS. KEARSE: Object to form.                 3       A. It is possible.
     4       A. I'm -- I'm not -- I'm not able to            4       Q. Okay. And in those instances, did
     5   make that determination. I don't -- I don't         5   you then break it down to try and identify and
     6   know. I -- I don't have that -- the question        6   account for the specific slice that you believe
     7   you're asking is whether -- I don't know. I         7   was related directly to opioids as opposed to
     8   don't know.                                         8   the other mental health challenges or other
     9       Q. You've been the head of the Summit           9   substances that that individual was abusing?
    10   County ADAMHS Board since 2007, right?             10           MS. KEARSE: Object to form.
    11       A. Yes.                                        11       A. No, I did not.
    12       Q. You've never heard of polysubstance         12       Q. Has anybody ever asked you to try
    13   use disorder?                                      13   and break it down that specifically?
    14       A. I have heard of polysubstance use           14       A. Not until today.
    15   disorder, yes.                                     15       Q. Has the ADAMHS County -- I'm sorry,
    16       Q. What does that mean?                        16   has the Summit County ADAMHS Board ever
    17       A. It means that individuals use a             17   attempted to calculate its expenditures in
    18   variety of substances.                             18   connection with the opioid abuse epidemic in
    19       Q. Okay. And they're addicted to a             19   this county, independent of any request that
    20   variety of substances, right?                      20   you received from Motley Rice?
    21           MS. KEARSE: Object to form.                21       A. No. From Motley Rice, I -- I --
    22       Q. They're abusing more than one               22   the request that we received initially was from
    23   substance, right?                                  23   the county executive, so I guess I would answer
    24       A. So addiction is a disease, and an           24   yes.
    25   individual who -- if -- if you -- if you           25       Q. Are you talking about Ms. Shapiro?
                                                                                             13 (Pages 46 - 49)
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                                                   Page 50                                                 Page 52
     1       A. Yes, or -- or her staff.                      1   arrived at for purposes of the request you
     2       Q. Did the county executive's office             2   received from the county executive?
     3   reach out directly to you and request a              3           MS. KEARSE: I'm going to object to
     4   calculation of expenditures in connection with       4   that question if the -- if you were provided
     5   the opioid abuse epidemic in Summit County?          5   information in -- in response to Jason Dodson,
     6       A. Yes.                                          6   who is the attorney for the City, the Executive
     7       Q. When did they make that request?              7   County.
     8       A. It was August of -- I'm not sure              8       A. I -- I don't remember any numbers.
     9   what year. Six- -- '17? '16? I guess it              9       Q. Do you remember roughly what it
    10   would be -- well, what is this? This is '19.        10   was?
    11   Probably '17.                                       11       A. No.
    12       Q. Did you provide an answer to the             12       Q. Do you remember how the number that
    13   request from the county executive's office?         13   you arrived at for purposes of the County
    14       A. Yes, we did.                                 14   Executive's request compares with the number
    15           MS. KEARSE: And I'm going to                15   that you all arrived at more recently in
    16   counsel the witness, as well, if it's an            16   response to the request you got from the
    17   attorney for the county executive's office as       17   lawyers?
    18   well, that would -- if it --                        18           MS. KEARSE: Object to form. And
    19       Q. Who from the county executive's              19   miscalculates the testimony.
    20   office reached out to you to make that request?     20           MR. BOEHM: Object to form is
    21       A. Jason Dodson, who is the chief of            21   enough to maintain the -- the objection.
    22   staff.                                              22       Q. Go ahead.
    23       Q. Did you respond to the county                23       A. I -- I believe it was a larger
    24   executive's office request for the calculation      24   number the second time we did the -- we went --
    25   of opioid epidemic-related expenditures from        25   we went through the process.
                                                   Page 51                                                 Page 53
     1   the Summit County ADAMHS Board?                 1             Q. It got bigger?
     2           MS. KEARSE: I'm going to direct         2             A. It got bigger.
     3   the witness if there's conversations you had    3             Q. Why did it get bigger?
     4   with the County attorney regarding this, that   4             A. Because we were more careful and
     5   that would be privileged information.           5        more intentional about capturing everything
     6       A. Yes, I did.                              6        that we could think of that would -- we -- that
     7       Q. Okay. Who did you talk with?             7        we could justify as an expenditure that was
     8       A. From the county executive's office?      8        related to the opiate epidemic and our response
     9       Q. Actually, let me -- let me back up       9        to that.
    10   and make it more clear. You said you responded 10             Q. Were there some close calls that
    11   to the request, right?                         11        you had to consider? Say, "I'm not sure if
    12       A. That is correct.                        12        this should be counted or not"?
    13       Q. Did you perform the computation         13                 MS. KEARSE: Object to form.
    14   that had been requested?                       14             A. There weren't -- there weren't
    15       A. Myself and my staff, yes.               15        necessarily close calls because we wanted to be
    16       Q. Okay. And did you come to a             16        as conservative as possible yet as thorough as
    17   conclusion about what the appropriate number 17          possible. But we also provided updated
    18   was?                                           18        information because time had passed since our
    19           MS. KEARSE: Object to form.            19        initial -- our initial estimate and our updated
    20       A. Yes, we did.                            20        estimate.
    21       Q. And did you communicate that number 21                 Q. You said you recently had
    22   to the county executive?                       22        conversations with your staff about these
    23       A. I did not specifically, but my          23        calculations, right?
    24   chief operating officer, Jen Peivich, did.     24             A. Just the recent conversations --
    25       Q. Okay. What was the number that you 25             we've not had conversations since I submitted
                                                                                              14 (Pages 50 - 53)
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                                                 Page 54                                                    Page 56
     1   that to the county executive's office or           1       A. I think just -- just having a
     2   through to our attorneys.                          2   general sense of the -- of the line of
     3            I did have conversation with our          3   questionings for those individuals prepared me
     4   chief operating officer just around how            4   for the -- for the idea that some of those
     5   agencies -- just clarifying how agencies were      5   questions may be directed to me.
     6   paid through claims.                               6       Q. What questions do you mean when you
     7       Q. Did you discuss -- when you say             7   say questions that would be directed to you?
     8   your -- who did you speak with most recently       8       A. Questions about costs associated
     9   about that?                                        9   with the -- with the epidemic and our -- and
    10       A. Jen Peivich.                               10   our investment in those services. Some of the
    11       Q. Did you discuss recently with              11   financial questions in particular.
    12   Ms. Peivich the total amount of expenditures      12           I was hoping that potentially I
    13   that you believed you had -- you had made in      13   could gain some information about that,
    14   connection with the opioid abuse epidemic in      14   although their -- the questions were general
    15   Summit County?                                    15   and were not helpful in that regard because
    16            MS. KEARSE: Object to form.              16   Dr. Smith did not know -- you know, he did not
    17       A. No, we did not discuss that. We            17   have access to a lot of the financial
    18   essentially discussed process, the process by     18   information.
    19   which claims were paid.                           19           The -- Bill Harper's
    20       Q. Did you review any materials with          20   characterization of his time at the board and
    21   Ms. Peivich in connection with your preparation   21   what he had learned about -- about the opiate
    22   for the deposition today?                         22   epidemic in his time at the board.
    23       A. No.                                        23       Q. Why was that helpful?
    24       Q. Or for purposes of refreshing your         24       A. Because I -- I assumed that there
    25   recollection about those computations?            25   may be questioning around the same lines for
                                                 Page 55                                                    Page 57
     1       A. No.                                         1   me.
     2       Q. Have you reviewed any documents in          2       Q. Okay. So you anticipate that that
     3   preparation for your deposition here today?        3   will be helpful?
     4       A. I looked at depositions.                    4       A. I anticipated that it might be
     5       Q. You read somebody's depositions?            5   helpful for me to remember.
     6       A. I read a portion of Bill Harper's           6       Q. Did you learn something from
     7   deposition and a portion of Doug Smith's           7   reading those depositions that you didn't
     8   deposition.                                        8   already know?
     9       Q. Why did you do that?                        9       A. No, no.
    10       A. To get an idea of what sort of             10       Q. Was there anything that you read in
    11   questions might be asked.                         11   those deposition transcripts with which you
    12       Q. Why did you want to have an idea of        12   disagreed?
    13   what the questions would be?                      13       A. Nothing -- nothing material.
    14       A. Because I knew that many of those          14       Q. What about immaterial?
    15   questions would be deferred to me.                15       A. Possible. Possibly.
    16       Q. You said -- did you review those           16       Q. What do you recall that you
    17   deposition transcripts from front to back, or     17   disagreed with?
    18   only parts of them?                               18       A. I -- I don't have a recollection.
    19       A. I started the front and start --           19   I just remember that I -- I sort of registered
    20   and very quickly began to skim. I -- both --      20   that maybe Bill got this wrong in a -- in -- in
    21   both depositions I maybe got through half of.     21   his recollection of an event.
    22       Q. Were there any excerpts from those         22       Q. What event do you think Bill got
    23   deposition transcripts that you thought were      23   wrong in terms of his description?
    24   particularly helpful in terms of your             24       A. I -- I don't -- I honestly don't
    25   preparation for your deposition here today?       25   remember.
                                                                                              15 (Pages 54 - 57)
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                                                   Page 58                                                 Page 60
     1       Q. Anything besides that one event               1            So I've never had -- we've never
     2   that you think was incorrect when you read           2   had, then, an opportunity to talk about that
     3   those transcripts?                                   3   since.
     4           MS. KEARSE: Object to form.                  4        Q. Did you bring with you here today
     5       A. No, no.                                       5   any materials?
     6       Q. Everything else you read you felt             6        A. No.
     7   was accurate?                                        7        Q. Do you have a copy of the
     8           MS. KEARSE: Object to form.                  8   computation that you and Ms. Peivich prepared
     9       Q. Is that fair?                                 9   in terms of these expenditures and the
    10       A. I think it was accurate in the               10   computation you did?
    11   context of -- of Bill's experience, yes.            11            MS. KEARSE: Object to form.
    12       Q. What about with respect to                   12        A. I -- I do believe I have a copy of
    13   Dr. Smith's testimony? Was there anything that      13   it, yes.
    14   you read from Dr. Smith's deposition transcript     14        Q. You have one on your computer?
    15   that you thought was inaccurate?                    15        A. It may have -- I may have received
    16       A. No.                                          16   a copy of it in -- in an e-mail.
    17       Q. You agreed with everything you read          17        Q. Is there any reason you would be
    18   there?                                              18   unwilling to provide that to those of us who
    19       A. Generally, yes.                              19   are working on this litigation?
    20       Q. When you say "generally," is that            20            MS. KEARSE: I'm going to object to
    21   meant to be a caveat?                               21   form. And again I'm going to advise counsel if
    22           MS. KEARSE: Object to form.                 22   it was done at the advice of counsel, there may
    23       A. I -- I don't remember disagreeing            23   be a reason why he's not -- and I don't know,
    24   with anything that I read.                          24   but I think that's an inappropriate question.
    25       Q. Did you review any other materials           25        Q. Is there any reason you can think
                                                   Page 59                                                 Page 61
     1   in preparation for your deposition here today        1   of why, from your perspective, you would not be
     2   other than the deposition transcripts that           2   willing to share the content of the computation
     3   you've just identified?                              3   and the methodologies that were employed to
     4        A. No.                                          4   perform the computation that you and
     5        Q. Did you look at any documents?               5   Ms. Peivich --
     6        A. No, no.                                      6            MS. KEARSE: Object --
     7        Q. Have you had conversations with              7       Q. -- put together?
     8   anybody other than Ms. Peivich about the             8            MS. KEARSE: Object to form.
     9   content or substance of the deposition               9       A. My concern about releasing that
    10   testimony you would provide here today?             10   information is that we released -- that we
    11        A. No. Just with Ms. Peivich.                  11   pro- -- that we collected this information and
    12        Q. And what specifically did you               12   we provided this information as an exercise for
    13   discuss with Ms. Peivich in terms of the            13   our attorneys and, therefore, consider it to be
    14   content or substance of the testimony that you      14   privileged.
    15   would provide here today?                           15       Q. Okay. But setting aside the
    16        A. Well, Ms. Peivich approached me and         16   privilege, is there any substantive reason? Is
    17   offered to sit down with me to talk about any       17   there anything -- any other reason that you can
    18   questions related to -- that I might have           18   think of why you would not be willing to share
    19   related to our -- our computation of -- of          19   that information?
    20   expenditures related to the opiate epidemic.        20            MS. KEARSE: I'm going to object to
    21           At the time that she approached me,         21   the form. I'm going to object to you telling
    22   I told her that I really didn't have a sense of     22   him to -- not to abide by privilege that he
    23   what I would need to know, and, therefore, I        23   just claimed.
    24   didn't really -- didn't feel like that kind of      24            MR. BOEHM: Well, you're -- you're
    25   conversation would be helpful.                      25   making a caricature of what I said, but that's
                                                                                              16 (Pages 58 - 61)
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                                                  Page 62                                                 Page 64
     1   fine.                                               1       Q. Okay. Did you feel like reading
     2       Q. Go ahead.                                    2   the complaint assisted you in that regard?
     3       A. I -- I would have no objection to            3       A. There was too much material to
     4   releasing that information.                         4   cover, and I didn't have the time to go through
     5            MS. KEARSE: And I'm going to --            5   it.
     6       Q. Have you read --                             6       Q. Did you learn things that you
     7            MS. KEARSE: -- enter an objection          7   didn't already know from reading the complaint?
     8   to the extent that it's privileged information.     8       A. I learned that reading legal
     9            MR. BOEHM: I think you've said             9   language is not fun.
    10   that four or five times now. I'm not sure          10       Q. Anything else?
    11   that's true, but I understand that that's the      11       A. No.
    12   claim you're making.                               12       Q. Were you asked to review the
    13       A. May -- may I clarify?                       13   complaint that Summit County filed in this
    14       Q. Sure.                                       14   matter before the County brought the lawsuit?
    15       A. What I am -- what I am say- --              15           THE WITNESS: I'm sorry. I'm -- I
    16   saying is that if -- if I was asked to provide     16   might need a break. I'm just having trouble
    17   this information to justify our expenditures, I    17   focusing.
    18   would be -- I would be comfortable with being      18           MR. BOEHM: Sure. Of course.
    19   able to defend that document.                      19           THE WITNESS: Okay.
    20       Q. But you're not able to justify              20           MR. BOEHM: Let's go off the
    21   those expenditures because you don't have them     21   record.
    22   here with you today and we don't have them,        22           THE VIDEOGRAPHER: Off the record,
    23   right?                                             23   9:58.
    24            MS. KEARSE: Object to form.               24            (A recess was taken.)
    25       A. We do not have them here today.             25           THE VIDEOGRAPHER: We're on the
                                                  Page 63                                                 Page 65
     1       Q. So I couldn't sit down and go with           1   record, 10:18.
     2   you -- go through with you the expenditures         2   BY MR. BOEHM:
     3   that you claim you've made or ask you about         3        Q. Hi, Mr. Craig. We are back from a
     4   them because we don't have them, right?             4   short break. And when we broke, actually I had
     5           MS. KEARSE: Object to form.                 5   a question pending, and typically we don't take
     6       A. That's correct.                              6   breaks when there's a question pending, but I
     7       Q. Have you read the written complaint          7   gave you an exception because it seemed like
     8   that Summit County prepared and submitted for       8   you needed one. But -- but the rule generally
     9   purposes of this lawsuit?                           9   is if there's a question pending, you can
    10       A. I've flipped through it.                    10   answer the question, then we can do a break if
    11       Q. Okay. So when I ask you -- when             11   you need one.
    12   did you do that?                                   12            The other thing I wanted to make
    13       A. Several weeks ago.                          13   sure you understood is that you have taken an
    14       Q. Did you do that in preparation for          14   oath to tell the truth today? Do you
    15   the deposition here today, or did you just do      15   understand that?
    16   that on your own?                                  16        A. Yes, sir.
    17       A. I -- mostly out of curiosity.               17        Q. And you know that -- you've heard
    18       Q. Is that the first time you had done         18   the term "the truth, the whole truth, and
    19   that?                                              19   nothing but the truth"?
    20       A. Yes.                                        20        A. Yes.
    21       Q. Why did you decide to do that?              21        Q. And you understand that that's the
    22       A. Because I -- I wanted to have a             22   standard that you're being held to here today?
    23   better understanding of the -- the claims that     23        A. Yes.
    24   were being made against the -- the opiate          24        Q. Okay. It's the same standard that
    25   manufacturers and the distributors.                25   you'd be held to if a judge was sitting here
                                                                                             17 (Pages 62 - 65)
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                                                    Page 66                                                  Page 68
     1   watching you, right? Do you understand that?          1   general for me to be able to answer --
     2       A. Yes.                                           2       Q. I understand.
     3       Q. Okay. The question that I had                  3       A. -- with any kind of --
     4   pending for you was whether or not you were           4       Q. No. That -- that's fair.
     5   asked to review the written complaint that was        5       A. -- legitimacy.
     6   filed in this lawsuit by Summit County before         6       Q. I'm sorry. That's fair. I
     7   the lawyers actually filed it.                        7   understand what you're saying.
     8       A. No, I was not.                                 8           You've given a lot of thought to
     9       Q. Before the complaint was filed by              9   the opioid abuse epidemic in Summit County by
    10   Summit County, did anybody consult with you          10   virtue of your position as the head of the
    11   about the nature of the allegations?                 11   ADAMHS Board here. Is that fair?
    12       A. I'm not sure what you mean by                 12       A. I've -- I've given a lot of thought
    13   consult with me.                                     13   to the opiate epidemic, yes.
    14       Q. Did anybody come to you and say               14       Q. And you've given a lot of thought
    15   something along the lines of, "Mr. Craig, we're      15   to what might be done to help, right?
    16   considering filing a lawsuit, and given that         16       A. Yes, I have.
    17   you have been the head of the Summit County          17       Q. You've given a lot of thought to
    18   ADAMHS Board since 2007, we'd like to get your       18   what are the factors that have caused the
    19   thoughts and input before we complete and file       19   epidemic, fair?
    20   this lawsuit"? Did anybody do that?                  20       A. Yes, I have.
    21            MS. KEARSE: Object to form.                 21       Q. My question to you is in the
    22       A. No.                                           22   context of the filing of the Summit County
    23       Q. Did anybody consult with you in any           23   lawsuit, did anybody come to you -- given the
    24   way about the content of the written complaint       24   amount of thought that you've given to the
    25   before it was filed?                                 25   scope and causes of the epidemic in Summit
                                                    Page 67                                                  Page 69
     1       A. No.                                            1   County, did anybody come and ask you to provide
     2       Q. Did anybody ask you what factors               2   any feedback about what factors you considered
     3   you considered to be contributing elements to         3   to be causing the epidemic in Summit County
     4   the opioid abuse epidemic in Summit County            4   before the lawsuit was filed?
     5   before the written complaint was filed?               5            MS. KEARSE: Object to form.
     6       A. By "anybody," you mean anybody                 6       A. I'll say that nobody has consulted
     7   anywhere?                                             7   with me about the factors leading up to the
     8       Q. In connection with the lawsuit                 8   opiate epidemic.
     9   that's been brought, did anybody come to you          9       Q. To your -- to the best of your
    10   and say, "Mr. Craig" -- say something along the      10   knowledge, was anybody, other than yourself,
    11   lines of, "Mr. Craig, what do you consider to        11   from or on behalf of the Summit County ADAMHS
    12   be the contributing factors to the opioid abuse      12   Board consulted about the content of the
    13   epidemic in Summit County"?                          13   written complaint before it was filed by Summit
    14           MS. KEARSE: Object to form.                  14   County?
    15       A. Again, I'm not -- I'm just not                15            MS. KEARSE: Object to form.
    16   following you.                                       16       A. No.
    17           And let me explain. I've done                17       Q. Do you know why not?
    18   presentations in the community where those           18       A. At the time that the lawsuit was
    19   kinds of questions get asked, so when you ask        19   filed, I believe that there was an assumption
    20   me whether anybody has asked me, certainly           20   by the county executive's office that we were
    21   somebody has asked me those questions at             21   part of the County under -- under the county
    22   various times during my presentations.               22   executive's -- as part of -- as part of the
    23           Therefore, if you're asking me               23   County, when in reality we're a -- a division
    24   about specif- -- specific -- if you --               24   of -- of government separate from the County
    25           So it's just -- it's just too                25   with our own board of directors. I don't

                                                                                               18 (Pages 66 - 69)
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                                                   Page 70                                                   Page 72
     1   believe that the County felt it was necessary        1   county executive communicate with the ADAMHS
     2   to consult with us.                                  2   Board about the content of the written
     3       Q. Okay. Well, setting aside just for            3   complaint filed by Summit County?
     4   a moment whether or not it was necessary for         4           MS. KEARSE: Object to form.
     5   the County to consult with the ADAMHS Board,         5       A. I don't know. You'd have to ask
     6   why do you think they didn't consult with the        6   her that.
     7   ADAMHS Board, given the nature of the work that      7       Q. Have you ever asked her that?
     8   you all do here in the county?                       8       A. I have not asked her that.
     9            MS. KEARSE: Object to form.                 9       Q. Have you ever expressed any concern
    10       A. I don't know that our input would            10   about the fact that neither you nor anybody
    11   have materially affected their decision to move     11   from the Summit County ADAMHS Board was
    12   forward with the lawsuit.                           12   consulted about the content of the written
    13       Q. Well, okay. Let's go to that for             13   complaint submitted by the County before it was
    14   just a second.                                      14   filed?
    15            Why not?                                   15           MS. KEARSE: Object to form.
    16       A. Because I believe that the county            16       A. No.
    17   executive had already considered that this          17       Q. Have you ever expressed any concern
    18   would be an appropriate course of action.           18   about the role that the ADAMHS Board for Summit
    19       Q. And when you say "the county                 19   County would play with respect to participation
    20   executive," you mean Ms. Shapiro?                   20   in the County's lawsuit?
    21       A. Yes.                                         21           MS. KEARSE: Object to form.
    22       Q. Is it your understanding that                22       A. I'm sorry. Could you read the
    23   Ms. Shapiro is the individual who made the          23   question back?
    24   ultimate decision to bring a lawsuit on behalf      24       Q. Sure. Have you ever expressed any
    25   of Summit County?                                   25   concern about the role that the Summit County
                                                   Page 71                                                   Page 73
     1       A. That would be my understanding.           1       ADAMHS Board would play with respect to
     2       Q. Have you ever had any conversations       2       participation in the County's lawsuit?
     3   with Ms. Shapiro about the opioid abuse          3           A. No.
     4   epidemic within Summit County?                   4           Q. Do you have any such concerns?
     5           MS. KEARSE: Object to form.              5           A. I -- I don't have any concerns, no.
     6       A. I've -- I've had conversations with       6           Q. Have you ever had such concerns?
     7   Ms. Shapiro about the opioid epidemic, yes.      7           A. Not with regard to our role.
     8       Q. What have the nature of your              8                   - - - - -
     9   conversations with Ms. Shapiro been on that      9               (Thereupon, Deposition Exhibit 1,
    10   subject?                                        10               5/3/2018 E-Mail Chain Re: Meeting,
    11       A. There have been times when               11               SUMMIT_001104515 to 001104516, was
    12   individuals have approached the County who      12               marked for purposes of
    13   wanted to do something to address the needs of  13               identification.)
    14   individuals affected by the opiate epidemic.    14                   - - - - -
    15   And -- and Ms. Shapiro would bring me into      15           Q. All right. I'm marking a document
    16   those meetings to talk about resources and      16       that has been designated as Exhibit 1 for
    17   whether or not we might be able to assist or    17       purposes of your deposition.
    18   evaluate the -- the merits of the proposal.     18               And this is an e-mail chain from
    19       Q. Now, you indicated that you didn't       19       May of 2018. A little bit earlier in the chain
    20   think feedback from the ADAMHS Board would have 20       there's an e-mail from you --
    21   impacted Ms. Shapiro's decision to bring the    21           A. Uh-huh.
    22   lawsuit.                                        22           Q. -- to Ms. Cheri Walter. Do you see
    23           But I was actually asking just a        23       that?
    24   slightly different question, and that is        24           A. Uh-huh.
    25   whether or not -- or why not -- why didn't the  25           Q. And you write, "I continue to have

                                                                                               19 (Pages 70 - 73)
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                                                  Page 74                                                  Page 76
     1   concerns about the role the boards have with        1        A. Yes.
     2   regard to participation as a County entity in       2        Q. And that was a concern that you
     3   our County's lawsuit."                              3   expressed in May 2018, right?
     4       A. Right.                                       4        A. Right.
     5       Q. Do you see that?                             5        Q. Is that a concern that you still
     6       A. Yes.                                         6   have here today?
     7       Q. So here's an instance where you              7        A. It was -- the concern was less
     8   were expressing concern, right?                     8   about being dragged in as to the fact that we
     9       A. Yes.                                         9   were included in the lawsuit without going
    10           MS. KEARSE: Object to form.                10   through the proper protocol.
    11       Q. What concerns did you have about            11        Q. Well, "dragged in," that -- those
    12   the role of the Summit County ADAMHS Board and     12   are the words you chose, not me, right?
    13   what it -- and what that role would be in          13        A. Correct. Correct. That is --
    14   connection with Summit County's lawsuit?           14        Q. I'm just --
    15       A. When the county executive announced         15        A. -- a characterization. I -- I
    16   the lawsuit and we were named as a -- a            16   didn't feel as though we were being dragged in.
    17   plaintiff in the lawsuit, we had not yet gone      17   I felt as though we were being included in
    18   through our board of directors to authorize our    18   the -- in the lawsuit without -- without us
    19   participation in the lawsuit and was feeling as    19   having done our part to make sure that that was
    20   though our participation was assumed by the        20   an authorized participation.
    21   county executive without acknowledging or          21        Q. Just to make sure the record is
    22   understanding that we had our own board of         22   clear, I'm reading the words on the page
    23   directors and that we were not authorized to       23   correctly, right?
    24   participate in the lawsuit without the             24            MS. KEARSE: Object to form.
    25   board's -- without the board's permission.         25        A. Yes. I -- I did write those words.
                                                  Page 75                                                  Page 77
     1        Q. Your view is that the ADAMHS Board          1        Q. Okay. When you said -- you didn't
     2   is independent of County government, right?         2   say, "I'm not concerned about being dragged
     3            MS. KEARSE: Object to form.                3   into the lawsuit. You said, "I'm concerned
     4        A. I wouldn't say that we're                   4   about being dragged into the lawsuit," right?
     5   independent of County government, but we are        5            MS. KEARSE: Objection.
     6   not under the control or -- or supervision of       6   Argumentative.
     7   the County government.                              7        A. I -- that is what I wrote.
     8        Q. Do you consider the Summit County           8        Q. And my question to you is, is that
     9   ADAMHS Board to be an organ of Summit County        9   how you feel here today?
    10   government?                                        10        A. No.
    11        A. An organ?                                  11        Q. What has changed, in your
    12        Q. Yeah.                                      12   understanding, to have alleviated the concerns
    13        A. I'm sorry. We are -- we are an             13   that you expressed in May 2018?
    14   affiliated organization, yes.                      14        A. Our board of directors, along with
    15        Q. Okay. And you were worried that            15   the representatives from the county -- county
    16   the ADAMHS Board was being dragged into the        16   executive's office and the attorneys that
    17   lawsuit, right?                                    17   represent us in this matter had an opportunity
    18            MS. KEARSE: Object to form.               18   to review the pros and cons of our
    19        A. We were concerned that the county          19   participation and also to -- to understand a
    20   executive had not -- had not followed the          20   little bit more about -- about what's at stake.
    21   proper protocol to include us in the lawsuit.      21        Q. Okay. What -- what is it that
    22        Q. You write here to Ms. Walter, "I'm         22   you're referring to specifically?
    23   concerned we are being dragged into this           23        A. What -- if we -- we wanted to -- we
    24   lawsuit."                                          24   wanted to be very careful to look at, if we
    25            Do you see that?                          25   chose to participate in -- in the lawsuit,
                                                                                              20 (Pages 74 - 77)
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     1   that -- you know, what protections would we     1         Q. Do you believe that the ADAMHS
     2   have from a financial perspective, because we   2    Board for Summit County is a party in this
     3   were -- we were concerned about that. We were 3      litigation?
     4   concerned about the discovery process and what 4          A. Yes, I do.
     5   that might entail and the cost associated with  5         Q. Okay. What's the basis of your
     6   that. We were concerned about making sure that 6     understanding with respect to that question?
     7   our board of directors had an appreciation for  7         A. We're named in the suit.
     8   what this would entail, from a staff            8         Q. Named as a party?
     9   perspective.                                    9         A. Yes.
    10       Q. Anything else?                          10         Q. And do you understand that
    11       A. And -- and the other component was      11    ADAMHS -- the ADAMHS Board for Summit County is
    12   what would -- what would be our recourse if we 12    named as a party, independent of the Summit
    13   chose not to participate in the lawsuit.       13    County government; is that right?
    14       Q. As I understood it, the county          14         A. I don't -- I don't know whether we
    15   executive told you that you didn't have a      15    are named as a party independent of the County.
    16   choice whether to participate?                 16    I don't know that that's necessarily
    17            MS. KEARSE: Object to form.           17    specifically stated in the lawsuit.
    18       Q. Did I --                                18         Q. Uh-huh. You indicated that you had
    19            MS. KEARSE: Mischaracterizes --       19    some concerns about financial protections,
    20       Q. Did I --                                20    right?
    21            MS. KEARSE: -- testimony.             21         A. Yes.
    22       Q. Did I misunderstand that?               22         Q. What do you mean by that?
    23       A. I don't believe that the county         23         A. Whether the costs of our
    24   executive ever told me whether I had a choice 24     participation in the lawsuit would be -- would
    25   or I did not have a choice. My -- you know, we 25    be recoverable.
                                                 Page 79                                                 Page 81
     1   were included in the lawsuit.                    1       Q. Were you concerned about who would
     2        Q. Okay. Did you ever have any              2   get the money in the event there was some kind
     3   conversations with anybody about whether or not  3   of financial recovery in connection with this
     4   the Summit County ADAMHS Board had a choice to 4     lawsuit?
     5   participate in the lawsuit?                      5            MS. KEARSE: Object to form.
     6            MS. KEARSE: Object to form.             6       A. I have been concerned about whether
     7        A. I don't -- I -- it's my belief that      7   we would have received dollars come from
     8   we had a choice in the matter. That we could     8   this -- from this litigation.
     9   have excused ourselves from the lawsuit because  9       Q. And have you been assured that to
    10   it would not have been authorized for -- if our 10   the extent there is a financial recovery on the
    11   board of directors decided that they did not -- 11   part of Summit County, that the ADAMHS Board
    12   they did not want to participate in the         12   will receive funds in connection with such a
    13   lawsuit, that that would be an option.          13   recovery?
    14        Q. What's the basis of your                14            MS. KEARSE: Object to form. And
    15   understanding of -- of what you just said?      15   to the extent there's anything that's
    16        A. Because I'm not able to enter into      16   privileged information, I would direct you not
    17   litigation without the approval of my board of  17   to answer.
    18   directors.                                      18       A. I -- I don't know that I've been
    19        Q. You said that you understood you        19   promised any compensation for participation.
    20   had a choice, that you could have withdrawn     20       Q. You don't know?
    21   from the lawsuit.                               21       A. I don't. I don't recall having a
    22        A. By I -- we -- I have a choice,          22   conversation about that.
    23   meaning my organization --                      23       Q. That's been something that you've
    24        Q. Uh-huh.                                 24   been wondering about though, right?
    25        A. -- would have had a choice.             25            MS. KEARSE: Object to form.

                                                                                           21 (Pages 78 - 81)
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                                                   Page 82                                                 Page 84
     1       A. Certainly it is something that                1   in its complaint are accurate?
     2   would -- that I would be concerned about, yes.       2            MS. KEARSE: Object to form.
     3       Q. And have you ever discussed that              3        A. Not in total, no.
     4   with anybody in the County, that particular          4        Q. And why do you say, no, not in
     5   concern about whether or not the ADAMHS Board        5   total?
     6   was going to get the compensation it would like      6        A. Because the lawsuit encompasses
     7   in connection with the lawsuit?                      7   many parts of the County that I don't have
     8       A. I may have, yes.                              8   direct knowledge about.
     9       Q. Who have you talked with about                9        Q. You understand that the written
    10   that?                                               10   complaint states allegations, right?
    11       A. I don't recall.                              11            MS. KEARSE: Object to form. Calls
    12       Q. Do you recall having had                     12   for a legal term that you're using as well, so.
    13   conversations along those lines?                    13        Q. Do you know what allegations are?
    14       A. Yes.                                         14        A. Yes, generally. I -- I'm aware
    15       Q. But you don't remember with whom?            15   that there are allegations in the lawsuit, yes.
    16       A. You know, I've had conversations             16        Q. With respect to the allegations
    17   about the opiate litigation in a variety of         17   that are made by Summit County in the written
    18   different venues, generally speaking; that          18   complaint, do you have an informed view about
    19   the -- the pros and cons of participation with      19   whether or not those allegations are accurate?
    20   my colleagues at the State level, with              20            MS. KEARSE: Object to form.
    21   individuals within the County, but I can't          21        A. I do not.
    22   specifically -- I can't specifically recall any     22        Q. Why not?
    23   of those conversations.                             23        A. Because there are parts of the
    24       Q. You thought that it might be                 24   County that I don't touch or that I don't have
    25   prudent to consult with legal counsel on behalf     25   interaction with that are named in this
                                                   Page 83                                                 Page 85
     1   of the Summit County ADAMHS Board, separate and 1        lawsuit.
     2   apart from the County, to ensure that you were   2           Q. Any other reason?
     3   properly represented?                            3           A. No.
     4       A. That's correct.                           4           Q. When you -- you said you read part
     5       Q. Did you ever, in fact, engage such        5       of the complaint, right?
     6   counsel?                                         6           A. Yes.
     7       A. Yes, we did.                              7           Q. You didn't read the whole thing?
     8       Q. Separate from the lawyers for the         8           A. No, I did not.
     9   County?                                          9           Q. You thought it was boring?
    10       A. Yes.                                     10               MS. KEARSE: Object to form.
    11       Q. Who did you engage?                      11           A. I didn't say that it was boring. I
    12       A. Christina Shaynak Diaz.                  12       said that it was just too much material for me
    13       Q. Is -- is that attorney still             13       to be able to cover.
    14   representing Summit County ADAMHS Board in      14           Q. I didn't mean to be flippant. I --
    15   connection with the opioid abuse epidemic in    15       I was reading between the lines. I thought you
    16   any way?                                        16       were kind of suggesting that it was hard to
    17           MS. KEARSE: Object to form.             17       read.
    18       A. We have not -- since we've made the      18               MS. KEARSE: And I'm going to
    19   decision to -- since our board has made the     19       object to form. And I think you are being
    20   decision to participate in the lawsuit, we have 20       flippant, so I ask you to just ask --
    21   not engaged Christina Shaynak Diaz as a -- as   21           Q. Isn't that what you were --
    22   our attorney.                                   22               MS. KEARSE: -- him straight
    23       Q. Do you have an informed view about       23       questions.
    24   whether the specific allegations that are made  24           Q. -- suggesting earlier this morning?
    25   in the written lawsuit filed by Summit County   25       That you didn't -- I'm not being critical of
                                                                                              22 (Pages 82 - 85)
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                                                    Page 86                                                  Page 88
     1   it. It's a long document, right?                      1      Q.     Go ahead.
     2             MS. KEARSE: Object to form. Just            2            MS. KEARSE: I -- I'm -- you're not
     3   ask a question. No commentary.                        3   going to --
     4             MR. BOEHM: I did just -- I did              4            MR. BOEHM: You said it. You said
     5   just ask a question.                                  5   it, and now he gets to answer it if he wants
     6        A. It is a long document, yes.                   6   to.
     7        Q. And -- and you said that you                  7            MS. KEARSE: All right. You're not
     8   struggled to read the whole thing, right?             8   going to set the relevancy standard here as
     9             MS. KEARSE: Object to form.                 9   well, so --
    10        A. As I said, I -- I started to read            10        Q. Go ahead.
    11   it, and then I started to skim it.                   11            MS. KEARSE: -- if you want to
    12        Q. And you said the thing that you              12   answer, you can answer; if you don't, you have
    13   learned about it is that you didn't like             13   your own protections to discuss your or your
    14   reading legalese, right?                             14   family's --
    15             MS. KEARSE: Object to form.                15            MR. BOEHM: That's --
    16        A. There was way more information in            16            MS. KEARSE: -- medical issues.
    17   there than I could assimilate in the short time      17        Q. Go ahead.
    18   that I had to review it.                             18        A. I don't feel comfortable talking
    19        Q. How much time did you spend                  19   about the medications that were prescribed to
    20   reading -- reading the written complaint filed       20   my family members or disclosing their personal
    21   by Summit County in this matter?                     21   health information.
    22        A. Probably no more than 10 minutes.            22        Q. Have you ever expressed to any of
    23        Q. Has a licensed physician ever                23   your family members or close friends or given
    24   written you a prescription for an opioid             24   to them advice that they should not use a
    25   medication?                                          25   prescription opioid medication that was
                                                    Page 87                                                  Page 89
     1            MS. KEARSE: I'm going to object to           1   prescribed to them by a licensed physician?
     2   form. And I'm going to instruct the witness to        2           MS. KEARSE: I'm going to object to
     3   answer if you want to answer, or not. If not,         3   the form. The same objection I had before.
     4   you've got, you know, your own protections on         4       A. I have, yes.
     5   whether or not you disclose your medical              5       Q. Who have you expressed that to?
     6   information.                                          6       A. My son.
     7       A. I don't know. I don't know.                    7       Q. Did your son actually receive a
     8       Q. Do you recall that ever happening?             8   prescription from a licensed physician --
     9       A. I -- I don't know. It's possible,              9           MS. KEARSE: Objection.
    10   back in the '70s, that I had -- I had a              10       Q. -- for an opioid medication?
    11   surgical procedure, and it's possible that           11           MS. KEARSE: Objection. Same line
    12   opiates were used, but I do not know.                12   of objections and advice to the couns- -- to my
    13       Q. Do you know if any of your                    13   client.
    14   family's -- family members -- sorry. Let me          14       A. And again, I really don't want to
    15   just start over.                                     15   talk about the medical issues of my family's...
    16            Have any of your family members, to         16       Q. Okay. Did you tell your son that
    17   your knowledge, ever used a prescription opioid      17   he should not take a prescription opioid
    18   medication?                                          18   medication that had been prescribed by a
    19            MS. KEARSE: And I'm going to                19   licensed physician?
    20   advise the witness just again, these are your        20           MS. KEARSE: Objection.
    21   family members' and yourself's medical               21       A. I've -- I've talked to family
    22   information there. You're not obligated to           22   members about the dangers of using opiate
    23   disclose that information. You've got your own       23   medications.
    24   protections on that.                                 24       Q. Understood. My question is, have
    25            MR. BOEHM: I think it's relevant.           25   you ever instructed any of your friends, close
                                                                                               23 (Pages 86 - 89)
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                                                   Page 90                                               Page 92
     1   friends, or family members that they should not      1   and nor his. So that's just not an issue.
     2   take a prescription opioid medication?               2            MR. BOEHM: May or may not be true.
     3           MS. KEARSE: Object --                        3   I'm just asking the questions.
     4       A. I have not. I have not.                       4            MS. FLOWERS: And he's indicated to
     5           THE WITNESS: I'm sorry.                      5   you that he doesn't want to answer. So why --
     6           MS. KEARSE: That's okay.                     6            MR. BOEHM: No. No, he hasn't.
     7       Q. You -- you've -- you've discussed             7            MS. FLOWERS: -- don't you move on?
     8   with them risks --                                   8            MR. BOEHM: He hasn't had any
     9           MS. KEARSE: Objection.                       9   response because you guys have been talking
    10       Q. -- right?                                    10   ever since I asked the question.
    11       A. Yes, I have discussed risks.                 11            MS. KEARSE: Well, he does- --
    12       Q. But not told them they should not            12            MR. BOEHM: Stop trying to put
    13   take the medication, right?                         13   words in the witness's mouth.
    14           MS. KEARSE: Objection.                      14            MS. FLOWERS: That's -- that's not
    15       A. I believe I have answered that.              15   fair at all.
    16       Q. Did I summarize that correctly?              16            MS. KEARSE: Counsel --
    17       A. Yes, you have.                               17            MR. BOEHM: I'm going to ask the
    18       Q. Have any of your close friends or            18   question. You can make an objection to form,
    19   family members ever suffered from a substance       19   and then we can see what the witness is going
    20   use disorder?                                       20   to say.
    21           MS. KEARSE: Objection to form.              21            MS. KEARSE: Okay.
    22   I'm going to advise my client the same area of      22            MR. BOEHM: But I'm not going to
    23   testimony that if you do not want to disclose       23   hear testimony from you.
    24   medical information of your family.                 24            MS. KEARSE: No. I'm just saying
    25       Q. I'm not asking for anybody's name.           25   he's here at your request for a fact witness
                                                   Page 91                                               Page 93
     1   I'm just curious, given that you're the head of      1   regarding the ADAMHS --
     2   the Summit County ADAMHS Board, and that may         2           MR. BOEHM: You've already said it.
     3   inform your views.                                   3   Why are you saying that again? I've already
     4            MS. KEARSE: And he's here in                4   heard that.
     5   his -- as a fact witness --                          5           MS. KEARSE: Because you seem to be
     6            MR. BOEHM: Exactly.                         6   very argumentative.
     7            MS. KEARSE: -- for the -- for the           7           MR. BOEHM: I want to ask my
     8   ADAMHS Board, not his personal information --        8   question and get on with it.
     9            MR. BOEHM: He's not a 30(b) --              9           MS. KEARSE: Really.
    10            MS. KEARSE: -- and his family's.           10           MR. BOEHM: Stop being obstructive.
    11            MR. BOEHM: He's not a 30(b)(6)             11   BY MR. BOEHM:
    12   witness.                                            12       Q. My question to you, Mr. Craig, is
    13            MS. KEARSE: He's not even a                13   whether any of your close friends or family
    14   30(b)(6). He's here as --                           14   members have suffered from a substance use
    15            MR. BOEHM: I'm asking about his            15   disorder.
    16   personal knowledge and experience.                  16           MS. KEARSE: The same objection and
    17            MS. KEARSE: Counsel -- Counsel,            17   advice.
    18   let me just say, Mr. Craig has appeared at          18       A. I'm not -- I'm not going to answer
    19   the -- at the request of counsel as a fact          19   that question.
    20   witness in this litigation --                       20       Q. Why not?
    21            MR. BOEHM: Exactly.                        21       A. Because it's not -- because I don't
    22            MS. KEARSE: -- regarding his work          22   feel comfortable disclosing my family members'
    23   at the ADAMHS Board. Nothing about his              23   personal health information.
    24   personal family -- his friends and family           24       Q. Have you had any personal
    25   regarding their personal use of opioids and --      25   experiences with close friends or family
                                                                                             24 (Pages 90 - 93)
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                                                   Page 94                                                 Page 96
     1   members that have informed your understanding        1       A. I don't know that. I don't
     2   about substance use disorders, and in                2   remember the question that I responded to.
     3   particular with respect to addiction to              3       Q. Okay. Did I hear you correctly say
     4   opioids?                                             4   that you've had personal experiences with close
     5           MS. KEARSE: Objection.                       5   friends or family members that have impacted
     6       A. Yes.                                          6   your own views about substance use disorders,
     7       Q. And what are those?                           7   and specifically with respect to opiate abuse?
     8       A. Again, I don't feel comfortable               8            MS. KEARSE: Objection to form.
     9   disclosing personal health information of -- of      9       A. I guess the part of your question
    10   friends or family members.                          10   that I'm not clear about is -- is what you mean
    11       Q. To be clear, I'm not asking                  11   by impacted my views. Certainly I'm aware of
    12   about -- you to identify anybody or what the        12   individuals who've had experience with opiates
    13   specific situations were. But to the -- my          13   in -- in my family and in my personal
    14   question to you is, given that you are the head     14   friendships.
    15   of the Summit County ADAMHS Board, which has        15       Q. How have those experiences impacted
    16   responsibility for expending funds through          16   your views about substance use disorder?
    17   contracting agencies on substance abuse             17       A. I -- I believe that they've
    18   treatment, and you have experiences that inform     18   reinforced some of my empathy towards
    19   your views about that subject, I'm asking you       19   individuals suffering from a substance abuse
    20   about that. And this is my chance to do it,         20   disorder. It's helped me to have a better
    21   unless we go back to a judge and ask for            21   understanding of families and the way that
    22   another round of this.                              22   families are affected by substance use
    23           MS. KEARSE: I'm going --                    23   disorders.
    24       Q. To the extent your views have been           24            There's probably a lot of different
    25   informed, your professional views are informed      25   ways that individuals, families who've been
                                                   Page 95                                                 Page 97
     1   by your personal experiences, I'm believe I'm        1   affected by opiates have characterized --
     2   entitled to that. That's what I'm asking.            2   have -- have -- have been affected.
     3           I'm not asking about names. I'm              3                - - - - -
     4   not asking about personal health identifying         4            (Thereupon, Deposition Exhibit 2,
     5   information. I'm asking about the personal           5            11/2/2017 E-Mail Chain Between Jerry
     6   experiences that have informed your                  6            Craig and Cheri Walter Re: Opiate
     7   professional views.                                  7            Lawsuit, SUMMIT_001090134 to
     8           MS. KEARSE: I'm going to -- my               8            001090135, was marked for purposes
     9   same running objection and advice.                   9            of identification.)
    10       A. There's a lot of material you                10                - - - - -
    11   covered just now, and so I'd like to get back       11            MS. KEARSE: Counsel, I'd just --
    12   to the root of the question. So could you ask       12   can he -- can he finish his -- answering his
    13   that question again?                                13   question before you put another document? I
    14       Q. Sure. You indicated that you have            14   think you are distracting when you are moving
    15   had personal experiences of close friends or        15   on to your next thought and he's still
    16   family members that have impacted your own          16   answering a question. I also think it's
    17   views about substance use disorders.                17   disrespectful to do that.
    18           MS. KEARSE: Object to form.                 18            MR. BOEHM: That's the craziest
    19   Mischaracterizes his testimony.                     19   thing I've heard, that it's disrespectful to
    20   Mischaracterizes --                                 20   set a document down when I'm moving on to the
    21       Q. Did I misunderstand that?                    21   next doc- -- the next --
    22       A. I don't remember the question that           22            MS. KEARSE: He was still answering
    23   I responded to, so maybe --                         23   the question, Counsel, and you're putting
    24       Q. Was that -- was that fair? Is that           24   another document in front of him. So I do
    25   fairly accurate?                                    25   think --
                                                                                              25 (Pages 94 - 97)
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                                                  Page 98                                                 Page 100
     1            MR. BOEHM: I'm getting the next            1       Q. Mr. Craig, I have given you what
     2   document ready.                                     2   has been marked as Exhibit 2 for purposes of
     3            MS. KEARSE: I -- I would ask --            3   your deposition. Do you see that?
     4            MR. BOEHM: You're just trying to           4       A. I see it.
     5   stall -- you're just trying to stall and delay.     5       Q. It's an e-mail from November 2017.
     6            MS. KEARSE: Counsel, I simply              6            Do you recall expressing concerns
     7   asked, let him finish his question before you       7   about whether or not you and the ADAMHS Board
     8   pro- -- provide him another exhibit.                8   would receive a fair share of any potential
     9            MR. BOEHM: Well, I'm offended by           9   settlement or proceeds from Summit County's
    10   your suggestion --                                 10   lawsuit?
    11            MS. KEARSE: And it's distracting.         11       A. Can I read through this before you
    12            MR. BOEHM: I'm -- I'm offended by         12   ask your question?
    13   your suggestion there's been anything improper     13       Q. Sure. But -- but I'm asking just
    14   about me putting a sticker on the next exhibit     14   as a preliminary matter, do you ever -- do you
    15   in the deposition.                                 15   ever recall expressing concerns about receiving
    16            MS. KEARSE: I didn't -- initially         16   a fair share?
    17   I didn't say it was improper. I asked you          17            MS. KEARSE: And I'm going to let
    18   politely to not put another document in front      18   the witness -- he said he'd like to review the
    19   of him until the witness is actually done          19   document that you've just handed to him and
    20   answering his question.                            20   asking questions about.
    21            MR. BOEHM: I'm not --                     21            MR. BOEHM: We're doing just fine
    22            MS. KEARSE: I think it's rude.            22   without you, Ms. Kearse. You're just getting
    23            MR. BOEHM: I'm not going to -- I'm        23   in the way.
    24   not going to play your games.                      24            MS. KEARSE: Would you like me to
    25       Q. This is Exhibit 2 --                        25   leave?
                                                  Page 99                                                 Page 101
     1            MS. KEARSE: Well, I actually just          1           MR. BOEHM: Go ahead.
     2   played the --                                       2           MS. KEARSE: You can -- you can
     3        Q. Mr. Craig, this is --                       3   read the document that you wanted -- that you
     4            MS. KEARSE: -- the -- the proper           4   were handed that you're being --
     5   protocol for a deposition.                          5       A. Have --
     6            MR. BOEHM: Stop it, please.                6           MS. KEARSE: -- asked a question
     7            MS. KEARSE: Let him finish his --          7   about.
     8   answering his question, and then you can move       8       Q. Go ahead, Mr. Craig.
     9   on to your next question and provide him the        9       A. Have I ever -- have I ever
    10   next exhibit.                                      10   expressed concern -- can you repeat the
    11            MR. BOEHM: I want the record -- I         11   question, sir?
    12   think it speaks for itself, but Ms. Kearse has     12       Q. Yeah. Sure. My -- my question was
    13   been interrupting, giving long speaking            13   whether or not you recall having expressed
    14   objections, really trying to obstruct the way      14   concerns about receiving a fair share for you
    15   this deposition proceeds.                          15   and the ADAMHS Board of any potential
    16            I don't understand the purpose of         16   settlement or proceeds from Summit County's
    17   it. I don't think it's helping the witness.        17   lawsuit.
    18   The most it might be doing is just delaying and    18       A. I have expressed concerns about the
    19   running out the clock. It's not appropriate.       19   ADM Board -- not myself, but the ADM Board
    20   The objections have been -- especially this        20   receiving a fair share of the settlement.
    21   last one -- improper and -- and achieve            21       Q. Why were you concerned about that?
    22   nothing, and I'm just going to ask for it to       22       A. Because I'm aware that in other
    23   stop.                                              23   lawsuits of this type, when there was a
    24            MS. KEARSE: And the record will           24   settlement, the funds weren't necessarily
    25   reflect itself.                                    25   distributed to boards or in a manner that I
                                                                                            26 (Pages 98 - 101)
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                                                Page 102                                             Page 104
     1   felt was -- was appropriate, I guess, or        1        A. When -- when I was first aware that
     2   sufficient.                                     2    the county executive was going to file a
     3        Q. What other litigations do you have      3    lawsuit, I thought there would be a process to
     4   in mind?                                        4    involve us or include us in the -- in the
     5        A. Am -- am I supposed to read this?       5    lawsuit to only -- only to discover that our
     6        Q. In a second. I'm going to --            6    name was in the lawsuit at some point down the
     7        A. Okay.                                   7    road. So that was when I realized that our
     8        Q. I'm going to ask you a couple           8    board of directors hadn't been involved in this
     9   questions about it.                             9    to the extent that they needed to be.
    10        A. What other litigation? Like the --     10        Q. Do you believe, sitting here today,
    11   the tobacco settlement.                        11    that the board of directors for the Summit
    12        Q. Uh-huh. I see. Anything else?          12    County ADAMHS Board has approved the ADAMHS
    13        A. No.                                    13    Board participation in the lawsuit?
    14        Q. Your understanding is the tobacco      14        A. Yes.
    15   settlement, the funds didn't always end up in  15        Q. And in what way has the board of
    16   the right place? Is that what you're saying?   16    directors approved that?
    17            MS. KEARSE: Object to form.           17        A. By resolution.
    18        A. My understanding -- and, of course,    18        Q. Okay. And when did that happen?
    19   this is not direct understanding, but from     19        A. I don't remember the month that we
    20   conversations with many of my colleagues was 20      had our board meeting. Was in September or
    21   that the funds that came as a result of the    21    October.
    22   tobacco settlement didn't necessarily live up  22        Q. Of the -- of 2018?
    23   to the promises that were made.                23        A. Yes.
    24        Q. And when you say "didn't live up to    24        Q. And do you -- is it your
    25   the promises that were made," what do you mean 25    understanding that by way of that resolution in
                                                Page 103                                             Page 105
     1   by that?                                         1   the fall of 2018, the board opted in to
     2        A. That funds that were supposed to go      2   participation in this lawsuit?
     3   to treatment agencies through boards did not     3       A. Yes.
     4   actually land at boards.                         4       Q. Would that be reflected in meeting
     5        Q. Okay. In Exhibit 1, we saw that as       5   minutes of the ADAMHS county board of
     6   of May 2018 you believed that the lawsuit by     6   directors?
     7   Summit County was proceeding without any         7       A. The resolution is incorporated into
     8   consultation or agreement on the part of the     8   our board of directors minutes, yes.
     9   ADAMHS Board, right?                             9       Q. Are you a recipient of the minutes
    10        A. That is --                              10   of the board of director meetings for the
    11           MS. KEARSE: Object to form.             11   Summit County ADAMHS Board?
    12        A. -- right.                               12       A. Yes, I am.
    13        Q. Did you suggest also that sometime      13       Q. How often does the board of
    14   after May 2018 the board of directors for the   14   directors meet?
    15   Summit County ADAMHS Board formally approved 15          A. Our board of directors meets
    16   participation in the lawsuit?                   16   approximately 10 times a year.
    17        A. Did I suggest that who?                 17       Q. I think we established earlier that
    18        Q. The board of directors for the          18   you joined the Summit County ADAMHS Board in
    19   ADAMHS Board formally approved participation in 19   2007, right?
    20   the lawsuit brought by Summit County.           20       A. That's correct.
    21        A. I did not, because I was not            21       Q. Did you become the executive
    22   immediately aware that the ADM Board was named 22    director in 2007?
    23   as a party to those -- the suit.                23       A. I did not.
    24        Q. I'm not sure I followed that. Can       24       Q. What position did you assume in
    25   you explain?                                    25   2007?

                                                                                      27 (Pages 102 - 105)
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                                                    Page 106                                                Page 108
     1       A. I was hired to the ADM Board under              1       A. At the ADAMHS Board?
     2   the position of manager of clinical services.          2       Q. Uh-huh.
     3       Q. When did you become the executive               3       A. I was the manager of clinical
     4   director of the Summit County ADAMHS Board?            4   services.
     5       A. In July -- the board appointed me               5       Q. For what years were you the manager
     6   as an interim director in July of 2010, and            6   of clinical services?
     7   subsequently I was -- I was appointed as a             7       A. From 2007 -- May of 2007 until I
     8   full-time or the permanent. I was offered a            8   was appointed in July of 2010.
     9   contract, a three-year contract, in March of           9       Q. Okay. Any -- any other positions
    10   2011, I believe.                                      10   you've not identified --
    11               - - - - -                                 11       A. No.
    12           (Thereupon, Deposition Exhibit 3,             12       Q. -- at the ADAMHS Board?
    13           Web Printout, Jerry Craig LinkedIn            13       A. No.
    14           Profile, was marked for purposes of           14       Q. Before you joined the ADAMHS Board,
    15           identification.)                              15   you spent nearly 20 years at an entity named
    16               - - - - -                                 16   Community Support Services, Incorporated,
    17       Q. Okay. We -- we think we found your             17   right?
    18   LinkedIn profile, which is publicly available         18       A. Yes.
    19   on that website.                                      19       Q. What is that?
    20       A. Uh-huh.                                        20       A. Community Support Services is a
    21       Q. And I've marked a printout of that             21   contract agency of the Summit County ADM Board
    22   as Exhibit 3. Is this, in fact, your LinkedIn         22   serving individuals with severe and persistent
    23   profile?                                              23   mental illnesses.
    24       A. It is my LinkedIn profile.                     24       Q. Did -- did your work at Community
    25       Q. Do you maintain this profile                   25   Support Services, Incorporated involve
                                                    Page 107                                                Page 109
     1   yourself, or does somebody do it on your               1   treatment of any individuals who suffered from
     2   behalf?                                                2   substance use disorders?
     3       A. I maintain it on my -- my -- by                 3       A. Yes.
     4   myself.                                                4       Q. In what way?
     5       Q. This indicates that you're now the              5       A. In every way you could imagine.
     6   executive director of the Summit County Alcohol        6       Q. Can you help us for those of us who
     7   Drug Addiction and Mental Health Services              7   didn't live with you for those 20 years at the
     8   Board, right?                                          8   Community Services -- I'm sorry -- Community
     9       A. That's correct.                                 9   Support Services, Incorporated, just understand
    10       Q. And for the record, when we use the            10   a bit more about how treatment of -- of
    11   term "ADAMHS," that's an acronym that stands          11   substance use disorders played into what you
    12   for Alcohol Drug Addiction and Mental Health          12   all were doing at that entity?
    13   Services Board, right?                                13            MS. KEARSE: Object to form.
    14       A. Yes.                                           14       A. So at Community Support Services,
    15       Q. This doesn't list other positions              15   our mission was to provide services to people
    16   that you've held at the ADAMHS Board, other           16   with severe and persistent mental illnesses,
    17   than executive director, right?                       17   many of whom had co-occurring disorders.
    18       A. That's correct.                                18   Probably up to 70 percent of those individuals
    19       Q. Are there any other positions that             19   had some sort of substance use disorder. So
    20   you've not listed here in LinkedIn?                   20   that would run the gamut from alcohol to any --
    21       A. Yes.                                           21   any type of illicit substance and prescription
    22       Q. What are the other positions?                  22   pain medication.
    23       A. I was a paper boy.                             23       Q. Are mental health issues associated
    24       Q. No, I'm talking about at the ADAMHS            24   with substance use disorders?
    25   Board.                                                25       A. Substance -- a substance use
                                                                                             28 (Pages 106 - 109)
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                                                  Page 110                                                Page 112
     1   disorder is a mental health condition.               1       A. Most of my career at Community
     2       Q. Okay. Well, let me ask it if --               2   Support Services, I was an administrator, so I
     3   let me ask you whether or not that relationship      3   did not see clients directly.
     4   is bidirectional. In other words, do you know        4           However, I was involved in case
     5   whether or not the scientific literature             5   consultations and discussions involving people
     6   supports the view that mental health disorders       6   who are in state hospitals and also to assist
     7   are more likely to result in substance use           7   our -- some of our staff in resolving complex
     8   disorders?                                           8   clinical cases where some of these
     9       A. I'm not aware of any -- any                   9   conversations occurred.
    10   information that -- that would allow me to          10       Q. In the context of your case
    11   respond to that one way or the other.               11   consultations and complex clinical
    12       Q. You don't know one way or the                12   consultations while you were at Community
    13   other? $                                            13   Support Services, Incorporated, did you see
    14       A. I don't know.                                14   individuals or were you aware of individuals in
    15       Q. Have you ever looked into that?              15   Summit County who had an addiction to
    16       A. As to whether or not --                      16   prescription opioids?
    17       Q. Whether or not mental health                 17       A. I don't have -- I -- I can't -- I
    18   illness --                                          18   can't have -- I don't -- I don't recall whether
    19       A. Uh-huh.                                      19   I've, specifically opiates.
    20       Q. -- is -- has a causal relationship           20       Q. What were the most common forms of
    21   with substance use disorders?                       21   substance use disorders that you recall knowing
    22            MS. KEARSE: Object to form.                22   about during the time that you were an
    23       A. Again, I'm still not sure what               23   associate director at Community Support
    24   you're asking me. Whether mental illness            24   Services, Incorporated?
    25   causes substance use disorders, or whether          25       A. Well, in the -- you know, during my
                                                  Page 111                                                Page 113
     1   substance use disorders cause mental illness?        1   time at Community Support Services, we saw a
     2       Q. Well, so let me -- let me back up.            2   lot of marijuana, alcohol, benzodiazepine
     3   I thought --                                         3   abuse, crack cocaine and cocaine, and -- and
     4       A. Okay.                                         4   methamphetamine.
     5       Q. -- it was clear, but maybe it's               5       Q. So you remember instances of all of
     6   not.                                                 6   those substances. Do you remember instances of
     7           I think you said that substance use          7   opiate use disorders during your time at
     8   disorder, in your view, is a form of a mental        8   Community Support Services, Incorporated?
     9   health disorder, right?                              9       A. Not specifically. What I -- I can
    10       A. Right.                                       10   recall instances of people with a dependence on
    11       Q. So my question to you is whether or          11   painkillers. Whether they were characterized
    12   not you know whether individuals who have           12   as opiates, I don't know.
    13   mental health disorders are more likely -- from     13       Q. What other types of painkillers do
    14   an epidemiological, population-based                14   you think those might have been, besides
    15   perspective, are more likely to suffer from         15   opioids?
    16   substance abuse disorders?                          16       A. I don't know. I'm not a physician,
    17           MS. KEARSE: Object to form.                 17   and I don't know what all the -- the full range
    18       Q. Relative to the population overall?          18   of painkillers is.
    19       A. I don't know. I don't know.                  19       Q. What about heroin? Did you see, in
    20       Q. And you've never really looked into          20   your work at Community Support Services,
    21   that question?                                      21   Incorporated, individuals in Summit County who
    22       A. Not that I can recall.                       22   were experiencing addiction to heroin?
    23       Q. When in your career did you start            23       A. I had no direct contact with --
    24   seeing individuals who had developed addiction      24   with anybody who mentioned heroin.
    25   to prescription opioids?                            25       Q. Let -- you just said that you --
                                                                                           29 (Pages 110 - 113)
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                                                   Page 114                                               Page 116
     1   you knew about these occasions of crack and           1            MS. KEARSE: Object to form.
     2   meth and marijuana --                                 2        A. Not immediately, no.
     3       A. Right.                                         3        Q. Okay. What about within the first
     4       Q. -- and benzodia- -- all the other              4   year? Did that come to your attention within
     5   substances.                                           5   the first year that you were at ADAMHS Board?
     6       A. Sure.                                          6        A. I don't recall. I mean, we're
     7           MS. KEARSE: Object to form.                   7   talking about 12 -- you know, almost 12 years
     8       Q. I'm asking if you're familiar                  8   ago.
     9   with -- with respect to similar instances with        9        Q. And you don't have any memory one
    10   heroin during the time that you were with the        10   way or another.
    11   Community Support Services, Incorporated             11        A. I have -- I don't remember when I
    12   entity.                                              12   first became aware. I could -- I couldn't say
    13       A. And I said, no, I don't.                      13   that, "As of this date, I became aware."
    14       Q. You don't.                                    14        Q. Okay.
    15       A. No.                                           15                - - - - -
    16       Q. Based on your understanding as head           16            (Thereupon, Deposition Exhibit 4,
    17   of the ADAMHS Board since 2007, when do you          17            Document Titled, "Continuity of
    18   believe Summit County started to see an              18            Operations Plan Calling Tree,"
    19   increase in the number of individuals with an        19            SUMMIT_001122421, was marked for
    20   addiction to prescription opioids?                   20            purposes of identification.)
    21       A. First of all, I was not the                   21                - - - - -
    22   director of the ADM Board in 2007.                   22        Q. I think you said sometime in the
    23       Q. Fair enough. Let me -- let me --              23   late -- first decade of the 2000s you became
    24       A. Okay.                                         24   aware that there was an uptick in individuals
    25       Q. -- revise the question --                     25   in Summit County with an addiction to
                                                   Page 115                                               Page 117
     1      A.     Okay.                                       1   prescription opioids.
     2      Q.     -- and make sure it's clear.                2           Did I understand that correctly?
     3           As somebody who's been at the                 3           MS. KEARSE: Object to form. I
     4   ADAMHS Board since 2007 and the executive             4   think you just mischaracterized his testimony.
     5   director since -- I think you said 2010?              5           MR. BOEHM: Don't speak, please.
     6       A. Correct.                                       6   You can make your objection to form, but I
     7       Q. -- what is your understanding about            7   don't need a speaking objection. No --
     8   when Summit County started seeing an increase         8           MS. KEARSE: Well, Counsel, I would
     9   in the number of individuals with an addiction        9   advised you to keep that --
    10   to prescription opioids?                             10       Q. Go ahead.
    11       A. I can remember towards the latter             11       A. If I had to -- if I had to guess,
    12   part of the first decade of 2000 where we were       12   that would be --
    13   getting some reports through our court system,       13           MS. KEARSE: And I'm going to
    14   through some of our treatment agencies. And --       14   advise the witness not to guess as well.
    15   and we had a staff person who worked primarily       15           MR. BOEHM: Don't interrupt the
    16   with our substance -- our -- our addiction           16   witness in the middle of the answer. You know
    17   treatment agencies who really had her finger on      17   that's not appropriate. I don't want that to
    18   the pulse of -- of a lot of that.                    18   happen again today. Do not do that. That's
    19       Q. Who was that individual?                      19   never appropriate. There's never an occasion
    20       A. Paula Rabinowitz.                             20   where it's okay for you to interject in the
    21       Q. When you joined the ADAMHS Board in           21   middle of a witness's answer. Do not do that.
    22   2007, were you aware, at that time, of Summit        22           MS. KEARSE: I can advise my client
    23   County's seeing an increase in the number of         23   not to guess at a question.
    24   individuals with an addiction to prescription        24           MS. FLOWERS: Stop the lectures.
    25   opioids?                                             25       Q. Go ahead, Mr. Craig, please.
                                                                                            30 (Pages 114 - 117)
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                                                Page 118                                                   Page 120
     1            You're under oath today. You              1       Q. When did Mr. Ellis leave?
     2   understand that, right?                            2       A. Probably around 2016.
     3        A. Sure.                                      3       Q. Is that when Ms. Wade came in to
     4        Q. And -- and you're under an oath to         4   take Mr. Ellis's place?
     5   tell the truth, the whole truth, and nothing       5       A. Yes.
     6   but the truth. Do you understand that?             6       Q. What do you rely on Doug Smith to
     7        A. Yes.                                       7   do in the role of chief clinical officer?
     8        Q. That's what I'm asking for.                8       A. Dr. Smith is a psychiatrist and has
     9        A. And -- and I don't have a                  9   a lot of knowledge around mental health issues,
    10   recollection of when. Specifically, there's       10   particularly as it relates to forensic; those
    11   nothing that I can pair my -- the first time      11   involved in the criminal justice system, which
    12   I've heard about opiates with any other event     12   is some of his past work experience.
    13   that would allow me to establish a time when I    13            He has developed the -- he has --
    14   first learned about it.                           14   he has -- also has a pretty -- a good
    15        Q. Is your testimony here today that         15   understanding of the state hospital system,
    16   certainly by the end of the first decade of       16   having arrived from the state hospital system,
    17   the -- of -- of the first decade of the 2000s,    17   and we utilize the state hospitals. And he
    18   you understood there was an increasing number     18   provides a lot of clinical input in evaluating
    19   of individuals in Summit County with addiction    19   treatment and -- and also helping us to
    20   problems with prescription opioids?               20   identify gaps in services and addressing --
    21        A. Yes, roughly.                             21   addressing the needs of our client populations.
    22        Q. I've just put in front of you a           22       Q. What are your basic
    23   document marked as Exhibit 4, and this is an      23   responsibilities as the head of the ADAMHS
    24   organizational chart of the Summit County         24   County -- I'm sorry, the Summit County ADAMHS
    25   ADAMHS Board.                                     25   Board?
                                                Page 119                                                   Page 121
     1           Do you see that?                           1        A. My responsibility is it's -- as
     2       A. Yes, I do.                                  2   it's laid out in statute, is to assess
     3       Q. And you're at the top, right?               3   community needs for mental health and addiction
     4       A. Yes.                                        4   treatment; to -- to address those needs through
     5       Q. And that's because you're the head          5   contracts with providers, since we're not able
     6   of the ADAMHS Board?                               6   to provide direct services; and to evaluate the
     7       A. Yes.                                        7   impact of those services.
     8       Q. Is this organizational chart up to          8        Q. Is it fair to say that you consider
     9   date? If you just look -- let's just start         9   yourself to have a duty to the people of Summit
    10   with that top row, beneath you. Are there any     10   County?
    11   individuals who have left and been replaced?      11             MS. KEARSE: Object to form.
    12       A. Yes.                                       12        A. That would be -- that would be
    13       Q. Can you identify those for us,             13   accurate.
    14   please?                                           14        Q. What do you understand your duty to
    15       A. You're talking about what's here           15   the people of Summit County to be?
    16   versus what is here today?                        16        A. To the extent that our funding
    17       Q. Correct, yes.                              17   would allow us, to -- to identify and address
    18       A. Okay. John Ellis is no longer at           18   the mental health and addiction issues
    19   the organization. Mary Alice Sonnhalter is no     19   encountered by people in our community.
    20   longer at the organization. Tom Leffler is no     20        Q. Is it fair to say that you take
    21   longer at the organization, nor is Jackie         21   your duty and responsibilities as the head of
    22   Steward.                                          22   the Summit County ADAMHS Board seriously?
    23       Q. Who has taken the position of              23        A. Yes, I do.
    24   manager of clinical services?                     24        Q. One of your responsibilities and
    25       A. Aimee Wade.                                25   duties has been to understand the nature and

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                                                 Page 122                                                 Page 124
     1   the scope of the opioid abuse epidemic as it        1   when you use the term "epidemic"?
     2   concerns Summit County; is that fair?               2       A. I'm --
     3           MS. KEARSE: Object to form.                 3           MS. KEARSE: Object to form.
     4       A. One of my duties is to understand            4           Go ahead.
     5   the scope and impact of our -- of our opiate        5       A. I'm saying that if you want to
     6   epidemic, yes.                                      6   characterize an epidemic as the majority of the
     7       Q. Have you undertaken to understand            7   people that -- that present to us for treatment
     8   the nature and scope of the opioid abuse            8   services, these are people who are addicted.
     9   epidemic within Summit County?                      9   They're no -- no longer abusing medications.
    10           MS. KEARSE: Object to form.                10   They're dependent on those medications.
    11       A. I'm sorry. You -- you keep saying           11       Q. Well, in many instances people
    12   "opiate abuse epidemic," and it's not an opiate    12   actually are abusing heroin, right?
    13   abuse epidemic. It's an opiate epidemic. So        13           MS. KEARSE: Objection.
    14   you lose me when you use that, and I'm not able    14       A. I don't know how -- I don't know
    15   to focus on the rest of what you're asking me.     15   how you define "abuse."
    16   So if you could ask me the question again, I'd     16       Q. Okay. Well, heroin is not a
    17   appreciate it.                                     17   medication, right?
    18       Q. You do -- well, let's just back up          18       A. I don't know. I -- I --
    19   for a second --                                    19       Q. You're not sure?
    20       A. Okay.                                       20       A. It could -- it could be -- I don't
    21       Q. -- because I don't want semantics           21   know that it couldn't be used as a medication.
    22   to get in the way.                                 22       Q. Okay. So you don't know whether or
    23       A. Sure.                                       23   not licensed physicians can prescribe heroin to
    24       Q. You understand that --                      24   patients to treat a legitimate medical need?
    25           MS. KEARSE: Object to form and             25   You're not sure one way or another?
                                                 Page 123                                                 Page 125
     1   characterization of that.                           1       A. So by "medication," you're --
     2        Q. You -- you understand that there            2   you're saying a medication that's approved by
     3   are people who are abusing opioids in Summit        3   the FDA?
     4   County, right?                                      4       Q. Do you consider heroin a
     5        A. There are people who are addicted           5   medication?
     6   to opiates in Summit County.                        6       A. There's -- there are lots of -- of
     7        Q. Do you disagree with the term               7   substances that people use for medication that
     8   "abuse"?                                            8   don't go through FDA or aren't prescribed my
     9        A. I disagree with the broad                   9   medic- -- by medical doctors.
    10   characterization.                                  10       Q. Do you consider cocaine to be a
    11        Q. Do you disagree -- you wanted to           11   medication?
    12   change my language, so I just want to              12       A. Do I consider -- consider cocaine
    13   understand what part you disagree with.            13   to be medication? No, I -- I don't consider
    14             Do you agree that there are              14   them to be medication.
    15   individuals in Summit County who are abusing       15       Q. Do you consider crack to be a
    16   opioids?                                           16   medication?
    17             MS. KEARSE: Objection.                   17       A. I don't consider crack to be a
    18        A. I believe that there are people who        18   medication.
    19   are abusing opiate medications; however, I do      19       Q. Do you consider heroin to be a
    20   not believe that the abuse is an epidemic. I       20   medication?
    21   think that the addiction and the dependence        21       A. I don't consider heroin to be a
    22   is -- is an epidemic.                              22   medication.
    23        Q. So when you use the term                   23       Q. You can't go to a doctor and say,
    24   "epidemic," what exactly are you talking about?    24   "I have an injury," and the doctor is going to
    25   What -- what specific measure are you using        25   prescribe heroin, right?
                                                                                           32 (Pages 122 - 125)
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                                                   Page 126                                                 Page 128
     1       A.   No doctor that I would want to go      1         invol- -- involved with.
     2   to.                                             2             Q. Have your efforts to understand the
     3        Q. Okay. And you can't go to a             3         nature and scope of the opioid epidemic in
     4   pharmacy and have them fill a prescription for  4         Summit County included an effort to understand
     5   heroin, right?                                  5         and investigate what factors have contributed
     6        A. Not that I'm aware of, no.              6         to the opioid epidemic within Summit County?
     7           MS. KEARSE: Counsel, I think --         7             A. Yes.
     8        Q. And do you know --                      8             Q. Have you read reports from state
     9           MS. KEARSE: -- we've been going         9         and federal governments about that?
    10   for an hour. Can we go ahead and -- I think we 10             A. Yes, I have.
    11   said we'd break at every hour. I -- I didn't   11             Q. Has the ADAMHS Board issued its own
    12   know you were going to go right into another   12         reports on that subject?
    13   question.                                      13             A. The ADM Board has published some
    14           MR. BOEHM: I don't know if we said 14             reports, yes.
    15   that, but --                                   15             Q. And you indicated that you
    16           MS. KEARSE: I was -- I was trying      16         sometimes go around and speak to groups about
    17   to find a good time because we've been going   17         the nature and scope of the opioid epidemic in
    18   for an hour.                                   18         Summit County, right?
    19           MR. BOEHM: We can take a break.        19             A. Yes.
    20   Okay.                                          20             Q. Do your presentations and
    21           THE VIDEOGRAPHER: Off the record, 21              discussions include a discussion about what you
    22   11:16.                                         22         believe to be the contributing factors to the
    23            (A recess was taken.)                 23         epidemic?
    24           THE VIDEOGRAPHER: We're on the 24                     A. Yes. That's -- really sets the
    25   record, 11:31.                                 25         table for the whole conversation in educating
                                                   Page 127                                                 Page 129
     1   BY MR. BOEHM:                                         1   the community.
     2       Q. I think where we left off,                     2       Q. Before we move on from this
     3   Mr. Craig, is you -- we were talking about one        3   document that's been marked as Exhibit 4, the
     4   of your duties and responsibilities being to          4   organizational chart, you indicated that
     5   understand the nature and scope of the opioid         5   Mr. Tom Leffler is no longer at the ADAMHS
     6   epidemic, as you call it, in Summit County,           6   Board, right?
     7   right?                                                7       A. That's correct.
     8       A. That's correct.                                8       Q. Has that position now been filled
     9       Q. And you have undertaken to                     9   by Ms. Peivich?
    10   understand the nature and scope of the opioid        10       A. Yes, although I did some
    11   epidemic in Summit County?                           11   reorganization after -- after Tom Leffler left,
    12       A. Yes, I have.                                  12   and so I only have four individuals who are
    13       Q. How have you gone about that?                 13   direct reports now.
    14       A. In a variety of ways. I've -- I've            14       Q. Okay. But is Ms. Peivich now in
    15   tried to read as much information as -- as I am      15   the position that Mr. Leffler vacated?
    16   able to as I -- as I run across it. I've             16       A. In -- in part, yes. One of her
    17   received some education and information through      17   duties is to be the manager of finance.
    18   our board association. I've talked with              18       Q. Okay. And she has other duties on
    19   families and individuals who are affected. Our       19   top of that?
    20   Opiate Task Force has a number of individuals        20       A. That's correct.
    21   who've touched this issue from a variety of          21       Q. Okay. What other duties does she
    22   perspectives, whether it be criminal justice,        22   have on top of that?
    23   health care, and -- and others.                      23       A. She's -- she's the operations
    24            So there's just been a very broad           24   manager, so she oversees our IT department.
    25   specter of -- spectrum of people that I've been      25   She oversees our administration, our HR, and
                                                                                             33 (Pages 126 - 129)
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                                                    Page 130                                                  Page 132
     1   all the -- all the operational and payment side  1         our community, so that would be when I joined
     2   of our business.                                 2         the ADM Board.
     3        Q. Got it. And you indicated that           3             Q. In 2007?
     4   you've had conversations with Ms. Peivich about 4              A. Yes.
     5   the computations. We discussed those earlier,    5             Q. Are you aware that the ADAMHS Board
     6   right?                                           6         prepares an annual budget?
     7            Have you had conversations with         7             A. I am aware, yes.
     8   individuals other than Ms. Peivich at the        8             Q. Do you have responsibility for that
     9   ADAMHS Board about the calculations and          9         budget as the executive director for Summit
    10   computations of expenditures that we discussed 10          County's ADAMHS Board?
    11   at the beginning of today's deposition?         11             A. Yes, I do.
    12            MS. KEARSE: Object to form.            12             Q. And the budget includes revenue
    13        A. Generally, yes.                         13         that you all have for purposes of the services
    14        Q. Who else have you communicated at       14         you provide, right?
    15   the ADAMHS Board about those computations? 15                  A. Yes.
    16        A. Aimee Wade, Christine Gashash, Doug 16                 Q. And it has a summary of the
    17   Smith, and Jen Peivich.                         17         expenditures that you make?
    18        Q. Have any of those individuals --        18             A. That is correct. That we propose,
    19   other than Ms. Peivich, about whom we've        19         not necessarily that we make.
    20   already talked -- assisted in the computation   20             Q. Right. And then, of course, you --
    21   of those expenditures as we discussed earlier   21         you track the actual expenditures?
    22   today?                                          22             A. We do track the actual
    23            MS. KEARSE: Object to form.            23         expenditures.
    24        A. No, they haven't assisted in the        24             Q. How do you go about tracking the
    25   computation of those forms because the -- the   25         actual expenditures?
                                                    Page 131                                                  Page 133
     1   purpose of our conversation was to make sure           1       A. We -- we run reports that -- of --
     2   that we included all activities that we needed         2   of all the financial information that -- that
     3   to include.                                            3   runs through our agency.
     4       Q. When did you first begin trying to              4       Q. What -- do you use some sort of
     5   investigate and understand the causes of the           5   software?
     6   opioid epidemic in Summit County?                      6       A. Yes.
     7           MS. KEARSE: Object to form.                    7       Q. What's the software?
     8       A. So it's my responsibility to                    8       A. I don't know what. I don't know
     9   understand all the issues that affect Summit           9   what it's called.
    10   County residents. And I can't say that I began        10       Q. Do you have access to it?
    11   at any point in time. I think I was presented         11       A. I don't. My -- my -- Jen Peivich
    12   with information or opportunities to learn            12   runs that for me.
    13   about various aspects of the issues and               13       Q. Has anybody ever asked you to
    14   problems that occurred in our community, and so       14   collect data from that software in terms of
    15   over time I became more and more aware.               15   your expenditures?
    16       Q. Understand. But I understand that              16       A. Has anybody asked? Our board of
    17   your -- your knowledge and investigation,             17   directors does, yes.
    18   naturally, would -- would develop over a course       18       Q. Okay. Did you use information from
    19   of time.                                              19   that database for purposes of performing the
    20           My question is, if you can, when              20   computations and calculations that you
    21   did that process begin for you and for the            21   described earlier today?
    22   ADAMHS Board for Summit County?                       22            MS. KEARSE: Object to form.
    23           MS. KEARSE: Object to form.                   23       A. Yes, we do use information from
    24       A. It began as soon as I had the                  24   that database.
    25   responsibility for understanding the needs of         25            MR. BOEHM: I'm going to mark this
                                                                                              34 (Pages 130 - 133)
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                                                 Page 134                                                  Page 136
     1   next document here as Exhibit 5 for purposes of     1   drug overdoses became the leading cause of
     2   your deposition.                                    2   injury/death in Summit County?
     3              - - - - -                                3       A. I do not know.
     4           (Thereupon, Deposition Exhibit 5,           4       Q. Did you ever ask that question of
     5           Ohio Department of Health, Violence         5   anybody?
     6           and Injury Prevention Program               6       A. No, because our organization was
     7           Document, First Heading "Epidemic of        7   primarily responsible for providing treatment,
     8           Prescription Drug Overdose in Ohio",        8   not necessarily to look at the causes or the
     9           was marked for purposes of                  9   patterns of this.
    10           identification.)                           10       Q. As head of the ADAMHS Board for
    11              - - - - -                               11   Summit County, do you get reports about drug
    12           MR. BOEHM: And I'm handing a copy          12   overdose deaths in Summit County?
    13   to you and a copy to your counsel.                 13       A. Yes, I do.
    14       Q. This is a report from the Ohio              14       Q. Who do you get those reports from?
    15   Department of Health. It's available on their      15       A. We get the reports from the medical
    16   website. And it's entitled "Epidemic of            16   examiner's office.
    17   Prescription Drug Overdose in Ohio."               17       Q. How often does the medical
    18           Do you see that?                           18   examiner's office provide the ADAMHS Board for
    19       A. I do see it.                                19   Summit County reports on drug overdose deaths?
    20       Q. This refers back, in the first              20       A. We worked out an arrangement with
    21   bullet point, to 2007. Do you see that, in         21   the medical examiner's office that she sent
    22   2007?                                              22   this information over whenever a death occurred
    23       A. Yes.                                        23   that had -- that had -- where an overdose was
    24       Q. "Unintentional drug poisoning               24   involved.
    25   became the leading cause of injury/death in        25       Q. Since you've been employed at the
                                                 Page 135                                                  Page 137
     1   Ohio."                                              1   ADAMHS Board for Summit County, has the ADAMHS
     2           Do you see that?                            2   Board always had access to data about overdose
     3       A. I do see that.                               3   deaths from the medical examiner's office?
     4           MS. KEARSE: And, Counsel, he's              4       A. No.
     5   reviewing the document.                             5       Q. Why not?
     6           MR. BOEHM: That's fine.                     6       A. Because that was not information
     7       Q. And you can review the document as           7   that we sought at that time.
     8   much as you need to answer my questions. I'm        8           We began -- we identified the
     9   going to try and keep it relatively targeted.       9   deaths from overdoses as a metric that we would
    10           You see at the end of that first           10   be able to utilize as part of our Opiate Task
    11   bullet point, it says, "This trend continued in    11   Force as a measure of the extent of the
    12   2009"?                                             12   problem, and also as to whether or not we
    13       A. No.                                         13   were establishing some baseline information so
    14       Q. It's in the -- the first bullet.            14   we could see what sort of progress was being
    15       A. Okay. Yes.                                  15   made as a result of our efforts.
    16       Q. See --                                      16       Q. When did that happen?
    17       A. I do see that.                              17       A. So I would guess it would have to
    18       Q. Is that consistent with your                18   have been around March of 2014.
    19   understanding of what was taking place in          19       Q. So your testimony here today is
    20   Summit County?                                     20   that prior to March 2014, the Summit County
    21       A. I don't know that I necessarily, at         21   ADAMHS Board did not have access to drug
    22   that point in time, was focused enough to be       22   overdose death information from the Summit
    23   able to say whether this was true for Summit       23   County Medical Examiner's Office?
    24   County or not.                                     24           MS. KEARSE: Object to form.
    25       Q. Do you know when in Summit County           25       A. That's -- that's not what I said.

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                                                 Page 138                                                   Page 140
     1   I said that --                                      1   or so, the number of drug overdose deaths
     2       Q. Well, my question to you is whether          2   catches up with and then passes the number of
     3   or not the ADAMHS Board had access to --            3   deaths for motor vehicle accidents.
     4       A. Okay.                                        4            Do you see that?
     5       Q. -- drug overdose death data from             5        A. Yes, I do see that.
     6   the medical examiner's office since the time        6        Q. Did -- were you aware of those
     7   you joined the ADAMHS Board in 2007.                7   trends?
     8       A. I was -- my understanding is that            8        A. I was not aware of those trends
     9   we had access to that information; however, at      9   until at some point that I saw this -- this
    10   the time I was not aware that this information     10   data presented by somebody at the State.
    11   was available publicly and that the medical        11        Q. When was that?
    12   examiner's office would share it. It only          12        A. I don't recall when.
    13   became known to us as a result of our Opiate       13        Q. In the third bullet point on the
    14   Task Force that these -- this data was             14   first page, it says that from 1999 to 2009 this
    15   available.                                         15   increase in drug overdose deaths was, quote,
    16       Q. So your testimony here today is             16   "driven largely by prescription drug
    17   that the ADAMHS Board for Summit County didn't     17   overdoses."
    18   know that it had access to drug overdose data      18            Do you see that?
    19   from the medical examiner's office until 2014?     19        A. Yes.
    20            MS. KEARSE: Object to form.               20        Q. Do you agree with that with respect
    21       A. That would be -- that would be              21   to Summit County?
    22   generally accurate, yes.                           22        A. I don't know.
    23       Q. Okay. And it's -- and -- and no             23        Q. You don't know --
    24   one from the ADAMHS Board, as far as you know,     24        A. I don't know. I can't -- I can't
    25   ever asked the medical examiner's office for       25   state that with any degree of certainty.
                                                 Page 139                                                   Page 141
     1   information about drug overdose deaths prior to     1       Q. Okay. So sitting here today, you
     2   2014. Is that your testimony?                       2   don't know whether from 1999 to 2009 the rate
     3            MS. KEARSE: Object to form.                3   of unintentional drug poisonings -- in other
     4        A. I don't know if anybody had ever            4   words, drug overdoses -- and the increase in
     5   asked that information from our -- our medical      5   that rate was driven largely by prescription
     6   examiner's office, because I never asked to --      6   drug overdoses?
     7   to see it.                                          7       A. No, I don't know that.
     8        Q. Okay. Look at Figure 1, if you              8       Q. Have you ever looked into that?
     9   would, on the first page of this exhibit.           9       A. There was a point in time where
    10            Do you see that graph?                    10   we -- John Ellis, who is our manager of
    11        A. I do see that graph.                       11   clinical services, had pulled some information
    12        Q. It compares numbers of deaths in           12   from one of our providers that looked at the
    13   motor -- from motor vehicle traffic accidents      13   individuals -- individuals receiving services
    14   to drug overdose deaths. Do you see that?          14   from our detox program, and how many of the
    15        A. Yes, I do.                                 15   folks that were there reported their addiction
    16        Q. And do you see that there's an             16   to substance -- substances other than -- how
    17   increase, really starting, on this graph, from     17   many of them had reported their addiction to
    18   1999 all the way up, in terms of drug overdose     18   pain medication versus other illicit
    19   deaths; do you see that?                           19   substances.
    20        A. I do see that.                             20       Q. Let me see if I can simplify this.
    21        Q. And then it looks like the motor           21       A. Okay.
    22   vehicle traffic deaths are actually going down     22       Q. Do you agree that the increase in
    23   a little bit; do you see that?                     23   drug overdose deaths in Ohio from 1999 to 2009,
    24        A. Yes, I do see that.                        24   thought to be driven largely by prescription
    25        Q. And it looks like right around 2006        25   drug overdoses, was already being publicly

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                                                   Page 142                                                 Page 144
     1   discussed by the time you joined the ADAMHS           1   of -- of using them.
     2   Board in 2007?                                        2       Q. Do you agree that by September 2010
     3            MS. KEARSE: Object to form.                  3   in Summit County, the increase in individuals
     4       A. Would I agree that it's already                4   addicted to opioids had been identified by the
     5   been discussed?                                       5   County?
     6       Q. That it was already being publicly             6            MS. KEARSE: Object to form.
     7   discussed by that time.                               7       A. Do I agree with that? I -- I don't
     8            MS. KEARSE: Object to form.                  8   agree -- I -- I don't know that -- I don't know
     9       A. To be honest with you, I -- I don't            9   when that was identified in Summit County.
    10   know when it was -- how -- how long it had been      10       Q. Your testimony is -- here today,
    11   publicly discussed.                                  11   under oath --
    12       Q. I'm not asking whether or not you             12       A. Uh-huh.
    13   know the specific day. My question is a little       13       Q. -- that as the head of the Summit
    14   bit different. Let me ask it again.                  14   County ADAMHS Board --
    15       A. Okay.                                         15       A. Right.
    16       Q. Okay. Do you agree that the                   16       Q. -- you don't know whether, by 2010,
    17   increase in drug overdose deaths that, as            17   Summit County had identified an increase in
    18   described here by the Ohio Department of             18   opiate addiction and its implications within
    19   Health, was thought to be driven largely by          19   the County?
    20   prescription drug overdoses, was already a           20            MS. KEARSE: Object to form.
    21   publicly known and discussed phenomenon by the       21       Q. Do I understand that correctly?
    22   time you joined the ADAMHS Board in 2007?            22       A. I don't know that by 2010, I -- I
    23            MS. KEARSE: Object to form.                 23   don't know with any degree of certainty that by
    24       A. And again, I don't know.                      24   October 2010 that we had identified this as to
    25       Q. You don't know whether it was                 25   what you said.
                                                   Page 143                                                 Page 145
     1   publicly known and discussed or not?                  1       Q. Okay. Let's see if we can refresh
     2       A. I don't. I don't know.                         2   your recollection just a little bit.
     3       Q. Do you -- has there been an                    3       A. Okay.
     4   increase in drug overdose deaths in Summit            4              - - - - -
     5   County during the time that you've been the           5           (Thereupon, Deposition Exhibit 6,
     6   head of the ADAMHS -- I'm sorry -- during the         6           Document Titled "Community Play
     7   time that you've been employed by the Summit          7           Guidelines for SFY 2012 - 2013,"
     8   County ADAMHS Board?                                  8           SUMMIT_001170991 to 001171802, was
     9       A. Yes, there have been.                          9           marked for purposes of
    10       Q. What, in your view, has driven the            10           identification.)
    11   increase in drug overdose deaths during the          11              - - - - -
    12   time that you've been at the ADAMHS Board?           12       Q. This is a document from the Ohio
    13       A. What has been the --                          13   Department of Mental Health during the time
    14       Q. What has driven that increase?                14   when Ted Strickland was the governor of Ohio.
    15       A. There's a lot of factors.                     15           Do you remember Governor
    16   There's -- there's, you know, the diversion of       16   Strickland?
    17   prescription pain medications, the prescribing       17       A. I do remember Governor Strickland.
    18   practices of physicians, the -- the fact that        18       Q. He's not the governor anymore,
    19   when a lot of the pill mills were shut down          19   right?
    20   that it left a void in the community that the        20       A. No, I don't believe he is.
    21   dealers of the illicit substances were more          21       Q. Hasn't been the governor for a
    22   than willing to fill, and the fact that there        22   while, right?
    23   was the introduction of substances that were so      23       A. That's correct.
    24   potent that many people didn't know what they        24       Q. This is a document from September
    25   were getting and ended up dying as a result          25   29, 2010. Do you see that?

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                                                  Page 146                                                Page 148
     1       A. Yes, I do.                                    1   opioid epidemic within Summit County?
     2       Q. Okay. If you turn to page 50,                 2       A. Can you say that again, please?
     3   there's a specific reference to Summit County.       3       Q. What did Summit County do in or
     4   Do you see the -- the page numbers?                  4   before 2010, which is the year of this document
     5       A. Yes, I do.                                    5   I've --
     6       Q. Very bottom of page 50, this --               6       A. Uh-huh.
     7       A. Let me get to page 50 first.                  7       Q. -- just shown to you, to
     8       Q. Sure. Sure. This document --                  8   investigate the causes of the opioid epidemic
     9       A. Okay.                                         9   in Summit County?
    10       Q. -- from the Ohio Department of               10           MS. KEARSE: Object to form.
    11   Mental Health has a reference to the rise in        11       A. What did we do to investigate the
    12   the opiate population, specifically in Summit       12   causes? We didn't -- we didn't spend a lot of
    13   County. It's at the very bottom of the page.        13   energy on investigating the causes. We spent a
    14       A. Uh-huh.                                      14   lot of energy on addressing the needs that
    15       Q. Do you see that?                             15   people presented at our -- at our -- at our
    16       A. I do see that.                               16   organizations.
    17       Q. Certainly the Ohio Department of             17       Q. Do you agree that understanding the
    18   Mental Health knew that in Summit County there      18   cause of an epidemic is actually quite
    19   was a rise in the opiate population --              19   important to being able to address it
    20       A. Uh-huh.                                      20   appropriately?
    21       Q. -- by September 2010, fair?                  21       A. It's --
    22       A. Evidently.                                   22           MS. KEARSE: Object to form.
    23       Q. But -- but you don't know whether            23       A. It's certainly part of it, yes.
    24   or not Summit County's own ADAMHS Board was         24       Q. It's important, right?
    25   aware of this information that the Ohio             25       A. It can be important, yes.
                                                  Page 147                                                Page 149
     1   Department of Mental Health knew?                    1        Q. Do you agree with res- -- that with
     2           MS. KEARSE: Objection. Asked and             2   respect to the opioid epidemic, it is important
     3   answered.                                            3   to be able to understand the causes in order to
     4       A. That's correct.                               4   address -- and try and address the problems
     5       Q. Did you know that in 2010 the                 5   that exist; is that fair?
     6   governor set up a task force to address the          6        A. That became more and more clear
     7   issue of opiate abuse and addiction in the           7   over time, yes.
     8   state of Ohio?                                       8        Q. Okay. Did Summit County do
     9       A. I guess what I am saying is that I            9   anything in 2010, the date of this document
    10   don't know what year specifically we became         10   marked as Exhibit 6, or before 2010 to
    11   aware --                                            11   investigate the causes of the opioid epidemic
    12       Q. Just --                                      12   within Summit County?
    13       A. -- or what year that the                     13            MS. KEARSE: Objection to form.
    14   governor's --                                       14   Mischaracterizes the testimony.
    15       Q. Just answer my question, if you              15        A. I -- I don't remember if there was
    16   don't mind.                                         16   anything specific that we did in 2010. Again,
    17           MS. KEARSE: Counsel, he is                  17   that was the -- the year that Bill Harper left
    18   answering your question.                            18   and I was appointed as director. At that point
    19       A. -- or -- or what year that the               19   in time in our community, we were struggling
    20   governor's put out his report or any of those       20   with methamphetamines and bath salts, I believe
    21   things. I don't know. I don't have a memory         21   were -- were two of the most significant issues
    22   that would allow me to pinpoint the date at         22   that -- that took up a lot of our attention.
    23   which we were aware of these things.                23            But we were getting information
    24       Q. What did Summit County do in 2010            24   from our providers that would indicate that --
    25   or before 2010 to investigate the causes of the     25   that there was an increased demand for services
                                                                                           38 (Pages 146 - 149)
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                                                   Page 150                                                   Page 152
     1   specific to people who are opiate involved.           1   on an interim basis, and I wanted to fill the
     2       Q. By 2010, right?                                2   position, once I was appointed full-time as the
     3       A. Yes.                                           3   executive director with somebody with
     4       Q. And did you undertake to try and               4   information -- with addiction -- with an
     5   understand -- do you agree -- do you have a           5   addiction background. I had mostly a mental
     6   view as to whether or not, by 2010, Summit            6   health background. I wanted somebody with an
     7   County was experiencing an opioid epidemic?           7   addiction background, because I was aware that
     8       A. Do I agree or do I understand --               8   we had some issues related to substance use
     9       Q. Do you have a view as to whether or            9   disorders that -- that we needed to address in
    10   not, by 2010, Summit County was experiencing an      10   our system.
    11   opioid epidemic?                                     11               - - - - -
    12       A. Based on -- based on some                     12           (Thereupon, Deposition Exhibit 7,
    13   information that was provided to us from one of      13           7/22/2011 Document Titled "Craig's
    14   our providers, we were investigating.                14           List," SUMMIT_001233373 to
    15       Q. You hadn't made a determination by            15           001233374, was marked for purposes
    16   2010 as to whether or not you had an opioid          16           of identification.)
    17   epidemic on your hands?                              17               - - - - -
    18       A. We were not so much concerned about           18       Q. My question to you is, I think,
    19   whether there was an opiate epidemic as we were      19   pretty simple. If you don't want to answer it,
    20   about whether or not there was a need for            20   you can just tell me, but it's simple.
    21   increased capacity for services.                     21           MS. KEARSE: Objection.
    22       Q. Do you have a view, Mr. Craig, as             22       Q. As the head of the ADAMHS Board for
    23   the head of the Summit County ADAMHS Board           23   Summit County since the year 2010, do you have
    24   since 2010, as to whether or not by that year,       24   a view as to whether or not Summit County was
    25   2010, Summit County was experiencing an opioid       25   experiencing an opioid epidemic by the year
                                                   Page 151                                                   Page 153
     1   epidemic?                                             1   200- -- let's say 7.
     2           MS. KEARSE: Counsel, I'm going to             2           MS. KEARSE: Objection to form.
     3   object to this continued line of questioning.         3       A. I knew that there was an
     4   Asked and answered.                                   4   increased -- or there were reports of an
     5           MR. BOEHM: No, no, no, no.                    5   increased demand for services for people who
     6           MS. KEARSE: It's speculation.                 6   were opiate involved.
     7           MR. BOEHM: Please don't. Stop.                7       Q. By 2007, correct?
     8           MS. KEARSE: There's testimony in              8       A. By 2010 is what your question
     9   the document itself.                                  9   asked.
    10       Q. Go ahead. It's a simple question.             10       Q. Well, let's start with 2007. Did
    11       A. I don't know that I was aware in              11   you know that by 2007?
    12   2010. I don't know if I wasn't aware. I don't        12       A. I did not know in 2007.
    13   know if I was aware.                                 13       Q. Did you know it by 2008?
    14       Q. How about by 2011?                            14       A. As I said, I'm not aware of the
    15       A. And again, I'm -- I -- I cannot               15   date by which I first became aware of it.
    16   pinpoint a date by which I went, ding, I'm           16       Q. Okay. But certainly you say by
    17   aware of it.                                         17   2010 you knew that there was an increase in
    18       Q. I'm not looking for a specific                18   individuals who were experiencing opiate abuse
    19   date. I'm asking you about years.                    19   disorder and seeking services for that,
    20       A. That's -- I understand that.                  20   correct?
    21       Q. What about by 2007?                           21       A. I can -- again, I don't know
    22           MS. KEARSE: Asked and answered.              22   exactly when I first became aware of it, sir.
    23       A. What I -- what I know is that I               23       Q. By 2010 --
    24   needed -- as part of -- as part of the -- so in      24           MS. KEARSE: Counsel, I'll just
    25   2010 I was appointed as the executive director       25   add --
                                                                                              39 (Pages 150 - 153)
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                                                  Page 154                                                   Page 156
     1      Q.    -- as the head of the --                    1       Q. Do you believe at some point it
     2           MS. KEARSE: -- I -- I --                     2   became an epidemic?
     3           MR. BOEHM: I'm asking a very                 3       A. I may have -- without guessing, I
     4   simple question.                                     4   could -- I can say that retrospectively I may
     5           MS. KEARSE: And I'm also going to            5   have known earlier, but I can't say that with
     6   object to your eye rolling and your pounding         6   any degree of certainty. So if you want me to
     7   your head and doing things that the camera --        7   answer you as to when I first became aware, it
     8           MR. BOEHM: Listen.                           8   would be impossible for me to tell you.
     9           MS. KEARSE: -- cannot see that               9       Q. Okay. My question to you is
    10   you're doing --                                     10   whether or not you believe that at some point,
    11           MR. BOEHM: Listen. I --                     11   in Summit County, opiate use disorder became an
    12           MS. KEARSE: -- to the witness. I            12   epidemic?
    13   object to that.                                     13       A. Yes.
    14           MR. BOEHM: I'm asking a simple              14       Q. Okay. And what is it that made you
    15   question.                                           15   come to that conclusion?
    16           MS. KEARSE: If you want to ask a            16       A. There was a point in time when I
    17   question -- ask -- he's asked and answered it.      17   became aware. There was a point in time
    18   And just ask your question. We don't need           18   when obviously there had to have been.
    19   your --                                             19       Q. What happened that made you believe
    20       Q. I want you -- you said you had a             20   that to be the case?
    21   duty --                                             21       A. There was a whole series of -- of
    22           MS. KEARSE: -- thea- -- theatrics           22   presentations and information that I had looked
    23   here.                                               23   at over time that -- that likely led me to that
    24       Q. -- to the people of the county,              24   conclusion.
    25   right? You said that?                               25       Q. You don't know when?
                                                  Page 155                                                   Page 157
     1       A. I'm sorry. Are you talking to me?         1            A. I -- sorry. I -- I've already
     2       Q. I'm talking to you.                       2       answered this I don't know how many different
     3       A. Okay.                                     3       ways.
     4       Q. You had a -- you said you have a          4            Q. Well, the problem is you haven't
     5   duty to the people of the county, right?         5       answered it, but let me ask you a different
     6       A. I do have a duty to the people of         6       question.
     7   the county.                                      7               MS. KEARSE: Counsel, he has
     8       Q. You're on the record right now            8       answered your question.
     9   under oath.                                      9            Q. How --
    10            MS. KEARSE: I don't think you need 10                   MS. KEARSE: I suggest you move on.
    11   to keep reminding him of that, Counsel.         11            Q. You indicated that there was some
    12       Q. And -- and my question to you --         12       computations of damages that were made: one
    13            MS. KEARSE: He knows his               13       set in 2017, then another set that got bigger
    14   obligations under the oath that he took.        14       with the lawyers' involvement in 2018.
    15       Q. You're on the record.                    15               MS. KEARSE: Object to form.
    16            As the head of the ADAMHS Board        16            Q. Right?
    17   since 2010, do you have a view as to whether or 17            A. They didn't get bigger with the
    18   not Summit County was experiencing an opioid 18          lawyers' involvement. They got bigger with the
    19   epidemic by the year 2010?                      19       passage of time.
    20            MS. KEARSE: Object to form. Asked 20                 Q. Okay. How far back did you go?
    21   and answered.                                   21       How -- to -- how far back in time did you go
    22       A. What I can tell you is that I may        22       when you decided you wanted to com- -- compute
    23   have been aware and I may not have been aware. 23        the expenditures the Summit County ADAMHS Board
    24   I can't tell you when I first became aware that 24       made in connection with the opiate epidemic in
    25   this was an epidemic.                           25       the county?

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                                                  Page 158                                                 Page 160
     1           MS. KEARSE: Object to form.                  1   know that the opiate population is burgeoning,
     2       A. How many times did I look at this,            2   and we need to explore how we can expand
     3   or how far back did I go?                            3   services to all populations while making sure
     4       Q. How far back in time did you go?              4   that these funds result in quality
     5       A. Okay. I went back -- it was --                5   evidence-based programs," right?
     6   we -- we were asked to provide information for       6       A. That's correct.
     7   a period of time. I believe it went back to          7       Q. So certainly by July 2011, you say
     8   2012, and I think that we later were asked to        8   you were already aware that the opiate
     9   provide information for a longer time period.        9   population is burgeoning.
    10   And, again, I don't know specifically how many      10       A. Evidently, yes.
    11   years.                                              11       Q. And when you said that the opiate
    12       Q. You don't know how far back it               12   population is burgeoning, what did you mean?
    13   went?                                               13       A. That we were seeing more and more
    14       A. I don't remember.                            14   requests for services; that we were getting
    15       Q. Do you know roughly?                         15   more and more reports from our -- our crisis
    16       A. I don't know. Five or six years.             16   center that people who are opiate involved
    17       Q. With respect to the analysis you             17   were -- were presenting for services.
    18   were -- you performed in 2018, how far back in      18       Q. Do you believe that as of July 2011
    19   time did that analysis go? In terms of your         19   you, here in Summit County, had an opiate
    20   computation of expenditures in connection with      20   epidemic happening?
    21   ADAMHS Board costs in -- in relation to the         21           MS. KEARSE: Object to form.
    22   opioid epidemic in the county?                      22       A. In -- in retrospect, we -- we
    23       A. I don't know. Because we were                23   were -- you know, I used the term "burgeoning,"
    24   asked for so much information with different        24   so I would -- I would say that we were
    25   time frames identified in -- in these requests      25   experiencing a wave of need.
                                                  Page 159                                                 Page 161
     1   for information that I really couldn't tell          1       Q. For how long prior to July 2011 had
     2   you.                                                 2   the opiate population in Summit County been
     3       Q. I've put in front of you a document           3   burgeoning?
     4   that's been marked as Exhibit 7 for purposes of      4       A. At the time I don't know how -- at
     5   the deposition. It's a July 22, 2011, document       5   the time that I was looking at this, I don't
     6   that starts with the words "Craig's List."           6   know what information that I used, but it was
     7            Do you see that?                            7   likely the information that I had been
     8       A. I see that.                                   8   receiving over time.
     9       Q. This is something that you put out            9       Q. Over years, right?
    10   on a regular basis, or at least have in the         10           MS. KEARSE: Object to form.
    11   past?                                               11       A. I don't know over what period of
    12       A. Yes, I have.                                 12   time. But I was involved at the state level,
    13       Q. Do you still do this?                        13   mostly, the first couple years of my term as
    14       A. No, I don't.                                 14   executive director, so I was exposed to more
    15       Q. Okay. And I guess the "Craig's               15   data and information at that point in time.
    16   List," you're not selling used furniture or         16       Q. Okay. But you -- you had been
    17   giving away parrots or anything like that,          17   receiving information for years, prior to July
    18   right?                                              18   2011, about the growing opiate population in
    19            MS. KEARSE: Object to form.                19   Summit County?
    20       Q. Right? This is just a play off               20           MS. KEARSE: Object --
    21   of -- of the website? Is that what this is?         21       Q. Is that fair?
    22       A. Yes. It's the name of my                     22           MS. KEARSE: Object to form.
    23   newsletter.                                         23       A. I -- I don't know what I received
    24       Q. Right. And here in July 2011, in             24   and what I didn't receive and when, but I was
    25   the second to last paragraph, you write, "We        25   receiving information.
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                                                  Page 162                                                   Page 164
     1       Q. That's not my question.                       1       Q. -- that you had wanted someone with
     2       A. You asked me about whether --                 2   an addiction background, right?
     3   whether I had been receiving information before      3       A. That's correct.
     4   2011. I had been receiving information before        4       Q. Why did you want somebody with an
     5   2011, but I don't know how much. And -- and,         5   addiction background?
     6   you know, your characterization that -- that I       6       A. Because we saw a need to, in a more
     7   had received lots and lots of information is --      7   intentional way, focus our addiction efforts.
     8   is not necessarily what I -- what I --               8       Q. Was that in connection with the
     9       Q. I didn't characterize that at all.            9   burgeoning opiate population in Summit County?
    10       A. -- would agree -- what I would               10           MS. KEARSE: Objection.
    11   agree with.                                         11       A. It was in relation to the bath
    12       Q. I said that you had been receiving           12   salts incidents, with the methamphetamine, with
    13   information about the opiate population in          13   alcohol and -- and drug. All across the
    14   Summit County burgeoning for years --               14   spectrum.
    15            MS. KEARSE: Object --                      15       Q. In 2- -- I'm sorry. I didn't mean
    16       Q. -- prior to 2011. Is that fair?              16   to stop you if you weren't done. Go ahead.
    17            MS. KEARSE: Object to form. Asked          17       A. We just -- we just wanted to make
    18   and answered.                                       18   sure that we -- that we were adequately
    19       Q. It's a simple question.                      19   equipped. And I felt as though having one
    20       A. Well, I'm looking to see whether             20   person being the point person with that
    21   that's -- I don't know where you -- where           21   knowledge wasn't sufficient, and that my -- my
    22   you're -- how -- I don't know the -- how you're     22   duties as the executive director would not
    23   saying that that --                                 23   allow me to get into the weeds, if you will, on
    24            I don't understand how you're              24   those issues.
    25   saying that I have received lots and lots of        25       Q. Do you believe that as of 2010,
                                                  Page 163                                                   Page 165
     1   information prior to that. I don't know if           1   addiction to bath salts was a bigger problem
     2   we -- I don't know how much information I've         2   than addiction to opioids in Summit County?
     3   received.                                            3       A. I don't know if it was a bigger
     4        Q. Do you agree, Mr. Craig, that you            4   problem in Summit County. It certainly was
     5   had been receiving, as head of the ADAMHS Board      5   more visual. It was -- it was impacting our
     6   for Summit County --                                 6   community. It was impacting some communities
     7        A. Uh-huh.                                      7   fairly significantly.
     8        Q. -- information about the burgeoning          8       Q. Is it your view that in Summit
     9   opiate population in Summit County for years         9   County the impact of bath salts addiction was
    10   prior to 2011?                                      10   more significant in terms of its impact on the
    11            MS. KEARSE: Object to form. Asked          11   county than opioid addiction?
    12   and answered.                                       12            MS. KEARSE: Objection.
    13            I think you should move on,                13       A. I just know that the -- we -- we
    14   Counsel, instead of asking the same question.       14   became much more aware of what was going on
    15            MR. BOEHM: Stop.                           15   with bath salts because we --
    16        A. I may have received information. I          16       Q. I need you to answer my question.
    17   just don't -- I -- I just can't say to my           17       A. Okay.
    18   recollection, from the year 2010, back, that I      18       Q. I know you want to talk.
    19   can -- you know, if I received information I --     19            MR. BOEHM: Can you, kindly --
    20   I likely saw it. I -- I tried to -- I tried to      20            MS. KEARSE: Counsel, I'm going --
    21   review whatever information I -- that was sent      21   I'm going --
    22   to me.                                              22            MR. BOEHM: -- Court Reporter,
    23        Q. You said that as the interim head           23   would you mind reading back my question?
    24   of the ADAMHS Board in 2010 --                      24            MS. KEARSE: -- I'm going to ask
    25        A. Uh-huh.                                     25   you to stop interrupting the witness when he is

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                                                    Page 166                                                     Page 168
     1   attempting to ask -- answer your questions with        1      Q.   At that time, right? Talking 2010,
     2   that.                                                  2   2011?
     3           So I -- I -- we're going to break              3            MS. KEARSE: Objection.
     4   for lunch in a minute if you're going to               4       A. Generally within the 2010 to 2013
     5   keep --                                                5   time frame.
     6           MR. BOEHM: Go ahead. If you --                 6       Q. And you indicated earlier today
     7           MS. KEARSE: -- harassing the                   7   that even in the late years of the first decade
     8   witness.                                               8   of the 2000s, you were aware that there was a
     9           MR. BOEHM: -- don't mind just                  9   burgeoning opioid problem, right?
    10   reading back the question that I had asked.           10            MS. KEARSE: Objection.
    11              (Record read.)                             11       A. I don't remember what I -- what I
    12       A. No, I don't. I -- I believe that               12   said. Like I said, we were -- I was getting a
    13   it was more impactful in some communities than        13   lot of information about the opiate epidemic.
    14   in others.                                            14       Q. From the beginning of your time at
    15       Q. But not in Summit County?                      15   ADAMHS, right, you were getting a lot of
    16       A. It -- bath salts really hit --                 16   information about the burgeoning opiate
    17   impacted certain communities.                         17   epidemic, fair?
    18       Q. That's not an answer to my                     18            MS. KEARSE: Object to form.
    19   question, respectfully.                               19       A. I was -- when I first started at
    20           MS. KEARSE: Counsel, he's doing               20   the board, I wasn't necessarily connected to a
    21   the best to answer your questions. Maybe you          21   lot of the information, but over time I became
    22   need to ask better questions.                         22   more and more connected and received more and
    23           MR. BOEHM: No, it's a pretty good             23   more information. So gradually, yes, I was
    24   question.                                             24   receiving more information, and as a
    25           MS. KEARSE: If you do say so                  25   consequence of that became more aware.
                                                    Page 167                                                     Page 169
     1   yourself.                                              1       Q. Right. And I'm just trying to
     2       A. The issues with bath salts only                 2   understand if that increasing amount of
     3   impacted certain communities within our county.        3   information was coming to you as of the later
     4       Q. Overall, is it your view that the               4   years of the first decade of the 2000s, as you
     5   impact of bath salt addiction was greater than         5   indicated earlier today, or not.
     6   the impact on -- than the impact of opioid             6       A. Again, I -- I don't know. I -- we
     7   addiction in Summit County?                            7   keep dancing around this when I became aware.
     8           MS. KEARSE: Objection. Asked and               8   I don't know when I became aware.
     9   answered.                                              9           MS. KEARSE: Counsel, we're going
    10       Q. Because you keep raising bath salts            10   to break for lunch now.
    11   and methamphetamines.                                 11           MR. BOEHM: Okay.
    12       A. Ret- -- retrospectively, no.                   12           THE VIDEOGRAPHER: Off the record,
    13       Q. At the time, did you think that                13   12:13.
    14   bath salt addiction was a bigger problem for          14            (Luncheon recess.)
    15   Summit County than opioid addiction?                  15              - - - - -
    16           MS. KEARSE: Objection to form.                16           (Thereupon, Deposition Exhibit 8,
    17       A. Bath salts, at that time, were a               17           Summit County ADM Board 2012 Budget,
    18   crisis. The opiates were an epidemic.                 18           SUMMIT_001147357 to 001147365, was
    19       Q. As of 2010, fair?                              19           marked for purposes of
    20           MS. KEARSE: Objection.                        20           identification.)
    21       A. Opiates -- opiates -- the problem              21              - - - - -
    22   with bath salts was episodic, I guess may be a        22           (Thereupon, Deposition Exhibit 9,
    23   better way of putting it; whereas we were             23           Summit County ADM Board 2013 Budget,
    24   seeing the problem with opiates as sort of a --       24           SUMMIT_001220716 to 001220731, was
    25   like you said, a burgeoning issue.                    25           marked for purposes of

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                                                     Page 170                                                     Page 172
     1          identification.)                                 1           MR. BOEHM:    8 --
     2             - - - - -                                     2           MS. KEARSE:    8.
     3          (Thereupon, Deposition Exhibit 10,               3           MR. BOEHM:    -- through 14.
     4          Summit County ADM Board 2014 Budget,             4           MS. KEARSE:    So each individual.
     5          SUMMIT_001018649 to 001018665, was               5   Okay.
     6          marked for purposes of                           6           MR. BOEHM: Yeah. I've marked each
     7          identification.)                                 7   of --
     8             - - - - -                                     8           MS. KEARSE: Okay.
     9          (Thereupon, Deposition Exhibit 11,               9           MR. BOEHM: -- those yearly budgets
    10          Summit County ADM Board 2015 Budget,            10   as a separate exhibit.
    11          SUMMIT_001113145 to 001113162, was              11           MS. KEARSE: Okay.
    12          marked for purposes of                          12       Q. Make sense? Okay.
    13          identification.)                                13       A. Yes.
    14             - - - - -                                    14       Q. Now, my -- I have just a couple of
    15          (Thereupon, Deposition Exhibit 12,              15   preliminary questions for you.
    16          Summit County ADM Board 2016 Budget,            16       A. Okay.
    17          SUMMIT_001024592 to 001024609, was              17       Q. First of all, are these budgets
    18          marked for purposes of                          18   that we've marked as Exhibit 8 through 14 for
    19          identification.)                                19   years 2012 through 2018, budgets that you have
    20             - - - - -                                    20   the opportunity to review and approve as head
    21          (Thereupon, Deposition Exhibit 13,              21   of ADAMHS Board?
    22          Summit County ADM Board 2017 Budget,            22       A. Yes, they are.
    23          was marked for purposes of                      23       Q. What is the nature of your
    24          identification.)                                24   involvement with respect to the preparation of
    25             - - - - -                                    25   the annual ADAMHS budget for Summit County?
                                                     Page 171                                                     Page 173
     1          (Thereupon, Deposition Exhibit 14,               1        A. Well, there's two components to the
     2          Summit County ADM Board 2018 Budget              2   budget. One is the actual assignment of the --
     3          - SUMMIT_001080804 to 001080819, was             3   of the dollars towards the activities that the
     4          marked for purposes of                           4   ADM Board engages in.
     5          identification.)                                 5            The second part of that is the
     6             - - - - -                                     6   narrative portion of our budget, which
     7          THE VIDEOGRAPHER: On the record,                 7   describes the activities that the ADM Board and
     8   1:20.                                                   8   its agencies are engaged in.
     9   BY MR. BOEHM:                                           9        Q. Okay. If you take, for example,
    10       Q. Okay. We are back. I hope you                   10   Exhibit 8, which is the 2012 budget --
    11   enjoyed your lunch. It sounds like it wasn't           11        A. Uh-huh.
    12   that good?                                             12        Q. -- I don't actually see much of a
    13       A. It was fine. Thank you.                         13   narrative. Am I missing it, or is it not --
    14       Q. Fine? Okay, good.                               14        A. What --
    15           I have actually marked and placed              15        Q. -- not --
    16   in front of you --                                     16        A. Well, this is not --
    17           MR. BOEHM: And I have copies for               17        Q. -- included in this?
    18   you, Anne, as well.                                    18        A. This is not our budget, per se.
    19       Q. -- a series of documents. They are              19   This is a presentation of budget information
    20   the ADM budgets from the years 2012 through            20   that we give to our board of directors.
    21   2018. And those have been marked, I'll say for         21        Q. Got it.
    22   the record, as Exhibits 18 [sic] through 14.           22            So would it be -- the document
    23           Do you see that stack of documents?            23   itself says "2012 Budget," but maybe it would
    24       A. I do see it.                                    24   be more accurate to say this is a slide deck of
    25           MS. KEARSE: Exhibits 18 or 8? 8?               25   a presentation about the 2012 budget?
                                                                                                44 (Pages 170 - 173)
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                                                  Page 174                                                 Page 176
     1        A. That's correct, yes.                         1        A. Yes.
     2        Q. Okay. What input does the county             2        Q. Okay. It seems to be broken up
     3   council or the county executive have in terms        3   into two parts. One is the mental health
     4   of the ADAMHS Board annual budget?                   4   services part, and the other is the substance
     5        A. Very little.                                 5   abuse part; is that right?
     6        Q. Do they have some, or is it none at          6        A. Yes.
     7   all?                                                 7        Q. Okay. So if you look at the
     8        A. They may be a -- a planning input.           8   subtotals as between those two sections, first
     9   For example, if they were to draw something to       9   mental health and then substance abuse, it
    10   our attention that was a need in the community,     10   appears that the mental health contractual
    11   we would fold that into our planning.               11   expenditure for 2012 is nearly $25 million,
    12        Q. Okay. With respect -- sorry. Let            12   right?
    13   me start over.                                      13        A. Yes.
    14           With respect to the opioid epidemic         14        Q. And for substance abuse, the number
    15   in Summit County, has there ever been an            15   is just over $13 million, right?
    16   occasion where the county executive or somebody     16        A. That's correct.
    17   from the county council has come to you as head     17        Q. Okay. Why is it that most -- well,
    18   of the Summit County ADAMHS Board to discuss        18   let me actually back up and set the foundation
    19   with you expenditures related to the opioid         19   for this question.
    20   epidemic in the county?                             20            Is it true today that the ADAMHS
    21        A. No one -- to my recollection,               21   Board budgets more money for mental health
    22   there's been nobody from the County who's come      22   services relative to the substance abuse
    23   to me with -- with respect to input into our        23   component of the annual budget?
    24   budgeting process.                                  24        A. Yes, that would be the case.
    25        Q. Okay. If you take Exhibit 8, do             25        Q. Has that always been the case since
                                                  Page 175                                                 Page 177
     1   you see on the bottom right-hand corner that         1   you've been at ADAMHS?
     2   there are some numbers? Do you see that in the       2       A. Yes, it has been.
     3   bottom right-hand corner?                            3       Q. Okay. If you look at that subtotal
     4       A. Yes.                                          4   for substance abuse services, that's the $13.1
     5       Q. Just -- I don't know if you're                5   million. Do you see that?
     6   familiar with this or not, but -- but these are      6       A. I see it.
     7   numbers that get stamped onto the document by        7       Q. Okay. How much of the total 2012
     8   the lawyers so that we can kind of keep track        8   expenditures on substance abuse services was
     9   of them. Because this slide deck is not              9   directed specifically at opiate use disorder?
    10   otherwise numbered, I'm going to use the            10       A. I couldn't tell you.
    11   numbers, and particularly the final numbers --      11       Q. Why not?
    12       A. Okay.                                        12       A. Because I don't catalog that kind
    13       Q. -- at the bottom right-hand page to          13   of information.
    14   kind of --                                          14       Q. Does the ADAMHS Board -- do other
    15       A. Reference?                                   15   individuals on behalf of the ADAMHS Board
    16       Q. -- help us flip through it.                  16   catalog that type of specific information?
    17       A. Okay.                                        17       A. No. We -- when we make an
    18       Q. And the first page I'd like to look          18   allocation towards an agency, it's either to
    19   at with you is the page with the number 7364 at     19   serve an individual who has a substance use
    20   the end, which is toward the back.                  20   disorder or a mental health disorder. Back
    21       A. Okay.                                        21   in -- in the time that this budget was
    22       Q. And do you see this is the section           22   developed, that would be the case.
    23   of the presentation about the 2012 budget that      23       Q. Would the contracting agency be
    24   describes the contractual expenditures by the       24   required to track what particular substances
    25   ADAMHS Board?                                       25   were being abused or what substance use
                                                                                           45 (Pages 174 - 177)
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                                                  Page 178                                                Page 180
     1   disorders were being addressed in terms of how       1   designated specifically for the Summit County
     2   they allocated the money provided to them by         2   ADAMHS Board?
     3   the ADAMHS Board?                                    3        A. The funding -- the funding that --
     4       A. No. We -- we fund substance --                4   that's yielded from the levy is collected by
     5   services to address substance use disorders,         5   the County and held at the County, but it's
     6   but we don't catalog them. We want the agency        6   restricted for ADM Board use.
     7   to be able to address whatever needs come            7        Q. And do the voters of Summit County
     8   before them in that domain.                          8   vote on whether or not there would be such a
     9       Q. Okay. Did the ADAMHS Board request            9   levy for the ADAMHS Board?
    10   additional funds from Summit County                 10        A. Yes.
    11   specifically for the purpose of addressing          11        Q. Okay. So -- and that's why you
    12   opiate use disorders for the fiscal year of         12   said my question didn't quite make sense when
    13   2012?                                               13   I -- when I said has the ADAMHS Board went to
    14       A. We've never requested funds from             14   the Summit County and requested funds for the
    15   Summit County.                                      15   opiate epidemic, because you get your funds
    16       Q. What do you mean when you say                16   from that levy, right?
    17   you've never requested funds --                     17        A. Right. Well, when you say "Summit
    18       A. You --                                       18   County," I was -- I was of the understanding
    19       Q. -- from Summit County?                       19   you were -- you were referring to the County as
    20       A. You asked me if this -- if the ADM           20   an agency.
    21   Board has ever sought funds from Summit County,     21        Q. Right.
    22   and we don't seek funds from Summit County.         22        A. Not as the population of the
    23       Q. Okay. What --                                23   county.
    24       A. Summit County is not a funder.               24        Q. Got it. Thank you.
    25       Q. What are the funding sources for             25            Now, I have marked these other
                                                  Page 179                                                Page 181
     1   the ADAMHS Board for Summit County?                  1   budgets just for the record. 2013 budget
     2        A. For Summit County our -- our budget          2   slides are Exhibit 9.
     3   is -- is levy, from the property tax levy. We        3            The 2014 budget slides are Exhibit
     4   have state funding and federal funding. And          4   10.
     5   much of the state and federal funding is             5            The 2015 budget slides are
     6   targeted for specific needs and issues.              6   Exhibit 11.
     7        Q. When you say "targeted," does                7            The 2016 budget slides are Exhibit
     8   that -- is that sometimes referred to as             8   12.
     9   earmarked? I'm familiar with that term. Is           9            The 2017 budget slides are
    10   that what you mean by that?                         10   Exhibit 13.
    11        A. Earmarked or restricted might be a          11            And the 2018 budget slides are
    12   fair way to state it.                               12   Exhibit 14.
    13        Q. Does that mean when you get the             13            I'm sorry. That was a little
    14   money, you have specific requirements and           14   tedious. I just wanted to do that --
    15   guidelines that you have to follow in terms of      15       A. Uh-huh.
    16   how you spend the money?                            16       Q. -- so it was clear for the record
    17        A. That would be fair.                         17   and for those who aren't sitting with us in the
    18        Q. Okay. Now, the levy category that           18   room how we've done this.
    19   you referenced, what levy are you referring to?     19            If I were to ask you the same
    20        A. The ADM Board has a 3.28 mil, I             20   question I asked you about the 2012 budget --
    21   believe, operating levy that we -- that is paid     21   that is how much of the substance use subtotal
    22   by Summit County property owners.                   22   for each year is directed specifically at
    23        Q. Is that 3.28 mil operating levy,            23   opiate use disorder -- would your answer be the
    24   does that go through county government before       24   same for each of these years?
    25   it gets directed to ADAMHS Board, or is that        25       A. Not necessarily.
                                                                                           46 (Pages 178 - 181)
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                                                  Page 182                                                  Page 184
     1       Q. Okay. Can you help me understand          1           Q. Is there some other way by which
     2   how it might be different from year to year?     2       you would be able to answer the question for
     3       A. Sure. Let me look at this for a           3       any of these years how much of the substance
     4   moment.                                          4       abuse subtotal was specifically directed
     5            This is '12. Okay.                      5       towards opiate use disorder treatment?
     6            So there were some dynamics that --     6           A. No, I would not be able to tell
     7   that occurred within the state when Medicaid     7       from any -- in any of those documents
     8   expansion became a reality. And more and more 8          prospectively.
     9   of the services that the ADM Board funded,       9           Q. I'm sorry. And --
    10   particularly those services for people with     10           A. I'm sorry. That -- we did not
    11   substance use disorders, were picked up my      11       budget funds. We could tell after the fact how
    12   Medicaid.                                       12       the funds were expended -- expended, but we
    13       Q. What were the implications of that       13       could not tell prospectively.
    14   development for purposes of funds available to 14            Q. Okay. Okay. So I think you -- I
    15   the ADAMHS Board in Summit County?              15       think we're on the right track here. Let me
    16       A. The implications of that were that       16       just make sure I have my question clear and you
    17   we were able to use those dollars that we had   17       understand it.
    18   formerly used to fund programs and services for 18           A. Uh-huh.
    19   treatment for other types of services.          19           Q. So what I'm asking as -- is really
    20       Q. Do I understand, basically, that         20       not necessarily just what's on the document,
    21   the expansion of Medicaid freed up more money 21         but whether or not you would be able to
    22   for you to use in a variety of different ways?  22       determine, looking back at each year, how much
    23       A. That would be fair.                      23       of the substance use expenditures for any given
    24       Q. Okay. When did that happen? Is           24       year were directed specifically at services for
    25   that -- is that what is referred to as the      25       opiate use disorder.
                                                  Page 183                                                  Page 185
     1   Affordable Care Act?                                 1           MS. KEARSE: Object to form.
     2        A. Yes.                                         2       Q. Are you -- is that something you
     3        Q. Okay.                                        3   know?
     4        A. So roughly 2014.                             4       A. I do not. Not in total.
     5        Q. Okay. So if we were to go through            5       Q. And -- and would you have data
     6   each of these budgets -- and, look, every --         6   available at the ADAMHS Board that would allow
     7   every of these budgets, I'll represent -- or         7   you to perform that kind of calculation?
     8   these slides reflecting the annual budget has a      8       A. No, I would not.
     9   page that talks about the contractual                9       Q. And why not? What would you need
    10   expenditures by agency. It has a mental health      10   that you don't have.
    11   subtotal. It has a substance abuse subtotal.        11       A. A crystal ball.
    12           Does that sound right?                      12       Q. I'm -- I'm sure you're -- you're
    13        A. Yes.                                        13   kind of saying that tongue in cheek. I'm just
    14        Q. And if we were to go through the            14   not sure what you mean.
    15   substance abuse subtotal for each of these          15       A. No. I mean that we would be -- we
    16   years, would you be able to tell me how much,       16   would have to be able to predict with some
    17   in any given year, of the substance abuse           17   level of clarity who's going to come to us for
    18   subtotal was directed specifically toward           18   treatment services and what the nature of their
    19   opiate use disorder expenditures?                   19   issue is, and we don't have the ability to do
    20        A. Not entirely, no. Not by looking            20   that.
    21   at these documents.                                 21       Q. You're talking about looking into
    22        Q. Would you be able to tell me that           22   the future?
    23   for any of the years by looking at these            23       A. Yes.
    24   documents?                                          24       Q. Okay. So what I'm asking you right
    25        A. I would not.                                25   now -- well, let's actually wrap that part up

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                                                   Page 186                                                Page 188
     1   and then we can come back to this.                    1   these numbers in these annual budgets and tell
     2            You're saying that if -- in terms            2   me how much each year of the subtotal for
     3   of predicting what your future expenditures           3   substance use treatment went specifically to
     4   might be with respect to opiate -- the opiate         4   opiate use disorder treatment and services. Is
     5   epidemic in Summit County, you would not have         5   that fair?
     6   any data-based credible way to calculate              6       A. Well, in the 2017 and 2018 budget,
     7   exactly what those expenditures would be, fair?       7   I believe there were some -- some funds that
     8            MS. KEARSE: Object to form.                  8   were identified specifically for that purpose.
     9        A. That's correct.                               9       Q. Okay. Let's set those aside --
    10        Q. Okay. Now, looking back -- because           10       A. Okay.
    11   I think that's where we got a little confused,       11       Q. -- for just a second, and then
    12   and it's probably my fault.                          12   we'll go back to that.
    13            What I'm asking you about right now         13       A. But aside from that, no.
    14   is with respect to these past years whether or       14       Q. Okay. Perfect. Now let's go to
    15   not you would be able to tell us of the              15   those.
    16   subtotal for substance use expenditures by the       16            You said 2017 and 2018?
    17   ADAMHS Board in any given year, how much of          17       A. I believe so.
    18   that subtotal was directed specifically to           18       Q. Okay. So those are Exhibits 13 and
    19   address opiate use disorder treatment and            19   14.
    20   services.                                            20            If you look at Exhibit 13, can you
    21        A. In total?                                    21   find the page that has the 2017 contract
    22        Q. On an annual basis. So, for                  22   expenditures by agency?
    23   example, in 2012 this -- the projected               23       A. Yes, I believe so.
    24   expenditures was just over 13 million for            24            MS. KEARSE: For some reason, this
    25   substance abuse in total, right?                     25   doesn't have a Bates stamp on it.
                                                   Page 187                                                Page 189
     1        A. Correct.                                      1            MR. BOEHM: I know. I -- I noticed
     2        Q. And that includes alcohol services,           2   that, too. And I don't know --
     3   right?                                                3            THE WITNESS: It's numbered page 9
     4        A. Right.                                        4   at the top right-hand corner.
     5        Q. Methamphetamines?                             5            MR. BOEHM: Yeah. Thank you.
     6        A. Right.                                        6            And, Anne, I -- I noticed that too.
     7        Q. Cocaine?                                      7   And I -- I apologize, because I'm not certain
     8        A. Correct.                                      8   whether or not we could not find a produced
     9        Q. And we could go right down the                9   version of this and so we found it on a
    10   list. That's for all substance abuse-related         10   website, or if we --
    11   services, right?                                     11            MS. KEARSE: Okay. I --
    12        A. That's correct.                              12            MR. BOEHM: I'm not sure what
    13        Q. Okay. So what I'm asking you is              13   happened.
    14   whether or not you can identify how much of          14            MS. KEARSE: Okay. I understand,
    15   that substance abuse subtotal was directed           15   yeah.
    16   specifically to expenditures for opiate use          16            MR. BOEHM: If you'd like, we can
    17   disorder treatment and services in any given         17   go back and replace the --
    18   year.                                                18            MS. KEARSE: No. I was -- I was
    19        A. I can go back and do that                    19   just going to say what page -- I was going to
    20   retrospectively through our claims data.             20   use the page number. Says page 9 versus a
    21        Q. That's what you would use. That's            21   Bates stamp number.
    22   what you were referring to earlier today?            22            MR. BOEHM: Yes. Thank you.
    23        A. Yes.                                         23   That's helpful.
    24        Q. Okay. But sitting here today, I              24            MS. KEARSE: Yeah.
    25   take it, you're not able to look at any of           25       Q. So page 9 has the 2017 contract
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                                                   Page 190                                                   Page 192
     1   expenditures by agency for 2017, right?               1   2018; is that right?
     2       A. Yes.                                           2        A. It was established in 2016, and
     3       Q. Okay. And, again, just like every              3   as -- has been --
     4   year, there's a subtotal for the substance            4        Q. Did you mean 2017 or 2016?
     5   abuse expenditures, and that is just over 13          5        A. It's -- it's the -- it's the 2016
     6   mil- -- $13.2 million, right?                         6   for '17.
     7       A. Yes.                                           7        Q. For -- for the 2017 --
     8       Q. And you indicated that in 2017 and             8        A. Correct.
     9   2018 there were funds that were dedicated             9        Q. -- budget.
    10   specifically to addressing opiate use disorder?      10        A. And has -- and we have done that
    11       A. Yes.                                          11   all the way through our 2019 budget.
    12       Q. Okay. And is that reflected in the            12        Q. Okay. Got it. Do you anticipate
    13   "Targeted solutions, opiate epidemic" line           13   doing that beyond 2019?
    14   that's almost at the very bottom --                  14        A. I don't know yet.
    15       A. Yes.                                          15        Q. What will be the factors that
    16       Q. -- of page 9?                                 16   determine whether or not that continues beyond
    17            And that looks like that line item          17   2019?
    18   comes to about $3.2 million?                         18        A. The sustainability of -- of those
    19       A. That's correct.                               19   funds and our ability to -- our ability to
    20       Q. Okay. Where is that money from?               20   continue to fund programs that we've -- that
    21       A. These are funds that come from our            21   we've already funded based on our funds
    22   local -- or from our levy. So these are levy         22   available.
    23   funds that are pulled from our fund balance and      23        Q. Okay. When you had additional
    24   allocated for the specific purpose of                24   funds become available to you through the
    25   addressing unmet needs related to the opiate         25   changes in Medicaid coverage that you described
                                                   Page 191                                                   Page 193
     1   epidemic.                                             1   in connection with the Affordable Care Act, did
     2        Q. Okay. And was 2017 the first time             2   any of the newly available funds that you had
     3   you had this targeted solutions line item to          3   available to you get specifically directed to
     4   address the opiate use epidemic in Summit             4   services and treatment for opiate use disorder?
     5   County?                                               5       A. Yes.
     6        A. Yes.                                          6       Q. Okay. Can you identify those for
     7        Q. For this year or for any prior                7   us, please?
     8   year, when you refer to the claims data as a          8       A. I can say that aside from what we
     9   way where you could go back and look to see how       9   had allocated to our agencies, we had some
    10   the funds were spent, are you able to subdivide      10   funds set aside to develop some additional
    11   those expenditures as between prescription           11   capacity to provide medication-assisted
    12   opioids versus illicit opioids such as heroin?       12   treatments which are generally used for opiate
    13        A. No.                                          13   use disorders.
    14            MS. KEARSE: Object to form.                 14           So we created with three -- for
    15        A. No, we're not able to do that.               15   three of our agencies, we established a pilot
    16        Q. Why aren't you able to do that?              16   to introduce them to medication-assisted
    17        A. Because we use codes that are                17   treatment, particularly use -- with the use of
    18   provided to us that are standard billing codes,      18   Suboxone, buprenorphine.
    19   and there's not -- there's not a process for us      19       Q. Do you remember how much money was
    20   to identify a problem based on whether it's an       20   dedicated to the purpose that you just
    21   illicit substance or a prescription pain             21   described?
    22   medication.                                          22       A. I'm not sure. I'm not sure.
    23        Q. Okay. And you indicated that this            23   $300,000 comes to mind, but I'm not sure if
    24   line item for targeted solutions for the opiate      24   that was a total or if that was how much per
    25   epidemic in Summit County was maintained in          25   pilot.

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                                                   Page 194                                                   Page 196
     1       Q. Is that something that Ms. Peivich             1   operating funds. And that -- and that -- and
     2   could look in to her database and figure out?         2   that fund balance is at the end of our -- that
     3       A. Yes, or I could look back                      3   is projected to be at the end of our -- the
     4   retrospectively through records. I just don't         4   requirement is at the end of our levy cycle, we
     5   recall.                                               5   should be projected to have at least 90 days
     6       Q. Okay. Now, with respect to this                6   funding in our -- in our fund balance.
     7   targeted solutions for the opiate epidemic in         7       Q. You referred to this computation
     8   Summit County, that gets its own line item in         8   that -- that you and Ms. Peivich prepared in
     9   2017. Was that money that was being directed          9   connection with the litigation earlier today.
    10   from the existing ADAMHS levy, or was there          10            Do the computations that you and
    11   some new levy or some other new source of funds      11   Ms. Peivich prepared in connection with the
    12   that you all were using to add that -- that          12   lawsuit include amounts that you computed --
    13   expenditure?                                         13   sorry, let me start over. Hope this isn't too
    14       A. These were funds that were in our             14   long of a question. I'm going to try to
    15   fund balance that were unexpended, so -- so we       15   simplify it for you.
    16   were able to direct those funds towards these        16            With respect to the computation
    17   opiate solutions.                                    17   that -- that you referenced earlier today that
    18       Q. For those of us who may not be                18   you and Ms. Peivich prepared in connection with
    19   certified public accountants, when you talk          19   this lawsuit, is it correct that those
    20   about a fund balance --                              20   computations included amounts and expenditures
    21       A. Uh-huh.                                       21   for illicit as well as prescription opiate use
    22       Q. -- can you just give a little bit             22   disorders?
    23   more information about what you mean by that         23            MS. KEARSE: Object to form.
    24   and what it means that you took money from the       24       A. These were -- the compu- -- the
    25   fund balance to create this line item?               25   information that we gathered to respond to
                                                   Page 195                                                   Page 197
     1        A. In 2007, Summit County requested it      1        the -- to respond to the county executive's
     2   and was approved to seek an increase in our      2        requests was anything opiate related,
     3   levy. So we actually reduced the millage of      3        irrespective of whether it was prescription or
     4   our levy, but the net effect of that was that    4        synthetic opioids.
     5   it actually earned us more money.                5            Q. Got it. And I apologize if you
     6           And so we brought in more money          6        already said this.
     7   that we spent at the beginning of our levy --    7                 Is that in part because you don't
     8   at the beginning of our levy cycle, and what we 8         have the coding, in terms of the claims data,
     9   didn't spend went into our fund balance. And     9        in order to separate those out?
    10   each year we had some -- we had plans for how 10              A. That's correct.
    11   we wanted to increase our expenditures to       11            Q. Okay. Do the computations of
    12   address the needs that presented in our         12        expenditures for the ADAMHS Board that you and
    13   community.                                      13        Ms. Peivich prepared in connection with this
    14        Q. Since the ADAMHS Board -- well, let 14            lawsuit go back further in time than when, in
    15   me back up.                                     15        your view, Summit County began to experience an
    16           Since you've been at the ADAMHS         16        opioid epidemic?
    17   Board, in other words since 2007, has there     17                 MS. KEARSE: Object to form.
    18   ever been a year where the ADAMHS Board has 18                A. I don't know. I don't know. I
    19   operated without the surplus that you were just 19        don't know how -- how I would be able to
    20   referring to?                                   20        characterize this as an epidemic. So -- and I
    21        A. No.                                     21        don't know exactly how far back we went in
    22        Q. Do you have a surplus for 2019 as       22        our -- in our computation.
    23   well?                                           23                 Like I said before, we were asked
    24        A. Yes. We are required by the County      24        for information for a variety of time frames
    25   to carry a fund balance of at least 90 days of  25        for a variety of purposes, so I'm not -- I'm

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     1   not completely sure.                                 1   our Quick Response Teams who were -- dedicated
     2        Q. I noticed that these slides for the          2   a significant part of their time to stand up
     3   annual budgets for ADAMHS also referenced cost       3   these programs, and also to any other
     4   for just the running of the board,                   4   initiative that was related to our opiate
     5   administrative costs, right?                         5   response.
     6        A. Yes.                                         6        Q. Okay.
     7        Q. And I thought you indicated earlier          7               - - - - -
     8   today that your computations with Ms. Peivich        8            (Thereupon, Deposition Exhibit 15,
     9   in connection with this lawsuit endeavored to        9            ADM Board Document Titled "Report on
    10   include the amount of time that your staff          10            Opiate Epidemic Impact", was marked
    11   spent focused on opiate-related issues.             11            for purposes of identification.)
    12            Did I understand your earlier              12               - - - - -
    13   testimony correctly in that regard?                 13        Q. Is that recorded anywhere, how --
    14            MS. KEARSE: Object to form.                14   how you went about reaching those estimates in
    15        A. Yes. We tried to -- we tried to             15   terms of staff time?
    16   estimate the amount of time by staff position       16        A. The methodology was not recorded
    17   if they were involved in any way in the opiate      17   anywhere. I think that that was really on the
    18   epidemic, or in our Opiate Task Force, or any       18   basis of a conversation.
    19   of the activities related to those -- those         19        Q. When you say a "basis of a
    20   programs, we -- we tried to get an estimate of      20   conversation," do you mean a conversation with
    21   what their time would be.                           21   each individual staff member?
    22        Q. Got it. How did you go about                22        A. With -- with individual staff
    23   getting an estimate of what their time would        23   members or -- or with -- you know, we had staff
    24   have been spent on opiate epidemic-related          24   who were -- had left the board, so there were
    25   issues?                                             25   some individuals that we wanted to -- who had a
                                                  Page 199                                                  Page 201
     1       A. It was -- it was less than                    1   significant role in the past before they left
     2   scientific. It was pretty much a perception of       2   the board, so part of that was sort of my
     3   time that they spent. Because there's no --          3   guesstimate.
     4   because we don't track our staff by activities       4            MR. BOEHM: Okay. I've -- I've
     5   going back, or we don't ask staff to classify        5   marked the next document as an exhibit. It's
     6   their time depending -- you know, about which        6   now Exhibit 15 that we're at.
     7   program -- which -- which problem                    7            MS. KEARSE: Does this have a Bates
     8   they're addressing.                                  8   stamp number?
     9       Q. Okay. So given that it was less               9            MR. BOEHM: It does. Does yours
    10   than scientific, what -- what was the best you      10   not -- is yours not Bates-stamped?
    11   could do in terms of trying to reach an             11            MS. KEARSE: No, mine's not.
    12   estimate?                                           12            MR. BOEHM: I apologize. I'm not
    13           MS. KEARSE: Object to form.                 13   sure how that happened. But I will just say
    14       A. We would essentially take what               14   for the record that I -- for some reason my
    15   we -- what we estimated to be the percentage of     15   copy does have one, so I'll just say it for the
    16   their time spent on these activities and took       16   record.
    17   that as a percentage of their total costs.          17            THE WITNESS: Am I finished with
    18       Q. How did you reach a rough estimate           18   these?
    19   of their time spent on opioid epidemic-related      19            MR. BOEHM: Yeah.
    20   activities?                                         20            THE WITNESS: Okay.
    21       A. Based on their -- their attendance           21            MR. BOEHM: The document that's
    22   or their assignment to specific committees.         22   been marked as Exhibit 15 is SUMMIT_001952555.
    23   For example, we had some staff who were             23   I apologize. I don't know.
    24   assigned to staff certain Opiate Task Force         24            MS. KEARSE: I just want to make
    25   committees, individuals who were working with       25   sure it's not a clawback or anything like that.

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                                                   Page 202                                                Page 204
     1             Can -- can I just -- I --                   1            MS. KEARSE: To the extent there's
     2             MR. BOEHM: Yeah, take a minute              2   any conversations between the lawyers and the
     3   sure. It's -- there's nothing priv- -- but go         3   client, that may be privileged information, but
     4   ahead and take a look.                                4   the document itself speaks for itself.
     5             MS. KEARSE: Well, I want to make            5            MR. BOEHM: Okay.
     6   sure of that.                                         6        Q. Mr. Craig, you have in front of you
     7             You just indicated earlier that you         7   a document that's been marked as Exhibit 15 for
     8   didn't have any of these, so.                         8   purposes of your deposition, and you see that
     9             MR. BOEHM: It's not on your                 9   it's entitled "Report on Opiate Epidemic
    10   privilege log, if that's what you're wondering.      10   Impact"?
    11             MS. KEARSE: That's what I'm just           11        A. Yes.
    12   inquiring --                                         12        Q. Who prepared this document?
    13             MR. BOEHM: Yeah, it's not.                 13        A. This -- this report was -- was
    14             MS. KEARSE: -- so if you'll just           14   created by Jen Peivich with input from several
    15   give me one second --                                15   other staff at the ADM Board, including myself.
    16             MR. BOEHM: I'll represent that             16        Q. When was this document prepared?
    17   it's not.                                            17        A. That I'm not really sure of. I was
    18             MS. KEARSE: Okay.                          18   looking for a date that would give me some
    19             MR. BOEHM: Is that not good                19   clue, but I don't -- I don't remember
    20   enough?                                              20   specifically when.
    21             MS. KEARSE: Actually, it usually           21        Q. Okay. Do you know if it was in
    22   is, so -- but I just want to check.                  22   2018?
    23             MS. RENDON: Why don't we go off            23        A. It looks like from the -- it may
    24   the record while they do that?                       24   have been 2017 or 2018. I'm not sure.
    25             MR. BOEHM: Okay. Let's go off the          25        Q. Okay. Do you see the second
                                                   Page 203                                                Page 205
     1   record.                                          1        sentence of the document states, "This past
     2            THE VIDEOGRAPHER: Off the record, 2              decade has witnessed a tremendous increase in
     3   1:53.                                            3        opioid use disorder."
     4             (A recess was taken.)                  4                 Do you see that?
     5            THE VIDEOGRAPHER: On the record, 5                   A. Yes.
     6   2:06.                                            6            Q. And do you agree with that
     7            MS. KEARSE: And this is Anne            7        statement?
     8   Kearse. I'll just put on the record, this --     8            A. Yes.
     9   this is -- my understanding it's Exhibit No. --  9            Q. Does that statement refer to Summit
    10            MR. BOEHM: 15.                         10        County?
    11            MS. KEARSE: -- 15. We have Bates       11            A. Yes, it does.
    12   stamp No. 001952555, and we'll allow you to     12            Q. If you go to the next to last page
    13   question the witness about the document, but    13        of this document, do you see there's a chart
    14   it's not -- it's not a public document on that  14        that's titled "Opioid Use Disorder Treatment
    15   too, so.                                        15        Cost"?
    16            MR. BOEHM: Okay. But you're not        16            A. Yes.
    17   representing that it's privileged or work       17            Q. Okay. How did you go about
    18   product, right?                                 18        calculating the figures that are reflected in
    19            MS. KEARSE: I'm not -- this            19        this chart? It's on Bates 25557. That's the
    20   particular document, I'm not -- I know I        20        bottom -- oh, you don't have it, but just for
    21   suggested I was not, but this particular -- I'm 21        the record that's the Bates number.
    22   not waiving any privilege to the extent there's 22            A. Okay. The -- these are any funds
    23   another document. This document itself, we're 23          that came through our system that were used to
    24   not claiming privilege on this.                 24        provide treatment for individuals with an
    25            MR. BOEHM: Okay.                       25        opiate use disorder.
                                                                                            52 (Pages 202 - 205)
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                                                 Page 206                                                   Page 208
     1        Q. What was the methodology that you           1   calculation and computation that you did with
     2   used in terms of calculating these figures?         2   Ms. Peivich that we've been discussing earlier
     3            MS. KEARSE: Object to form.                3   today, or if this is a separate calculation
     4        A. These -- these costs were computed          4   that you all performed at the ADAMHS Board.
     5   based on claims data.                               5       A. This is the same information I was
     6        Q. Are these costs calculated                  6   referring to earlier.
     7   exclusively based on claims data, or were other     7       Q. And the chart here on the third
     8   data inputs included for purposes of this           8   page of Exhibit 15 seems to differentiate
     9   computation?                                        9   between what you've called local funds and
    10        A. This is strictly treatment costs,          10   other funds.
    11   so I believe it all came from claims data.         11           Do you see that?
    12        Q. Okay. Is the computation that is           12       A. Yes.
    13   reflected here on this chart in Exhibit 15 the     13       Q. How are you defining, quote, "local
    14   same computation that you referred to having       14   funds"?
    15   done with Ms. Peivich in connection with this      15       A. Local funds would be levy.
    16   lawsuit?                                           16       Q. The ADAMHS levy?
    17        A. I'm not sure what you mean by              17       A. Yes. And any other funds are
    18   "computation."                                     18   identified as any funds that were not levy.
    19        Q. Well, we've been talking about it          19       Q. And do you see that on this
    20   all day. I don't -- I'm not sure what else to      20   particular chart of Exhibit 15 the treatment
    21   say. We've been talking about a computation        21   costs that you all have calculated at the
    22   that you did with Ms. Peivich all day, right?      22   ADAMHS Board between 2008 and 2015 kind of goes
    23        A. What I -- what I -- so the --              23   up and down a little bit, but it's -- kind of
    24            MS. KEARSE: I'm going to object to        24   roughly is the same in 2008 as it is in 2015.
    25   that. I think he's entitled to ask a few -- if     25           Do you see that?
                                                 Page 207                                                   Page 209
     1   he has a question about what your terminology       1        A. Yes.
     2   means, he can ask it.                               2        Q. And then in 2016 it goes up by, it
     3           MR. BOEHM: I'm -- I'm sure you --           3   looks like, a million and a half dollars or so;
     4   you --                                              4   is that right?
     5       A. The information that we used to --           5        A. Yes.
     6   to identify those costs were claims that ran        6        Q. And then in 2017 it goes up another
     7   through the board.                                  7   half million or so?
     8       Q. You recall earlier today -- let me           8        A. Yes.
     9   just back up for a second --                        9        Q. What are the source of the funds
    10       A. Sure.                                       10   that were used for opioid use disorder
    11       Q. -- see if we can figure this out.           11   treatment costs on top -- in 2016 and 2017 on
    12       A. Okay.                                       12   top of the costs that -- or expenditures that
    13       Q. Earlier today you described a               13   you were making in previous years?
    14   calculation or a computation that you performed    14            Did my question make sense to you?
    15   together with Ms. Peivich in connection with       15        A. No, it didn't. I'm sorry.
    16   the claims in the lawsuit. And you said you        16        Q. I'm not sure it made sense to me.
    17   didn't know what the total number was, and you     17            MS. KEARSE: And I didn't even have
    18   didn't have the information with you today --      18   to object.
    19       A. Right.                                      19            MR. BOEHM: That was -- that was an
    20       Q. -- to be able to describe the               20   agreed-upon objection.
    21   methodologies. Do you remember that?               21        Q. Okay. But so my basic point is you
    22       A. Yes.                                        22   see that there's a difference between -- based
    23       Q. Okay. My question to you is                 23   on your computations -- the total amount of
    24   whether or not the information reflected here      24   costs for opiate use disorder treatment in 2015
    25   on the third page of Exhibit 15 is the same        25   versus 2016 --
                                                                                            53 (Pages 206 - 209)
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                                                 Page 210                                                Page 212
     1      A.      Yes.                                     1   Interval Brotherhood Home and -- and our detox
     2      Q.      -- right?                                2   program at -- that -- that Oriana House
     3            What was the source of the                 3   operates, we expanded the number of beds that
     4   additional funds expended on opioid use             4   were available there. Those beds and those
     5   disorder treatment between 2015 versus 2016?        5   services are not Medicaid eligible, therefore
     6   Is it the levy, or is it some other source?         6   would have a more significant draw on our local
     7        A. So I'm still trying to make sure I          7   funds.
     8   understand your question.                           8        Q. Okay. And in order to direct
     9        Q. Or is it from the surplus? I guess          9   resources toward opioid use disorder treatment
    10   that's another possibility.                        10   costs in 2016 and 2017, did you take funds from
    11            MS. KEARSE: Object to form. Just          11   other services in order to pay for the
    12   not knowing what the --                            12   additional opioid use disorder treatment costs?
    13        A. In -- in 2016 and 2017 we were             13        A. We did not, not in -- not in -- in
    14   building out a lot of capacity for treatment       14   total. We may have in part. But again, this
    15   services, so there could be -- so some of this     15   is the -- this -- these numbers are computed as
    16   may have been attributed to the fact that there    16   a result of claims, so agencies who serviced
    17   was additional capacity to serve more              17   people with substance use disorders fund --
    18   individuals; therefore, our expenses went up,      18   funded -- billed us for whatever diagnosis they
    19   and those expenses were -- were covered either     19   were treating. So this is reflective of more
    20   by local funds or other funds.                     20   people with substance use disorders, with
    21        Q. Did you -- for purposes of spending        21   opiate-related disorders coming through our
    22   more money on opiate use -- opiate -- opioid --    22   system.
    23   sorry.                                             23        Q. And were people with substance
    24            For purposes of spending more money       24   abuse disorders for other substances, was that
    25   on opioid use disorder treatment, did you pull     25   number going down as the number for -- of
                                                 Page 211                                                Page 213
     1   funds from areas -- other areas existing in         1   individuals with opioid use disorders went up?
     2   previous budgets, or did you find some              2        A. I don't know if the incidences of
     3   additional kind of extraordinary funds above        3   those disorders were going down, but the
     4   what you ordinarily would have for purposes of      4   opportunity to serve those individuals may have
     5   those additional expenditures?                      5   been diminished because the capacity was
     6           MS. KEARSE: Object to form.                 6   being -- the demand for services was being --
     7       A. This reflects -- this reflects the           7   was being -- was more focused on -- was by
     8   treatment costs for people with opiate use          8   individuals with opiate use disorders.
     9   disorder. So if in 2015 I served more people        9        Q. Okay. So with respect to the
    10   with alcohol use disorders, and in '16 I served    10   difference between 2008 -- and I think that
    11   fewer people with alcohol use disorders, it's      11   it's supposed to say 2009 on this chart, but
    12   possible that some of those funds would have       12   that's probably a typo; is that right?
    13   gone towards opiate use disorder.                  13            You see on the chart it says 2006,
    14       Q. Right.                                      14   2007, then there's an increase in 2008?
    15       A. So -- so it could be the same funds         15        A. That would be reasonable.
    16   that we had already allocated that were just       16        Q. Do you see that?
    17   used by people with different diseases. But        17        A. Yes.
    18   there were -- there were also some additional      18        Q. And then there was an increase in
    19   investments in building out capacity for           19   2009?
    20   services.                                          20        A. Uh-huh.
    21       Q. Okay. So I got the first part of            21        Q. Between 2008 and 2009, how is --
    22   your answer. The second part where you             22   how did the ADAMHS Board go about covering the
    23   referred to building out additional capacity,      23   additional costs for opioid use disorder
    24   what do you mean by that?                          24   treatment?
    25       A. Our -- our agencies, in particular          25        A. Well, there are two ways that we

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                                                   Page 214                                                 Page 216
     1   would be able to do that. One is by allocating        1           When you talk about aggregate data,
     2   more funds towards agencies to build more             2   what do you mean by that?
     3   capacity, and the other way for us to do that         3       A. We can run reports with specific
     4   is -- is to serve more people with that               4   queries that would identify individuals that
     5   disorder.                                             5   carried a specific diagnosis that would give
     6        Q. Has the ADAMHS Board ever asked the           6   them that information.
     7   citizens of Summit County to pass a levy that         7       Q. Where is the aggregation of the
     8   would generate more funds than it already does        8   data stored right now?
     9   in connection with the opioid epidemic in             9       A. Our -- our claims -- our claims
    10   Summit County?                                       10   system serves also as a -- as a database, and
    11        A. Your question is not clear to me.            11   we run reports against that.
    12        Q. Let me try it again.                         12       Q. Okay. Going back just for a moment
    13        A. Okay.                                        13   to the ADAMHS levy that we discussed, you
    14        Q. Have you or anybody else at the              14   indicated you've not requested that the ADAMHS
    15   ADAMHS Board ever proposed to the public             15   levy be adjusted in order to specifically
    16   overall or to other people within county             16   address the opioid epidemic in the county,
    17   government that the ADAMHS levy that you use in      17   right?
    18   large part to cover your expenditures should be      18       A. That's correct.
    19   increased in order to generate additional funds      19       Q. So the amount of funds available to
    20   available to you to spend specifically on the        20   the ADAMHS Board, setting aside how the funds
    21   opioid epidemic in the county?                       21   get spent, would be the same regardless of the
    22             MS. KEARSE: Object to form.                22   existence or non-existence of the opioid
    23        A. We did not. We did not.                      23   epidemic, correct?
    24        Q. Have you ever done that?                     24           MS. KEARSE: Object to form.
    25        A. No, we have never done that.                 25       A. So the last time we had an
                                                   Page 215                                                 Page 217
     1       Q. With respect to the claims data                1   opportunity to go to the taxpayers and ask for
     2   that you referred to, do you know if the ADAMHS       2   more money was in 2013, which was the year
     3   county claims data that you and Ms. Peivich           3   before Medicaid expansion was scheduled to
     4   have used to perform these computations have          4   occur. So, no, we did not ask the county
     5   been provided to lawyers in the litigation?           5   taxpayers for additional funds because we
     6   They've been collected?                               6   already knew that with Medicaid expansion, that
     7       A. We've provided information to the              7   there would be money freed up in order for us
     8   attorneys, yes.                                       8   to direct those funds towards system
     9       Q. Well, you said you've provided                 9   priorities.
    10   information --                                       10       Q. Great. That's helpful. Thank you.
    11       A. Yes.                                          11            MR. BOEHM: Mr. Court Reporter,
    12       Q. -- but I -- I didn't ask you                  12   would you mind just going back up to my
    13   generically about information.                       13   question?
    14       A. Okay.                                         14       Q. I -- I -- I would just like you to
    15       Q. My question is specific to the                15   hear my question again one more time --
    16   claims data. Have you provided the specific          16       A. Okay.
    17   underlying claims data that inform your              17       Q. -- the last question --
    18   computations here on the third page of Exhibit       18       A. Sure.
    19   15 to the lawyers in the case?                       19       Q. -- and see if that helps you.
    20       A. I don't know specifically. I know             20            Okay. Notwithstanding the
    21   that we -- I know that we provided information       21   circumstances of the 2003 -- I'm sorry -- 2013
    22   that was de-identified and -- and some               22   levy vote, is it true that the ADAMHS levy
    23   aggregate data, but I don't believe that we          23   would generate the same amount of revenue for
    24   provided actual claims.                              24   the ADAMHS Board in Summit County as it's
    25       Q. Not the actual claims data.                   25   currently constituted, regardless of the
                                                                                             55 (Pages 214 - 217)
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                                                   Page 218                                                   Page 220
     1   existence or the non-existence of the opioid          1           MS. KEARSE: I just don't want you
     2   epidemic?                                             2   to guess. I just don't want guessing.
     3            MS. KEARSE: Object to form.                  3           Go ahead.
     4       Q. Does my question make sense to you?            4       Q. Have you read the report that the
     5   I'm happy to try again if that doesn't make           5   governor's Ohio Prescription Drug Abuse Task
     6   sense.                                                6   Force prepared in 2010?
     7       A. You might want to try one more                 7       A. I may have looked at it. I don't
     8   time, because I think I know what you're              8   know that I've read it through completely.
     9   asking, but I'm not sure.                             9       Q. You indicated earlier today that
    10       Q. I think you probably do, too. I'm             10   when you present to the community and to other
    11   just trying to make sure I understand the way        11   individuals about the opioid epidemic in Summit
    12   the levy works.                                      12   County, it's important for you to describe what
    13            So the levy -- the ADAMHS levy              13   you believe to be the contributing factors to
    14   funds that are available to the ADAMHS Board to      14   the epidemic, correct?
    15   spend for whatever purposes you decide to spend      15       A. Yes.
    16   them on have not changed in terms of the total       16       Q. Do you recall that the governor's
    17   amount of the revenue generated by that levy         17   task force on Ohio prescription drug abuse
    18   because of the existence of an opioid epidemic       18   included a section on what that task force
    19   in the county; is that right?                        19   concluded were the causes of the epidemic in
    20            MS. KEARSE: Object to form.                 20   Ohio?
    21       A. So the amount of money collected              21           MS. KEARSE: Object to form.
    22   through our levy has changed, but not as a           22       A. I -- I could not say that I -- I
    23   result of the opiate epidemic.                       23   know that.
    24       Q. Okay. And when you say it has                 24       Q. Do you remember when you last
    25   changed, you mean because of the Medicaid            25   looked at the Ohio Prescription Drug Abuse Task
                                                   Page 219                                                   Page 221
     1   expansion?                                            1   Force report from October 2010?
     2       A. Because there are certain taxes                2            MS. KEARSE: Just first is --
     3   that were collected that are no longer being          3   Counsel, I would ask that you show the exhibit
     4   collected because of some changes that were           4   to him so --
     5   made in the legislature. Tangible personal            5            MR. BOEHM: I'm hand- --
     6   property tax, that sort of thing.                     6            MS. KEARSE: Okay.
     7       Q. Got it.                                        7            MR. BOEHM: I think you saw me
     8            And that's independent of the                8   handing it to him as you were saying that.
     9   existence of an opioid epidemic in the county,        9            MS. KEARSE: Okay. Well, you
    10   right?                                               10   usually hand it before if you're going to ask
    11            MS. KEARSE: Object to form.                 11   him if he's ever saw this before.
    12       A. That's correct.                               12            MR. BOEHM: I think I had a
    13       Q. Okay. Let's move along to the next            13   question pending, too.
    14   document.                                            14        Q. Do you remember when you last
    15            Do you recall that in 2010 Governor         15   looked at the Ohio Prescription Drug Abuse Task
    16   Ted Strickland formed an Ohio Prescription Drug      16   Force report from October 2010?
    17   Abuse Task Force?                                    17            MS. KEARSE: Object to form. Lack
    18       A. Yes. I'm -- I'm familiar that the             18   of foundation.
    19   governor formed the Opiate Task Force. I             19        A. As -- as I'm looking at this now, I
    20   don't -- I'm not sure that I could stipulate to      20   don't have a recollection of having reviewed
    21   the date, but I certainly accept that.               21   this.
    22       Q. Do you recall that --                         22        Q. You don't know if you've ever
    23            MS. KEARSE: Object to form.                 23   looked at this?
    24            MR. BOEHM: Are you objecting to             24        A. I don't know that I've ever looked
    25   the form of the answer?                              25   at this.

                                                                                              56 (Pages 218 - 221)
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                                                    Page 222                                                Page 224
     1       Q. Doesn't ring a bell?                            1               - - - - -
     2       A. I just don't recall.                            2        Q. All right. I'm going to direct
     3       Q. But you indicated that you did know             3   your attention to a section of this report
     4   that Governor Strickland had in fact formed an         4   entitled "How Did This Become an Epidemic?"
     5   Ohio Prescription Drug Abuse Task Force, right?        5   It's on page 21.
     6       A. Yes, I do. I was aware of that.                 6            Do you see in the bottom half of
     7       Q. Did you ever take interest in what              7   page 21 of this report, which is now Exhibit 16
     8   the conclusions of the task force were?                8   for your deposition, this graphic --
     9            MS. KEARSE: Object to form.                   9        A. Yes.
    10       A. Did I ever -- I'm sorry. Could you             10        Q. -- that has a large circle in the
    11   repeat that?                                          11   middle. It says "Epidemic" --
    12       Q. Sure. Did you ever take interest               12        A. Yes.
    13   in what the conclusions of the Ohio                   13        Q. -- right?
    14   Prescription Drug Abuse Task Force were?              14            And then it has various boxes with
    15       A. I don't -- I -- like I said, I                 15   inputs into the epidemic.
    16   don't know that I've ever seen this document or       16        A. Yes.
    17   read this document, so I don't know.                  17        Q. Do you see that?
    18       Q. But that's not my question, just               18            Have you seen this graphic or
    19   to -- just to be clear. And I'm not arguing --        19   similar graphics before?
    20       A. Okay.                                          20        A. This is the graphic that we use in
    21       Q. -- with you, I just want to make               21   our literature and in our -- our presentations
    22   sure you understand my question.                      22   through the Opiate Task Force.
    23            You indicated you knew that this             23        Q. And when you say "we," you mean the
    24   task force had been formed --                         24   Summit County ADAMHS Board?
    25       A. Yes.                                           25        A. The Summit County Opiate Task
                                                    Page 223                                                Page 225
     1       Q.   -- right?                                     1   Force.
     2           And so my question to you is simply            2       Q. And this is something that you have
     3   whether or not you ever took an interest in            3   used yourself in your own presentations about
     4   what the conclusions of this task force ended          4   the Summit County opioid epidemic, right?
     5   up being.                                              5       A. Yes.
     6           MS. KEARSE: Object to form.                    6       Q. Did you know that you were using a
     7       A. I wasn't aware that there were                  7   graphic that came from the October 2010 report
     8   recommendations that came out of this, so I            8   from the Ohio Prescription Drug Abuse Task
     9   don't know that I took an interest in them,            9   Force?
    10   because I didn't -- wasn't aware of anything          10       A. I was not aware of the source.
    11   that I needed to take an interest in.                 11       Q. For those presentations, do you
    12       Q. Is it fair to say that before this             12   prepare your own slides?
    13   moment you didn't know that the Ohio                  13       A. I --
    14   Prescription Drug Abuse Task Force had in fact        14       Q. My question should be a little bit
    15   issued a report about the prescription opioid         15   more clear.
    16   epidemic in Ohio back in October 2010?                16           For the presentations that you have
    17       A. I'm not -- I -- I don't have a                 17   referred to making to the community and to
    18   recollection of this.                                 18   others in Summit County, are those slide decks
    19              - - - - -                                  19   that you prepare yourself, or does somebody do
    20           (Thereupon, Deposition Exhibit 16,            20   that on your behalf?
    21           10/1/2010 Document Titled "Ohio               21       A. Both. Typically, our Opiate Task
    22           Prescription Drug Abuse Task Force:           22   Force, their speakers bureau has created a
    23           Final Report Task Force                       23   PowerPoint deck, and I customize that for my
    24           Recommendations, was marked for               24   presentations.
    25           purposes of identification.)                  25       Q. Okay. So I know you're familiar
                                                                                             57 (Pages 222 - 225)
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                                                  Page 226                                                 Page 228
     1   with this graphic because it's in your own     1         epidemic in Summit County?
     2   presentations, but let's just look at it       2             A. Well, I know even from personal
     3   together quickly, if we could.                 3         experience when I go to visit my doctor's
     4           You see it lists three reasons or      4         office, I'm asked to rate my pain on -- on the
     5   causes for why there's an opioid epidemic. Do  5         basis of a scale of 1 to 10.
     6   you see that?                                  6                  I know that I'm now -- I'm now
     7       A. Yes.                                    7         asked -- or I'm aware that patients are asked,
     8       Q. It says, "Changes in clinical pain      8         "How would you rate the management of your
     9   management, aggressive marketing, growing use 9          pain?" in some of the patient satisfaction
    10   of prescription opioids, direct-to-consumer   10         surveys.
    11   marketing, diversion, and self-medicating     11                  I know that the hospitals and
    12   habits of baby boomers."                      12         medical practitioners that I interact with have
    13           Do you see that?                      13         reported to me that their -- they have -- that
    14       A. I see that.                            14         the ratings -- sometimes the ratings of the
    15       Q. Do you agree with the causes of the    15         hospitals are contingent on their prescribing
    16   opioid abuse epidemic stated in this graphic, 16         practices.
    17   this section, "How Did This Become an         17             Q. How do you believe those changes in
    18   Epidemic" --                                  18         clinical pain -- well, let me actually back up
    19           MS. KEARSE: Object to form.           19         one step. How -- in what way are those
    20       Q. -- of the Ohio Prescription Drug       20         reflective of changes in clinical pain
    21   Abuse Task Force final report from October 1, 21         management?
    22   2010, insofar as the epidemic has impacted    22             A. I think -- I think that there was
    23   Summit County?                                23         less attention paid to -- to pain in -- in the
    24           MS. KEARSE: Object to form.           24         past. That many times -- and I'm also aware
    25   Misstates what the document states.           25         of -- of some studies that have been published
                                                  Page 227                                                 Page 229
     1        A. You -- you went a couple different           1   that have indicated that pain was under --
     2   places with that.                                    2   undertreated in emergency departments and in
     3           I can respond by saying I -- I               3   other medical settings.
     4   believe that each of these are factors in -- in      4       Q. Do you disagree with the
     5   why we have the problem we have today.               5   conclusions of health care professionals and
     6        Q. You agree that all of the factors            6   scientists who have concluded that pain was
     7   listed here in this graphic are contributing         7   undertreated?
     8   factors in how an opioid epidemic occurred in        8           MS. KEARSE: Object to form.
     9   Ohio, right?                                         9       A. I don't -- I don't really know.
    10        A. Yes.                                        10   Again, these are -- these are studies and
    11        Q. And do you believe that those are           11   information that I've run across, and -- and
    12   factors that explain the opioid epidemic in         12   I have no reason to doubt them.
    13   Summit County?                                      13       Q. In what way do you believe that the
    14        A. I believe that these are all                14   changes in clinical pain management, as you've
    15   factors that contributed to the -- the problems     15   described them in the form of pain ratings and
    16   that we faced in Summit County.                     16   patient satisfaction surveys and so on, have
    17        Q. Okay. I want to just very quickly           17   contributed to the opioid epidemic in Summit
    18   go through each one to make sure I understand       18   County?
    19   your view on them.                                  19           In other words, you've described
    20           The first one, if you turn to page          20   some changes, and why do you think that those
    21   22, is "Changes in clinical pain management."       21   have, at least in part, caused the epidemic
    22           Do you see that?                            22   that we're discussing?
    23        A. Yes.                                        23           MS. KEARSE: Object to form.
    24        Q. In what way do you believe changes          24       A. I think -- I think they've
    25   in clinical pain management caused an opioid        25   contributed to the epidemic in the sense that
                                                                                            58 (Pages 226 - 229)
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                                                  Page 230                                               Page 232
     1   when -- when doctors prescribe more opiates          1           Do you see that?
     2   than they have in the past, that -- and in           2        A. I do see that.
     3   particular to -- to patients, that -- that           3        Q. Do you agree that the growing use
     4   there's more -- there are more medications out       4   of prescription opioids has been a contributing
     5   in the community. And individuals who go             5   factor to the opioid epidemic in Summit County?
     6   through -- who -- who tend -- who visit their        6        A. Yes, I do.
     7   doctors and they bring home a prescription and       7        Q. Can you describe in what way you
     8   they don't finish it, those meds are left            8   believe that the growing use of prescription
     9   subject to diversion.                                9   opioids has contributed to the opioid epidemic
    10       Q. Okay. Yeah. We're going to come              10   in Summit County?
    11   back to that point.                                 11        A. I believe that -- that when we look
    12           The next thing on the lists is              12   at the data that comes from the Ohio
    13   "Aggressive marketing." Do you see that?            13   prescription reporting system, that you look at
    14       A. I do see that.                               14   the sheer number of opiates that are prescribed
    15       Q. In what way do you believe                   15   per capita is -- is stunning -- is stunning,
    16   aggressive marketing of opioids by                  16   and that to a reasonable person, you can look
    17   pharmaceutical companies has contributed to the     17   at those numbers and really wonder how could
    18   opioid epidemic in Summit County?                   18   anybody use that number of medications.
    19       A. I think in general, my -- my                 19        Q. Okay. And in what way do you
    20   experience has been that -- that in our -- in       20   believe that the growth in use of prescription
    21   our physician practices within our agencies,        21   opioids has contributed specifically to the
    22   even going back to my days at Community Support     22   opioid epidemic in Summit County?
    23   Services, that the pharmaceutical sales             23        A. Because there were oppor- --
    24   representatives were typically present and          24   because -- because there were opportunities for
    25   sometimes very aggressive in their -- in the        25   people to get their hands on medications that
                                                  Page 231                                               Page 233
     1   promotion of medications; therefore, as I -- as  1       either weren't prescribed for them, or that
     2   I hear more and more about this, I -- I would    2       because those medications were -- were
     3   tend to believe that.                            3       potentially overprescribed to individuals, that
     4        Q. Do you know of any specific              4       there was an opportunity for some level of
     5   instances where a representative of a            5       abuse that led to addiction.
     6   pharmaceutical company that makes prescription 6                  And also that -- that when we
     7   opioids was overly aggressive with a health      7       started to see a reduction in the availability
     8   care provider in Summit County?                  8       of prescription pain medications, that we saw
     9        A. No.                                      9       the illicit drug business pick up. And that's
    10        Q. Are you aware of any instances          10       when we started to see more and more of the
    11   where a representative of a pharmaceutical      11       fatal overdoses.
    12   company that makes prescription opioids         12            Q. I think in part you might be
    13   provided false information to a health --       13       talking also about diversion. Is that fair?
    14   health care provider in Summit County?          14            A. Sure.
    15            MS. KEARSE: Object to form.            15            Q. Okay. And that's also on --
    16        A. I'm not aware of any.                   16            A. It's all connec- -- it's all
    17        Q. Are you aware of any instance of a      17       connected.
    18   representative of a pharmaceutical company who 18             Q. Yeah. That's also on this list. I
    19   makes prescription opioids giving information 19         was just about to make that point.
    20   to a health care provider that is inconsistent  20                Do you see the "Diversion" -- if we
    21   with the FDA-approved package insert for that 21         skip over "Direct-to-consumer," we'll come back
    22   medication in Summit County?                    22       to it.
    23        A. I am not aware of any instances.        23                If you go to page 24, "Diversion"
    24        Q. All right. The third thing on the       24       is on the list, and you started to talk about
    25   list is "Growing use of prescription opioids."  25       that, so let's do that next. Fair?
                                                                                          59 (Pages 230 - 233)
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                                                    Page 234                                                Page 236
     1       A. Sure.                                           1       Q. And -- and is it your understanding
     2       Q. In what way do you believe that                 2   that all of the forms of diversion that you
     3   diversion of prescription opioids has impacted         3   identified here today are forms of diversion
     4   the opioid epidemic in Summit County?                  4   that have occurred in Summit County?
     5       A. I know that there have been                     5       A. I think that's a reasonable...
     6   newspaper stories and -- and others where              6       Q. Okay. We skipped over one. I just
     7   individuals are picked up by police officers           7   want to quickly go back to it. It's on page
     8   and found with medications that they could             8   23, "Direct-to-consumer marketing of
     9   not -- that they couldn't demonstrate belonged         9   pharmaceuticals."
    10   to them.                                              10            Do you see that?
    11            There were -- there are lots of              11       A. I do see that.
    12   situations, and again anecdotally, where              12       Q. There's a reference to a
    13   stories that we've -- that we've been -- that         13   philosophical shift, right? And I think that
    14   have been shared with us about people breaking        14   has to do with the direct-to-consumer piece of
    15   into homes, into nursing homes stealing               15   it?
    16   medications, employees of hospitals and other         16       A. Yes.
    17   places.                                               17       Q. Okay. Can you explain to -- do you
    18            And there was a big -- there was a           18   agree that direct-to-consumer marketing of
    19   big effort on the part of our task force to           19   pharmaceuticals has in some way contributed to
    20   make sure that we took these extra medications        20   the opioid epidemic in Summit County?
    21   out of the homes of these individuals,                21       A. Yes, I do.
    22   particularly people experiencing end-of-life          22       Q. How so?
    23   issues and things like that.                          23       A. I think any time that we encourage
    24            I'm also aware of people sharing             24   people to ask their doctors or -- or sort of
    25   medications in social settings. You know,             25   practice medicine themselves by asking for a
                                                    Page 235                                                Page 237
     1   somebody has a headache, and somebody has an           1   drug by name, it's -- it puts pressure on the
     2   opiate medication and -- and offers one to             2   physicians. It -- it creates an expectation
     3   somebody. That's not unusual to happen. I've           3   that -- that again puts pressure on the medical
     4   witnessed it myself.                                   4   system to meet that person's needs.
     5            So all of those things, I think,              5       Q. Are you aware of any specific
     6   have gone towards contributing to the problem.         6   instances where a Summit County health care
     7       Q. Of all of the forms of diversion                7   provider has prescribed an opioid medication to
     8   that you just identified, are they all things          8   a patient for something other than a legitimate
     9   that have happened in Summit County and                9   medical need?
    10   contributed to the opioid epidemic here?              10            MS. KEARSE: Object to form.
    11       A. I have not witnessed all of those              11       A. A specific instance of -- I know
    12   things in Summit County, so I can -- I have no        12   that there have been pill mills that have been
    13   doubt that those things have all happened in          13   shut down in Summit County, several.
    14   Summit County.                                        14       Q. What are the -- can you describe
    15       Q. Yeah. Right. And -- and we talked              15   your understanding of what a pill mill is?
    16   earlier today about how as head of the ADAMHS         16       A. These are individuals who've been
    17   Board you considered one of your duties and           17   investigated and arrested because they --
    18   responsibilities to understand the causes of          18   because they were alleged to have sold large
    19   this health epidemic that the county is facing,       19   quantities or prescribed large quantities of
    20   right?                                                20   opiate medications.
    21            MS. KEARSE: Object to form.                  21       Q. Yeah. That's illegal, right?
    22       A. Yes, I have.                                   22       A. That is illegal.
    23       Q. And so whether you've seen it or               23       Q. And when you were talking about
    24   not, you've looked into the causes, right?            24   diversion of opioids, which is a control- --
    25       A. Yes.                                           25   which are controlled substances, that's also
                                                                                             60 (Pages 234 - 237)
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                                                  Page 238                                                   Page 240
     1   illegal, right?                                      1   enculturate our population with a sense that if
     2       A. Yes --                                        2   I have a problem, there's got to be a pill that
     3            MS. KEARSE: Object to form.                 3   addresses it, and that we should not experience
     4       A. Yes, it is.                                   4   pain of any sort.
     5       Q. You indicated that you personally             5            And I think that as we look more
     6   had seen somebody offer a prescription opioid        6   and more at the -- all these different causes,
     7   that was not prescribed to the person to whom        7   all of that's created a -- a sense from
     8   it was being offered. What was the                   8   individuals in our communities that they should
     9   circumstance that you're describing?                 9   just seek medications and medications will fix
    10       A. Sitting in the bleachers watching a          10   it.
    11   sporting event, conversation -- very casual         11       Q. So you're kind of referring to,
    12   conversation between two other parents.             12   like, a cultural mindset, if I understand you
    13       Q. And what did you hear?                       13   correctly. Is that fair?
    14       A. Essentially, one individual talking          14       A. That's what I said, yeah.
    15   about a headache, and another person -- or some     15       Q. And is it your view that that
    16   sort of ache. And I don't -- I don't recall         16   cultural mindset, at least to some extent,
    17   the exact scenario, but, essentially, it was --     17   accounts for the opioid epidemic here in Summit
    18   what struck me was the fact that somebody           18   County?
    19   wanted to take medication out of their purse        19       A. It's a contributing factor.
    20   that was prescribed for them and offer it to        20       Q. Very quickly going back to
    21   someone else.                                       21   direct-to-consumer marketing of pharmaceuticals
    22       Q. Do you know if the medication that           22   that's described in greater depth on page 23,
    23   was being discussed in that circumstance was a      23   are you aware of any particular
    24   prescription opioid medication?                     24   direct-to-consumer marketing of prescription
    25       A. I believe it was, yes.                       25   opioids that has occurred in Summit County?
                                                  Page 239                                                   Page 241
     1       Q. You heard them identify the                   1       A. I'm not -- no. Not -- not -- I'm
     2   medicine by name?                                    2   not recalling any.
     3       A. Yes.                                          3       Q. When -- when you -- in your
     4       Q. Did you do anything?                          4   presentations and discussions with people about
     5       A. I didn't do a citizen's arrest or             5   the causes of the opioid epidemic, when you
     6   anything, no.                                        6   discuss direct-to-consumer marketing of
     7       Q. Or even make any remark?                      7   pharmaceuticals, do you mean to include
     8       A. I didn't report them. I didn't                8   direct-to-consumer marketing of pharmaceuticals
     9   report them, and I did not -- no. No, I did          9   overall, or do you mean direct-to-consumer
    10   not.                                                10   marketing specifically of prescription opioids?
    11       Q. Okay. The one thing that doesn't             11           MS. KEARSE: Object to form.
    12   get separately listed in this section but is on     12       A. I'm speaking in a general sense. I
    13   that chart --                                       13   think that the direct-to-consumer marketing of
    14       A. Uh-huh.                                      14   pharmaceuticals in and of itself creates an
    15       Q. -- that chart is "Self-medicating            15   expectation, irrespective of the -- the drug
    16   habits of baby boomers."                            16   that's being marketed, that individuals should
    17            Do you see that?                           17   be asking for their -- the drugs that they want
    18       A. Yes.                                         18   by name.
    19       Q. Do you know what that refers to?             19       Q. Okay. So we've gone through the
    20       A. Well, I think it -- like you said            20   factors that are identified here in this report
    21   before, all of this sort of works together, so      21   in the section entitled "How Did This Become an
    22   when you -- when you have direct-to-market --       22   Epidemic?" And I want to ask you, in your view
    23   direct-to-consumer marketing, you create an         23   are there any factors that have contributed to
    24   expectation that there's a pill for everything      24   the opioid epidemic in Summit County, in your
    25   that ills you. And so I think that we begin to      25   opinion, that are not identified in this

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                                                   Page 242                                                 Page 244
     1   section of the October 1, 2010, report from the       1   rate patients' satisfaction and attach that to
     2   Ohio Prescription Drug Abuse Task Force?              2   their -- attach that to the reimbursements the
     3            MS. KEARSE: Object to the form.              3   hospitals receive. Yes, I'm aware of that.
     4       A. Are there other factors that are               4        Q. Can you tell us in what way those
     5   not listed here? Sure.                                5   accrediting guidelines or prescribing
     6       Q. What -- what are the other factors,            6   guidelines from medical organizations or
     7   in your view, not identified in the section of        7   accrediting bodies have, in your view,
     8   the report that we've been discussing that have       8   contributed to the opioid epidemic in Summit
     9   contributed to the opioid epidemic in Summit          9   County?
    10   County?                                              10            MS. KEARSE: Object to form.
    11       A. I think that when -- like I said              11        A. I think that physicians feel
    12   before, when some of the pill mills were shut        12   pressured by their health care organizations to
    13   down, when some of the pain management clinics       13   be more liberal with the number of opiates that
    14   lose a physician, often people are left to seek      14   they prescribe as a result of pressures that
    15   substances to avoid withdrawal and will often        15   they feel from the certification standards.
    16   go to street drugs.                                  16        Q. Have you ever heard of the concept
    17       Q. Okay. Do you see that as a factor             17   of treating pain as the fifth vital sign?
    18   that's separate and apart from the ones we've        18        A. Yes, I have.
    19   already been discussing?                             19        Q. Do you know if any medical
    20       A. I don't know what you mean by                 20   organizations or accrediting bodies have
    21   "separate and apart." I think they're --             21   endorsed the concept of treating pain as a
    22   they're -- those are other contributing              22   fifth vital sign?
    23   factors.                                             23        A. I'm not aware of the specific --
    24       Q. Okay. So your understanding is                24   I've -- the -- the term is very familiar to me.
    25   that one contributing factor to the opioid           25   I know that it was something that medical
                                                   Page 243                                                 Page 245
     1   epidemic in Summit County is that some people         1   schools were promoting and -- or -- or
     2   move from one kind of opioid to a different           2   teaching, I guess would be the better way of
     3   kind of opioid?                                       3   putting it, but I don't know the origin of
     4       A. Yes. When -- once they're -- once              4   that.
     5   they're dependent on a prescription pain              5       Q. Do you know what it means to treat
     6   medication, for example, and that prescription        6   pain as the fifth vital sign, based on the
     7   pain medication is not available, they build up       7   research and investigation you've done to try
     8   a tolerance and they need more and more, that         8   and understand the epidemic?
     9   oftentimes they will gravitate towards                9       A. I know what the intent is. I don't
    10   something that's a little more potent, and           10   know what the meaning is. Because when you
    11   often that is street medications -- street --        11   look at the vital signs, the absence of pain is
    12   street drugs, I mean.                                12   not necessarily, in my mind, a vital sign,
    13       Q. Okay. Are there any other factors             13   or -- or pain itself is not necessarily a vital
    14   that we've not discussed that in your view have      14   sign. To hurt means that you live. I don't
    15   contributed to the opioid epidemic in Summit         15   know that that's the case, but.
    16   County?                                              16       Q. Okay. You -- you indicated that
    17       A. None -- none that occur to me right           17   the Joint Commission had adopted treating pain
    18   off the top of my head.                              18   as a fifth vital sign? Did I hear you right?
    19       Q. Okay. Do you believe that any                 19       A. Yes.
    20   medical organizations or accrediting bodies are      20       Q. And do you know that the Veterans
    21   responsible for the opioid epidemic in Summit        21   Administration also adopted and promoted the
    22   County?                                              22   treatment of pain as, quote, "the fifth vital
    23       A. So you're -- you're referring to              23   sign"?
    24   JCHO or some of the other standard --                24            MS. KEARSE: Object to form.
    25   certification standards for hospitals that will      25       A. I don't -- I don't know the details
                                                                                             62 (Pages 242 - 245)
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                                                  Page 246                                                  Page 248
     1   of that. I know that the -- the study came out       1   recommendation?
     2   of the Kaiser Foundation, and I believe the --       2            MS. KEARSE: Object to form.
     3   the VA had a significant role in that as well.       3        A. I don't know. I've not seen the
     4   So it doesn't surprise me that the VA also has       4   study.
     5   that standard.                                       5        Q. Okay. Let me ask you this
     6       Q. For those who may not be entirely             6   question.
     7   familiar with the Joint Commission, can you          7            Do -- do you have a view as to
     8   describe your understanding of what that entity      8   whether or not the health care professionals at
     9   is and what it does?                                 9   the Joint Commission, the Veterans
    10       A. The Joint Commission looks at all            10   Administration, or other entities that adopted
    11   aspects of health care and establishes specific     11   the concept of treating pain as the fifth vital
    12   standards of care and treatment. Everything         12   sign were exercising what at the time was their
    13   from the environment of care all the way            13   best medical judgment?
    14   through the practices of the individuals.           14            MS. KEARSE: Object to form.
    15       Q. Is it your view that the Joint               15        A. Do I believe that they were
    16   Commissions and the Veteran Administrations and     16   exercising what is their best medical judgment?
    17   potentially other organizations' adoption of        17        Q. At that time.
    18   treating pain as the fifth vital sign has           18        A. I don't -- I don't know what
    19   contributed to the opioid epidemic in Summit        19   their -- I don't know what their objective was.
    20   County?                                             20   I think that -- that I can't -- I -- I can't --
    21           MS. KEARSE: Object to form.                 21   I can't assign their motives.
    22       A. Yes, I would say that they have --           22        Q. Do you have any reason to believe
    23   that they've made a contribution to the problem     23   that the health care professionals at the Joint
    24   we have today.                                      24   Commission, the Veterans Administration, or any
    25       Q. In what way?                                 25   other medical organization that adopted and
                                                  Page 247                                                  Page 249
     1       A. That, again, it created a                     1   promoted treating pain as the fifth vital sign
     2   disproportionate amount of attention on -- on        2   did so for any reason other than the exercise
     3   the management of pain. And the -- and the           3   of what at the time was their best medical
     4   message that physicians were receiving, by           4   judgment?
     5   their account, is that this is important.            5           MS. KEARSE: Object to form. Asked
     6   "This is something we need to pay close              6   and answered, I believe.
     7   attention to."                                       7       A. I think that the -- there was an
     8       Q. Do you know in what years the Joint           8   interest in making sure that pain was
     9   Commission, the Veterans Administration, or          9   appropriately addressed in treatment.
    10   other medical organizations adopted the concept     10           MS. KEARSE: Is this a good time --
    11   of treating pain as the fifth vital sign?           11       Q. Do --
    12       A. No, I don't.                                 12           MS. KEARSE: -- for a break?
    13       Q. Do you know even the decade?                 13           I'm sorry. I didn't mean --
    14       A. I believe it was in the '90s.                14           MR. BOEHM: I'm almost done with a
    15       Q. Do you know who at the Joint                 15   section, if you don't mind.
    16   Commission or the Veterans Administration           16           MS. KEARSE: Okay. I thought you
    17   performed the evaluation and arrived at the         17   were moving on.
    18   recommendation --                                   18           MR. BOEHM: And then we can take a
    19       A. I've never --                                19   break.
    20       Q. -- to treat -- sorry -- to treat             20       Q. And you indicated that treatment of
    21   pain as the fifth vital sign?                       21   pain as a fifth vital sign was something that
    22       A. I've never seen the study, so, no,           22   was taught at medical schools in the United
    23   I don't.                                            23   States, right?
    24       Q. Do you know whether doctors and              24       A. That's what I understand.
    25   scientists were involved in that evaluation and     25       Q. Do you know when medical schools
                                                                                             63 (Pages 246 - 249)
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                                                  Page 250                                                   Page 252
     1   started to instruct their students about             1   was?
     2   treating pain as a fifth vital sign?                 2      A.     No.
     3        A. No, I don't know when.                       3            MS. KEARSE: Object to form.
     4        Q. Do you believe that licensed                 4            THE WITNESS: I'm sorry.
     5   physicians who prescribed -- I'm sorry. Let me       5       A. No.
     6   start over.                                          6       Q. Have you ever heard of the Ohio
     7            Do you believe that the licensed            7   Compassionate Care Task Force?
     8   physicians in the United States and in Summit        8       A. Sounds familiar, but, no, I'm
     9   County who adopted the treatment of pain as the      9   not -- I don't have direct awareness of their
    10   fifth vital sign sincerely believed at the time     10   existence.
    11   that doing so was medically appropriate --          11       Q. Has the State of Ohio, Summit
    12            MS. KEARSE: Objection.                     12   County, or the ADAMHS Board -- well, let me --
    13        Q. -- and in the best interest of              13   let me actually strike that and say it a
    14   their patients?                                     14   different way.
    15            MS. KEARSE: Object to form.                15            During the time that there had been
    16        A. Do I believe that they felt that            16   changes in clinical pain management, including
    17   way? I suppose. I suppose that would be fair.       17   this adoption of treating pain as the fifth
    18        Q. Do you agree that the                       18   vital sign, did Summit County or the ADAMHS
    19   undertreatment of pain was broadly recognized       19   Board ever adopt or propose revised prescribing
    20   by the medical community as a legitimate and        20   guidelines for the use of prescription opioids?
    21   serious public health problem in the 1990s?         21            MS. KEARSE: Object to form.
    22            MS. KEARSE: Object to form.                22       A. No. That would fall outside of
    23        A. Yes, I would say that they probably         23   our -- of our scope of work.
    24   thought that.                                       24       Q. Why do you say that would fall
    25        Q. Are you aware that the State of             25   outside of your scope of work?
                                                  Page 251                                                   Page 253
     1   Ohio itself officially recognized that the           1       A. Because we don't -- we don't get
     2   undertreatment of pain was a legitimate and          2   into medical treatment.
     3   serious public health problem?                       3       Q. Who are the people who get into
     4            MS. KEARSE: Object to form.                 4   medical treatment and that would be positioned
     5       A. Am I aware that the State had --              5   to -- to render recommendations along those
     6   I'm not aware that the State had, no.                6   lines?
     7       Q. Have you ever heard of the                    7       A. Practitioners. Medical
     8   Intractable Pain Act of 1998?                        8   practitioners.
     9       A. It sounds familiar, but I don't               9            MR. BOEHM: All right. Now is a
    10   know that I would have any reason to -- to have     10   fine time for a break if it works for you.
    11   read that or -- or read about it.                   11            THE WITNESS: Okay.
    12       Q. We can check, but I think it shows           12            THE VIDEOGRAPHER: Off the record,
    13   up in some of the ADAMHS Board slide decks that     13   3:03.
    14   we'll look at.                                      14             (A recess was taken.)
    15       A. Okay.                                        15               - - - - -
    16       Q. Does -- does the Intractable Pain            16            (Thereupon, Deposition Exhibit 17,
    17   Act of 1998 ring a bell for you?                    17            ADM Slide Deck Titled "Summit County
    18            MS. KEARSE: Object. Asked -- he            18            Opiate Task Force: Key Stakeholders
    19   just answered the question and said he didn't       19            Meeting", was marked for purposes of
    20   recall it, so.                                      20            identification.)
    21       A. It sounds familiar, but I don't              21               - - - - -
    22   know that I'm familiar with the actual document     22            THE VIDEOGRAPHER: On the record,
    23   itself or the -- the act itself.                    23   3:26.
    24       Q. Do you know enough to say what the           24   BY MR. BOEHM:
    25   purpose of the Intractable Pain Act of 1998         25       Q. Okay. We're back after just a
                                                                                             64 (Pages 250 - 253)
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                                                   Page 254                                                 Page 256
     1   short break. And I have marked the next               1   "overprescribing"?
     2   document as Exhibit 17. This is a slide deck          2        A. Who decides?
     3   that has John Ellis's name on it.                     3        Q. Yeah.
     4            Do you see that?                             4        A. I think that's a -- a question
     5        A. I do see that.                                5   that -- I think that's a subjective question.
     6        Q. And at the time of this                       6        Q. When you say it's a subjective
     7   presentation, it appears that he was still the        7   question, you mean it's a subjective question
     8   manager of clinical services for the Summit           8   the analysis and decision of how much to
     9   County ADAMHS Board, right?                           9   prescribe to a patient depends on the
    10        A. Yes.                                         10   particular patient and all the circumstances of
    11            MR. BOEHM: I'll just state for the          11   that situation; is that right?
    12   record that this document was produced in            12        A. That's one way of looking at it.
    13   native format, and so that means that we don't       13   I -- I was thinking that the evaluation of
    14   have that fancy little number in the corner.         14   whether someone is overprescribing is a
    15            THE WITNESS: Okay.                          15   subjective fact.
    16            MR. BOEHM: So I'll just say for             16        Q. Okay. Do you have an opinion about
    17   the record that the natively produced file was       17   how one would go about performing rigorous
    18   stamped SUMMIT_001110699.                            18   analysis of whether or not the amount of drug
    19        Q. And I want to direct your attention          19   prescribed to a particular patient by a
    20   to -- I guess it would be the fourth slide in.       20   particular physician was too much?
    21   It's entitled "Other Dynamics Include."              21        A. Again, I think it's subjective. I
    22            Do you see that one?                        22   would -- I would say that if someone had a
    23        A. Yes.                                         23   medical procedure that was -- was fairly minor
    24        Q. And the fourth bullet point on this          24   and received an exorbitant number of -- of
    25   particular slide states "Overprescribing equals      25   pills, that it was -- it would probably be
                                                   Page 255                                                 Page 257
     1   diversion."                                           1   overprescribing.
     2           Do you see that?                              2       Q. Do you agree that making a
     3       A. Yes.                                           3   determination about whether or not the volume
     4       Q. I want to ask you a few questions              4   of a particular amount of drug prescribed to a
     5   about that concept. And let me start by just          5   particular patient by a particular physician
     6   asking, do you agree with the concept that            6   would require a case-by-case evaluation?
     7   overprescribing equals diversion?                     7            MS. KEARSE: Object to form.
     8       A. Overprescribing contributes to                 8       A. I would -- I would say that would
     9   diversion.                                            9   be the case.
    10       Q. What is meant by "overprescribing"?           10       Q. You'd have to look at the complete
    11       A. When somebody who may need -- have            11   medical history of the patient, right?
    12   a need for a medication for three to four days       12       A. Yes.
    13   receives 30 to 60, 90 days' supply of                13       Q. You'd want to know, for example, if
    14   medications.                                         14   that patient had a history of substance abuse?
    15       Q. Whose decision is it how much of a            15            MS. KEARSE: Object to form.
    16   prescription medication to provide to a              16       A. I think that would be an important
    17   patient?                                             17   consideration.
    18       A. It's usually the physician.                   18       Q. You'd want to know what the
    19       Q. Okay. Is it -- isn't it always the            19   particular medical diagnosis was?
    20   physician who's treating that particular             20       A. I think that would be a reasonable
    21   patient?                                             21   thing to want to know.
    22           MS. KEARSE: Object to form.                  22       Q. Okay. Are you aware generally that
    23       A. The prescriber.                               23   there are privacy protections in place -- in
    24       Q. Okay. In terms of overprescribing,            24   fact, I think that you referenced some earlier
    25   who decides whether a doctor is, quote,              25   today in relation to some of my questions --
                                                                                             65 (Pages 254 - 257)
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                                                   Page 258                                                Page 260
     1   that protect individual health care information       1   opposed to getting a legitimate prescription
     2   that a prescriber would have access to but is         2   from a licensed physician?
     3   otherwise protected?                                  3       A. What about it?
     4        A. Yes.                                          4       Q. Is that diversion?
     5        Q. Okay. So returning to the concept             5       A. Yes, that is diversion.
     6   of overprescribing contributing to diversion,         6       Q. What about when your friend has an
     7   can you describe what it is you mean in a             7   extra pill and you break your arm and you use
     8   little bit more detail when you present that          8   your friend's pill, is that diversion?
     9   concept?                                              9       A. Yes, it is.
    10            MS. KEARSE: Objection.                      10       Q. That's illegal too, right?
    11        A. That what I would -- what I would            11       A. Yes, it is.
    12   take from that statement -- how I would              12       Q. Do you agree that there is regional
    13   interpret that statement is that the more            13   variation in the number of opioids that
    14   unused medications that are left un- -- the          14   licensed physicians prescribe?
    15   more -- more medications are left unused,            15       A. Do I agree that there's regional
    16   they're -- they could be susceptible to              16   variation? I agree that there could be
    17   diversion.                                           17   regional variation, but I have no knowledge of
    18        Q. Okay. When you say "susceptible to           18   data that would inform me.
    19   diversion," does that refer to the factors that      19       Q. Have you ever looked at the
    20   we were discussing earlier, the ways by which        20   question of how prescribing of prescription
    21   legitimately prescribed medications fall into        21   opioids varies state by state or region by
    22   hands of individuals who are using them for          22   region?
    23   reasons other than a legit- -- legitimate            23       A. Say that again. I'm sorry.
    24   medical need?                                        24       Q. Have you ever looked at the
    25            MS. KEARSE: Object to form.                 25   question of how prescribing of prescription
                                                   Page 259                                                Page 261
     1       A. Yes.                                           1   opioids varies on a state-by-state or
     2       Q. I think you indicated that one form            2   region-by-region basis?
     3   of diversion is theft?                                3       A. I -- I don't know that I've done it
     4       A. Yes.                                           4   on a state-by-state basis. I think that I've
     5       Q. And I think you -- you've indicated            5   seen some of the OARRS information, the
     6   that one way drugs can be stolen is just out of       6   automated prescription monitoring program, that
     7   somebody's medicine cabinet or a drawer; is           7   will demonstrate variations in different parts
     8   that right?                                           8   of the state.
     9       A. Yes.                                           9       Q. Okay. But you don't know if
    10       Q. Is doctor shopping a concept with             10   there's variation in terms of prescribing
    11   which you're familiar?                               11   habits on a state-by-state or region-by-region
    12       A. I've heard the term used.                     12   basis?
    13       Q. Do you know what it means?                    13       A. I would have no way of being able
    14       A. Yes, I do.                                    14   to say that.
    15       Q. What is that?                                 15       Q. Okay. You don't recall ever having
    16       A. It's going from one prescriber to             16   received that information?
    17   another seeking medications.                         17       A. I don't recall.
    18       Q. That's illegal, right?                        18       Q. And you never went to look for that
    19       A. Yes, it is.                                   19   information as part of your duties as the head
    20       Q. Is that a form of diversion?                  20   of the Summit County ADAMHS Board?
    21       A. That's not necessarily a form of              21           MS. KEARSE: Object to form.
    22   diversion. I think it's a form of drug               22       A. Not that I can recall.
    23   seeking.                                             23       Q. Do you know how Ohio stacks up in
    24       Q. What about buying prescription                24   terms of prescribing of prescription opioids as
    25   opioids from someone on the street as -- as          25   compared to other states? And I mean by
                                                                                            66 (Pages 258 - 261)
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                                                Page 262                                               Page 264
     1   volume.                                            1   the individuals that they're prescribing to
     2       A. By volume? No. You know, I've               2   about the dangers of prescription medications,
     3   seen some heat maps that show, but -- but          3   and also to be careful about the numbers of
     4   that -- but that -- those don't necessarily        4   medications that are being prescribed.
     5   relate to numbers of -- of prescribed              5       Q. Okay. For what years that Summit
     6   medications.                                       6   County has had an opioid epidemic do you
     7                - - - - -                             7   believe licensed physicians who have prescribed
     8            (Thereupon, Deposition Exhibit 18,        8   opioid medications share in responsibility for
     9            Document Titled "Opioid Painkiller        9   the epidemic?
    10            Prescribing: Where You Live Makes a      10       A. I think they've always shared in
    11            Difference," Summit_001112390 to         11   the responsibility. I -- I think that when you
    12            001112393, was marked for purposes       12   see the consequences of the deaths and -- and
    13            of identification.)                      13   the overdoses that have occurred in our
    14                - - - - -                            14   communities, that that should heighten their
    15       Q. I'm going to show you a document           15   sense of responsibility.
    16   that I've just marked Exhibit 18. It's a CDC      16       Q. Do you believe that pharmacists who
    17   report from July 2014. And on the third page      17   have dispensed opioid medications in or around
    18   of the document, there's some information about   18   Summit County by filling legitimate
    19   prescribing trends on a region-by-region,         19   prescriptions from licensed physicians have
    20   state-by-state basis.                             20   responsibility for the opioid epidemic in
    21            Do you see that?                         21   Summit County?
    22       A. I do see that.                             22           MS. KEARSE: Object to form.
    23       Q. And do you see there's some pretty         23       A. I think that pharmacists do have a
    24   wide variation, actually, in terms of volume of   24   responsibility, yes.
    25   prescriptions as between states. Do you see       25       Q. I get -- I just want to make sure
                                                Page 263                                               Page 265
     1   that?                                            1     the question is clear.
     2       A. Yes, I see that.                          2             Not just generically do they have a
     3       Q. It looks like Ohio is in the middle       3     responsibility. My question is, do you believe
     4   category, the average category. Do you see       4     that pharmacists who have dispensed legitimate
     5   that?                                            5     opioid medication prescriptions in or around
     6       A. Yes, I see that.                          6     Summit County that were provided by a licensed
     7       Q. Do you have any view about why            7     physician have responsibility for the opioid
     8   there has been regional and state-by-state       8     epidemic in Summit County?
     9   variation in terms of the number of opioids      9         A. I'm sorry.
    10   that licensed physicians prescribe to their     10             MS. KEARSE: Object to form. Asked
    11   patients?                                       11     and answered.
    12       A. I have no idea.                          12         A. I'm sorry. They do -- they do
    13       Q. Do you believe that licensed             13     have -- they do share the responsibility.
    14   physicians who have prescribed opioid           14         Q. Why do you believe that?
    15   medications in and around Summit County share 15           A. Because everybody -- everybody who
    16   responsibility for the opioid abuse epidemic in 16     has a role in this, from the prescriber, to the
    17   Summit County?                                  17     person that fills the prescription, to the
    18            MS. KEARSE: Object to form.            18     person using the prescription, to the -- to the
    19       A. Do I believe that prescribers share      19     other -- to the hospital systems, everybody
    20   the responsibility? Yes.                        20     shares some role in -- in addressing this and
    21       Q. How so?                                  21     some responsibility.
    22       A. I believe that physicians who are        22         Q. For which years that Summit County
    23   prescribing opiate medications have -- have a   23     has had an opioid epidemic do you believe that
    24   duty, particularly in the wake of -- of what    24     pharmacists who have dispensed opioid
    25   we've experienced in this county, to educate    25     medications in Summit County for legitimate
                                                                                         67 (Pages 262 - 265)
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                                                 Page 266                                                  Page 268
     1   prescriptions of opioids share responsibility       1   Food and Drug Administration in connection with
     2   for the epidemic in the county?                     2   the opioid epidemic insofar as it concerns
     3       A. To what extent?                              3   Summit County or otherwise?
     4       Q. I said for which years.                      4       A. No, I don't.
     5       A. For which years?                             5       Q. Do you know what the United States
     6       Q. Uh-huh.                                      6   Drug Enforcement Agency is?
     7       A. Their responsibility, I think,               7       A. Yes, I do.
     8   again, is they've always been -- they've always     8       Q. What is it?
     9   had a responsibility. I think their                 9       A. It's the -- it's the agency that
    10   responsibility, again, has been heightened as a    10   looks at -- that enforces the laws around
    11   result of what we've experienced in our            11   medications and -- and also illicit drugs.
    12   community.                                         12       Q. What are the responsibilities of
    13       Q. Do you believe that the scientists          13   the United States Drug Enforcement Agency in
    14   and medical doctors at the Food and Drug           14   connection with controlled substances?
    15   Administration have responsibility for the         15       A. I think they're -- I -- I'm not
    16   opioid epidemic in Summit County?                  16   sure, but I believe that they have an
    17           MS. KEARSE: Object to form.                17   investigative -- investigative role.
    18       A. I -- I don't know. I don't -- I             18       Q. Okay. What do you mean an
    19   don't know enough about what their role is in      19   investig- -- investigative role? I'm not sure
    20   this that -- that I would be able to assign        20   either of us said that quite right.
    21   them any level of responsibility.                  21       A. They -- when they're -- when they
    22       Q. Do you know what the Food and Drug          22   become aware or it's reported that there are
    23   Administration is?                                 23   bad things happening with regard to these
    24       A. Yes, I do.                                  24   drugs, that -- that they -- that they are
    25       Q. Do you know they approve                    25   engaged to investigate.
                                                 Page 267                                                  Page 269
     1   medications for indicated uses?                 1           Q. Have you ever heard of the
     2       A. Yes, I do.                               2       aggregate production quota?
     3       Q. And do you know that the                 3           A. No.
     4   prescription opioid medications that are at     4           Q. Are you aware that the United
     5   issue in this matter all involved FDA-approved 5        States Drug Enforcement Agency each year sets
     6   medications?                                    6       an aggregate production quota of how -- how
     7       A. Yes.                                     7       many controlled substances pharmaceutical
     8       Q. Do you know anything about the           8       manufacturers can make?
     9   process by which the FDA reviews and approves 9             A. No, I'm not familiar with that.
    10   medications for use for approved indications? 10            Q. Never heard of that?
    11       A. I -- I do not. I -- I have a very       11           A. No.
    12   superficial knowledge.                         12           Q. You don't know what the factors are
    13       Q. Do you know whether or not the Food 13           that inform the DEA's decision-making process
    14   and Drug Administration has scientists and     14       in determining what an annual aggregate
    15   medical doctors who have responsibility for    15       production quota should be for any particular
    16   reviewing scientific data in reaching their    16       year?
    17   conclusions about whether drugs should be      17               MS. KEARSE: Object to form.
    18   approved and for what indications they should 18            A. I -- I don't have any -- I'm not
    19   be approved?                                   19       familiar with this process.
    20       A. Yes.                                    20           Q. This is the first time you're
    21           MS. KEARSE: Object to form.            21       hearing about that, as we sit here today?
    22       A. I'm sorry. Yes.                         22           A. Yes.
    23       Q. You do know they have those people? 23               Q. Do you know whether or not the DEA
    24       A. I do know they have those people.       24       sets annual aggregate production quotas in
    25       Q. Do you have any criticism of the        25       connection with prescription opioids?
                                                                                           68 (Pages 266 - 269)
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                                                   Page 270                                                Page 272
     1           MS. KEARSE: Object to form.                   1   you getting that information? Number two, what
     2       A. I don't know -- I didn't know that             2   is your basis?
     3   they exist, therefore, by extension, I don't --       3           MS. KEARSE: Object to form.
     4   I'm not aware of any of their activities.             4       A. So on behalf of -- I don't know if
     5       Q. Do you know whether anybody on                 5   they buy the drugs from the pharmaceutical
     6   behalf of Summit County or the ADAMHS Board for       6   companies and then distribute them, or if they
     7   Summit County has ever discussed with the DEA         7   are contractually -- so I don't understand that
     8   or representatives of the DEA the aggregate           8   aspect of it.
     9   production quotas for prescription opioid             9           So I guess what I was trying to
    10   medications for any particular year?                 10   say, I don't know how that happens, but I know
    11           MS. KEARSE: Object to form.                  11   that they are responsible for the distribution
    12       A. I don't -- I don't know.                      12   of those medications across the United States.
    13       Q. You're not aware of any such --               13       Q. Do you know how they do that or
    14       A. I'm not.                                      14   based on what standards wholesale drug
    15       Q. -- communications?                            15   distributors deliver medicines to pharmacies?
    16       A. That's correct; I'm not aware.                16       A. No. I've only -- I only know as
    17       Q. Do you believe that the United                17   much as I've read in -- in news accounts.
    18   States Drug Enforcement Agency has any               18       Q. What news accounts have you read
    19   responsibility for the opioid epidemic in the        19   about the role of wholesale drug distributors
    20   country or in Summit County?                         20   in the delivery of health care in the United
    21           MS. KEARSE: Object to form.                  21   States?
    22       A. If you're asking me if they're                22       A. Just the -- just the various news
    23   responsible, they have -- they have a                23   stories about opiates and, you know, the
    24   responsibility to address it. I don't know           24   inclusion of the distributors in that -- in
    25   that they're necessarily responsible for the         25   that problem.
                                                   Page 271                                                Page 273
     1   epidemic. You could kind of interpret that            1       Q. What news reports have you read
     2   question in two different ways.                       2   about that?
     3       Q. That's fair. I'm asking more about             3       A. Just general newspaper accounts.
     4   the latter, so let me just rephrase it.               4       Q. Do you recall any particular
     5            Do you, based on all that you know           5   newspaper reports on the role of wholesale drug
     6   and all that you've investigated and all that         6   distributors?
     7   you've learned about the opioid epidemic              7       A. No. And -- and the newspaper
     8   insofar as it concerns Summit County, place any       8   accounts that I've read have mentioned them.
     9   blame for the opioid epidemic in the county at        9   They're not necessarily about them. But
    10   the feet of the United States Drug Enforcement       10   I've -- I've read newspaper articles where the
    11   Agency?                                              11   distributors were mentioned.
    12       A. No, no.                                       12       Q. Have you seen any other news
    13       Q. Do you know what the role of                  13   reports in print or other types of media about
    14   wholesale drug distributors are or is in the         14   the role of wholesale drug distributors in
    15   delivery of health care in the United States?        15   connection with the opioid epidemic?
    16       A. Yes.                                          16       A. In news reports you're asking me?
    17       Q. What is your understanding about              17       Q. Yes. And I said in print or any
    18   the role of wholesale drug distributors in the       18   other --
    19   delivery of health care in the United States?        19       A. Right.
    20       A. I think that -- that they receive             20       Q. -- form of media reports.
    21   or -- or are responsible on behalf of the            21       A. In lots of -- you know, I do a lot
    22   pharmaceutical companies to manage the               22   of reading on the Internet and our local
    23   distribution of those drugs to communities.          23   newspaper. So, yes, I have.
    24       Q. When you say on behalf of the                 24       Q. Okay. What is your understanding,
    25   pharmaceutical companies, number one, where are      25   based on those news reports, about the role of
                                                                                            69 (Pages 270 - 273)
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                                                 Page 274                                                 Page 276
     1   wholesale drug distributors insofar as it does      1   know about Cardinal Health?
     2   or does not concern the opioid epidemic in          2       A. Cardinal Health has been involved
     3   Summit County?                                      3   with a lot of the activities in Ohio in
     4       A. Well, I guess probably the most --           4   particular, which is what -- where I'm mostly
     5   the most disturbing thing that I've read is         5   familiar with is the work that they've done
     6   that there have been communities with very low      6   with some of our -- our local agencies funding
     7   populations where, you know, they've received       7   some of the programs and services.
     8   exorbitant -- wildly exorbitant numbers of          8       Q. What specific services or programs
     9   prescription pain medications that would lead a     9   has Cardinal Health funded in the community?
    10   reasonable person to believe that nobody could     10       A. I'm not familiar with all of them,
    11   ever use that much medication at one time.         11   but I do know that they funded a prevention
    12            And I believe that the account that       12   program, for example, in one of the agencies in
    13   I'm referring to was a community in West           13   our community, and they had provided some
    14   Virginia.                                          14   funding to our -- our board association, and as
    15       Q. Do you have any firsthand knowledge         15   part of the -- our work that we've done through
    16   about the amounts or volumes of prescription       16   the opiate conference.
    17   opioids that have been delivered to pharmacies     17       Q. And -- and the prevention program
    18   by wholesale drug distributors in any              18   that you had in mind, was that related to
    19   particular geographic region?                      19   opioids?
    20       A. I do not.                                   20       A. Not sure if it was related to
    21       Q. You're basing that on some news             21   opioids or if it was more of a general
    22   reports that you saw?                              22   prevention program.
    23       A. I'm basing that on -- on the things         23       Q. Based on your own understanding, do
    24   that I've read, yes.                               24   you believe that Cardinal Health is responsible
    25       Q. And you haven't conducted any               25   in any way for the opioid epidemic insofar as
                                                 Page 275                                                 Page 277
     1   analysis of your own to try and understand the      1   it concerns Summit County?
     2   role of wholesale drug distributors in              2           MS. KEARSE: Object to form.
     3   connection with the delivery of prescription        3       A. I would have no way of knowing
     4   opioids to pharmacies. Is that fair?                4   that.
     5       A. That's fair. That would be                   5       Q. Have you ever heard of McKesson?
     6   somewhat outside the scope of my realm of --        6       A. Yes, I have.
     7   of -- I mean, in order for me to do something       7       Q. What do you know about McKesson?
     8   about it, I might -- that -- if I felt that         8       A. I -- I know that it's a drug
     9   there was a role that I could play in that, I       9   distribution company.
    10   might take more of an interest in it, but I        10       Q. Beyond that do you know anything --
    11   didn't feel like it was something I needed to      11       A. No.
    12   study.                                             12       Q. -- about them?
    13       Q. Okay. Do you have any firsthand             13       A. No.
    14   knowledge of the systems that wholesale drug       14       Q. The question I asked about whether
    15   distributors use to detect and prevent             15   or not Cardinal, in your view, has
    16   diversion of controlled substances?                16   responsibility in any way for the opioid
    17       A. Am I aware of systems that they             17   epidemic in Summit County, would your answer be
    18   use? No, I'm not.                                  18   the same with respect to McKesson,
    19       Q. Have you ever looked into that?             19   AmerisourceBergen, and any other wholesale drug
    20       A. No. I've never -- I've never                20   distributors?
    21   sought that information, no.                       21       A. I would have no way of knowing.
    22       Q. Okay. Have you ever heard of                22       Q. You have no way of knowing whether
    23   Cardinal Health?                                   23   or not --
    24       A. I have heard of Cardinal Health.            24       A. Whether they were responsible.
    25       Q. What have you heard? How do you             25       Q. And why is that?

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                                                  Page 278                                                  Page 280
     1       A. Because my organization is                    1   if -- if I were asked to prove that these --
     2   responsible for the treatment of individuals         2   these companies were responsible, I don't
     3   with mental illnesses and addictions, and that       3   necessarily think that I could prove it, but
     4   really falls far outside of the scope of what        4   I've read enough information and that -- that I
     5   our funding is -- is designated for.                 5   wouldn't have a difficult time believing that
     6       Q. You've indicated a couple of times            6   that's the case.
     7   today that as part of your job responsibilities      7        Q. Is that based on the media reports
     8   as the head of the ADAMHS Board, you felt that       8   that you were talking about?
     9   you had a duty to try to investigate and             9        A. It's based on the media reports.
    10   understand the causes of the opioid epidemic in     10   It's based on the other information that's
    11   Summit County.                                      11   been -- that's been made available to me
    12           My question for you is whether or           12   through the -- I guess -- I guess it's
    13   not that investigation and work that you've         13   generally media reports.
    14   done over the course of your leading of the         14        Q. That's what I wanted to make sure
    15   ADAMHS Board in Summit County has led you to        15   we had pinned down.
    16   believe that the wholesale drug distributors        16        A. Yeah.
    17   have responsibility for the opioid epidemic in      17        Q. Is there any information other than
    18   Summit County.                                      18   the media reports that you're having in mind?
    19           MS. KEARSE: Object to form.                 19        A. Well, you know, I've done a lot of
    20       A. Through my work at the ADM Board             20   reading about different aspects of this
    21   and -- and some of the -- and some of the           21   problem. I mean, I've read the -- you know,
    22   reading that I have done, I've come to              22   Sam Quinones' book on Dreamland, and -- and I'm
    23   understand that that's the case, but I don't        23   just trying to -- you know, in my mind's eye, I
    24   know that I have direct knowledge that that's       24   was just trying to determine whether or not
    25   the case.                                           25   there was any mention of the distributors in
                                                  Page 279                                                  Page 281
     1       Q. Well, just back up for a second.              1   that -- in that book. But, you know, I just --
     2       A. Okay.                                         2   I just can't recall.
     3       Q. When I asked you about this before,           3       Q. Okay. So you're not aware, sitting
     4   you talked about drug reports -- or I'm              4   here today, whether or not in your own
     5   sorry -- media reports.                              5   investigation of the opioid epidemic, insofar
     6       A. Yes.                                          6   as it concerns Summit County, you determined
     7       Q. And you said really that's the only           7   that wholesale drug distributors had
     8   thing you've ever read about that, right?            8   responsibility for the opioid epidemic in the
     9       A. Right.                                        9   county. Is that fair?
    10       Q. Okay. And then when I asked you              10            MS. KEARSE: Object to form.
    11   whether or not you had a view as to whether         11       A. That I have information that
    12   Cardinal Health, McKesson, AmerisourceBergen,       12   would -- that I could arrive at that
    13   or any other wholesale drug -- --                   13   determination?
    14       A. Uh-huh.                                      14       Q. Yeah. My -- my que- -- let me --
    15       Q. -- distributor had responsibility            15   let me just --
    16   for the opioid epidemic --                          16       A. Okay.
    17       A. Uh-huh.                                      17       Q. -- make sure the question is clear.
    18       Q. -- in the county, you said you               18            I -- we talked about how you had
    19   would have no way of knowing that, right?           19   done your own investigation and analysis to try
    20           MS. KEARSE: Object to form.                 20   and understand the causes of the opioid
    21       A. Personally, yes.                             21   epidemic in Summit County, right?
    22       Q. Okay. And so when you say you've             22       A. Yes. Well, let me -- let me take
    23   come to understand that, what are you talking       23   issue with that. I haven't done my --
    24   about?                                              24       Q. Okay.
    25       A. I guess what I'm saying is that              25       A. -- research to understand it. I
                                                                                            71 (Pages 278 - 281)
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                                                   Page 282                                                   Page 284
     1   have read things that I have run across. I            1   out the distributors. I may have lumped them
     2   haven't -- I haven't done an exhaustive               2   together with the pharmaceutical companies. So
     3   research on these issues.                             3   there could be -- there could be talking points
     4             What I do is I read information as          4   in my slide deck that -- that talk about opiate
     5   it's -- as it comes before my attention, but          5   manufacturers and distributors.
     6   it's not that I'm out there doing research on         6       Q. And if I represent to you that
     7   this issue.                                           7   there's not, would that surprise you?
     8        Q. What -- what are the sources of               8       A. That there's not what?
     9   information that you use when you go around           9       Q. Any reference to wholesale drug
    10   presenting to people about the causes of the         10   distributors.
    11   opioid epidemic in Summit County?                    11            MS. KEARSE: Object to form.
    12        A. Some of it was from presentations            12       A. That wouldn't surprise me, no.
    13   that have been done other places where I've          13       Q. As you sit here today, do you
    14   picked up some of the -- the talking points.         14   recall ever arriving at a conclusion that in
    15   I've -- you know, I've read articles. I've           15   your view the opioid epidemic in Summit County
    16   read newspaper articles that have citations,         16   had been driven in part by wholesale drug
    17   and, you know, usually I'll at least want to         17   distributors?
    18   understand where that citation came from so          18            MS. KEARSE: Object to form.
    19   that I'm not just putting out information            19       A. No.
    20   that's -- you know, that's not necessarily --        20       Q. Do you believe that the County
    21   that's just -- that somebody just makes a            21   itself shares any responsibility for the opioid
    22   statement. There has to be some sort of a            22   epidemic in Summit County?
    23   basis for that information.                          23       A. So when you say "the County," what
    24             And so our board association has           24   are you talking about?
    25   sent people to us. Our -- the experiences of         25       Q. I'm talking about County government
                                                   Page 283                                                   Page 285
     1   the folks in our Opiate Task Force and their          1   and the -- the organs and various departments,
     2   collective knowledge and input about that have        2   divisions and programs of the County.
     3   all kind of helped to inform me about this            3       A. I don't know. I'd have to think
     4   issue and the way that I understand it.               4   about that. There's -- there's a lot of places
     5       Q. Okay. And -- and you put that                  5   where the County touches individuals.
     6   together in slide decks, and sometimes you use        6            That they're responsible for the
     7   those slide decks as part of your presentation,       7   opiate epidemic?
     8   right?                                                8       Q. Yeah. The question I asked you is
     9       A. The Opiate Task Force's speakers               9   whether you believe that the County itself
    10   bureau put this together in a -- and I -- in a       10   shares responsibility for the opioid epidemic
    11   slide deck, and then I modify that slide deck        11   in Summit County.
    12   for my use.                                          12            MS. KEARSE: Object to form.
    13       Q. And as part of the discovery                  13       A. By sharing the -- by sharing the
    14   process, as I'm sure you understand, we've had       14   responsibility if you mean contributing to?
    15   the opportunity to see at least some of the          15   No, I don't think so.
    16   slide decks that you've used and that others at      16       Q. Why not?
    17   the ADAMHS Board have used.                          17       A. I'm just -- I'm just trying to walk
    18           Do you recall ever in, any of your           18   through the different parts of the County to
    19   presentations to the community about why there       19   say -- to look at how the County might -- how
    20   was an opioid epidemic in Summit County, saying      20   the County might impact this issue, and I don't
    21   that you believed that wholesale drug                21   know that there are -- I don't think that they
    22   distributors were at least partly responsible        22   made any -- any kind of a contribution to that,
    23   for the opioid epidemic in the county?               23   that I can -- that I can think of.
    24           MS. KEARSE: Object to form.                  24       Q. In your view has the County -- in
    25       A. I'm not sure that I've ever singled           25   retrospect, as we sit here in early 2019 and
                                                                                              72 (Pages 282 - 285)
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                                                 Page 286                                                 Page 288
     1   you look back at the opioid epidemic in Summit      1   particularly on the heels of an event that
     2   County, do you believe that there are different     2   occurred here in July of 2016, and we felt --
     3   decisions made or priorities set that the           3   we felt as though the -- the State could have
     4   County could have made or set that didn't --        4   been more helpful.
     5   but did not --                                      5       Q. Okay. Setting the events of 2016
     6           MS. KEARSE: Objection. Calls for            6   aside, are there other ways in which you
     7   speculation.                                        7   believe the State was slow to respond to the
     8       Q. -- in the last decade or so?                 8   opioid epidemic that contributed to the scope
     9           MS. KEARSE: Objection. Calls for            9   and scale of the epidemic in Summit County?
    10   speculation.                                       10           MS. KEARSE: Object to form.
    11       A. I -- I don't know. I don't know.            11       A. I -- I don't have an opinion.
    12       Q. I know that the "calls for                  12       Q. We looked earlier at the 2010
    13   speculation" is intended to help you answer        13   report --
    14   that question, but I'm asking your opinion.        14       A. Uh-huh.
    15   I'm not asking about -- just to clarify, I'm       15       Q. -- from the governor. He put
    16   not asking about what other people did. I'm        16   together that prescription drug abuse task
    17   asking whether you have a view here today          17   force.
    18   about, in retrospect, whether or not the County    18           Do you remember that?
    19   could have made decisions or set priorities        19       A. Yes.
    20   differently than they did --                       20       Q. Do you believe generally that the
    21           MS. KEARSE: And I -- I object              21   State has been slow to respond to the opioid
    22   to --                                              22   epidemic in Ohio?
    23           MR. BOEHM: I'm sorry. I'm not              23           MS. KEARSE: Object to form. Asked
    24   done.                                              24   and answered.
    25       Q. -- in a way that would have perhaps         25       A. I don't know if they've been slow.
                                                 Page 287                                                 Page 289
     1   helped out with respect to the opioid epidemic?     1   I think their response has been inadequate.
     2           MS. KEARSE: I object to form                2        Q. In what ways do you think the
     3   again.                                              3   State's response to the opioid epidemic has
     4       A. I don't have -- I don't have any             4   been inadequate?
     5   personal feelings about the County's role in --     5        A. I believe that when we sought help
     6   in the opiate epidemic.                             6   from the State, that they came and they talked
     7       Q. You don't have any suggestions,              7   to us, but that was essentially all they did.
     8   anything in retrospect or views about what the      8        Q. When was that? When did you seek
     9   County could have done differently?                 9   help from the State?
    10           MS. KEARSE: Object to form.                10        A. In particular, in 2016, after
    11       A. No, I don't.                                11   this -- after we had the spate of -- the spike
    12       Q. Do you believe that the State of            12   in our overdoses and deaths.
    13   Ohio shares responsibility for the opioid          13        Q. Those overdoses that you're
    14   epidemic in the state and in Summit County?        14   referring to in 2016 were largely driven by
    15           MS. KEARSE: Object to form.                15   fentanyl overdoses; is that correct?
    16       A. I -- I think that the State has             16            MS. KEARSE: Object to form.
    17   some responsibility in the -- in the sense that    17        A. They were largely due to an influx
    18   they've been very slow to respond with funding     18   in carfentanil in our community.
    19   for us to address it. But that -- I guess that     19        Q. And that was illegal carfentanil,
    20   would be my complaint with the State.              20   correct?
    21       Q. When you say they have been slow to         21        A. It was -- it was illegally -- it
    22   address the opioid epidemic, what is it that       22   was being used illegally, yes.
    23   you mean by that?                                  23        Q. And carfentanil is not something
    24       A. That there was a call for state of          24   that's prescribed for use in humans to treat
    25   emergency to address the opiate epidemic,          25   pain, right?
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                                                    Page 290                                                  Page 292
     1       A. Right. It's an elephant                         1   about the disbursal of funding to address the
     2   tranquilizer.                                          2   opiate epidemic.
     3              - - - - -                                   3            And -- and we've had -- we had
     4           (Thereupon, Deposition Exhibit 19,             4   several conversations with him as part of our
     5           Ohio House of Representatives                  5   board association.
     6           Prescription Drug Addiction and                6        Q. Do you recall ever having had a
     7           Healthcare Reform Legislative Study            7   conversation with Representative Sprague about
     8           Committee Chairman's Report,                   8   the causes of the opioid epidemic?
     9           SUMMIT_001017850 to 001017865, was             9        A. I don't believe we ever talked
    10           marked for purposes of                        10   about the causes.
    11           identification.)                              11        Q. Have you seen this report before
    12              - - - - -                                  12   that's been marked as Exhibit 19?
    13       Q. Okay. I'm going to show you this               13        A. I have not.
    14   document that's been marked as Exhibit 19 for         14        Q. I want to direct your attention to
    15   purposes of the deposition today. It's an             15   page 6 of the document. It's Roman numeral
    16   October 17th, 2013 --                                 16   III, which is entitled, quote, "A
    17       A. Uh-huh.                                        17   State-Sponsored Problem."
    18       Q. -- report from the Ohio House of               18            Do you see that?
    19   Representatives Prescription Drug Addiction and       19        A. Yes.
    20   Healthcare Reform Legislative Study Committee.        20        Q. And this section of the document
    21   That's a mouthful.                                    21   goes on to relate, in the view of the Ohio
    22           Do you see that?                              22   House of Representative Committee, who looked
    23       A. Yes.                                           23   at this issue, the ways in which the State
    24       Q. And the chairman of this committee             24   itself has contributed to the opioid epidemic.
    25   was Representative Robert Cole Sprague.               25            Do you see that?
                                                    Page 291                                                  Page 293
     1           Do you see that?                               1       A. Yes.
     2       A. Yes.                                            2       Q. The first in the list provided is
     3       Q. Do you know Representative Sprague?             3   the fact that the general assembly passed the
     4       A. Yes. I know Representative                      4   Intractable Pain Act in 1998.
     5   Sprague.                                               5           Do you see that?
     6       Q. Have you ever had any conversations             6       A. Yes.
     7   with Representative Sprague about the opioid           7       Q. And we talked a little bit about
     8   epidemic in Ohio or in Summit County?                  8   that earlier. Do you remember that?
     9       A. I had several conversations with                9       A. Yes.
    10   Representative Sprague about the opiate               10       Q. And I think you said you weren't
    11   epidemic and -- and our needs in Summit County.       11   familiar with the details?
    12       Q. When have you had those                        12       A. Right.
    13   conversations?                                        13       Q. And remind me, did you know
    14       A. Boy. You know, I've -- I've talked             14   generally what this act of legislation was
    15   to Representative Sprague probably three or           15   about?
    16   four times over the past three -- three years.        16       A. No.
    17       Q. What have you discussed with                   17       Q. Do you know in what way the
    18   Representative Sprague insofar as it concerns         18   Intractable Pain Act in 1998, quote, "opened
    19   the opioid epidemic in Summit County?                 19   the floodgates for doctors to treat chronic
    20       A. We -- we talked to him about the               20   pain with prescription opioids"?
    21   need to keep Medicaid expansion, because              21       A. Do I know in what way? No.
    22   they're -- in spite of the fact that we did           22       Q. Do you agree or disagree with the
    23   have Medicaid expansion, it was threatened on a       23   conclusion of this committee of the Ohio House
    24   number of occasions.                                  24   of Representatives about passage of the
    25           We talked to Representative Sprague           25   Intractable Pain Act and its impact on the
                                                                                              74 (Pages 290 - 293)
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                                                Page 294                                               Page 296
     1   opioid epidemic?                                   1   earlier when you talked about patient
     2       A. I would have to read the report             2   satisfaction surveys?
     3   to -- in full to offer an opinion.                 3       A. Yes, in part.
     4       Q. Are you familiar with the Ohio              4       Q. Okay. And Medicaid and Medicare
     5   medical board?                                     5   are federal systems, right?
     6       A. I know there is an Ohio medical             6       A. Yes, they are.
     7   board. I'm not familiar with it, and I've          7       Q. Okay. So is it your understanding
     8   never had any interactions with the Ohio           8   that the Medicaid and Medicare systems were
     9   medical board.                                     9   requiring patient satisfaction surveys that
    10       Q. Do you know what the basic                 10   informed the grading of hospitals and
    11   responsibility of the Ohio medical board is?      11   individual physicians?
    12       A. No. I couldn't -- I couldn't state         12           MS. KEARSE: Object to form.
    13   that to you cogently.                             13       A. I accept what's stated here, yes.
    14       Q. Do you know that the Ohio medical          14       Q. You indicated earlier today that
    15   board is the entity that sometimes brings         15   you're familiar with the concept of pill mills,
    16   investigations against licensed physicians?       16   right?
    17            MS. KEARSE: Object to form.              17       A. Yes.
    18       A. Against physicians? No, I -- I was         18       Q. And I think you said that some pill
    19   not aware of that.                                19   mills have been shut down in Summit County; is
    20       Q. Number 2 on this page 6 of Exhibit         20   that right?
    21   19 says, "The Ohio medical board and others       21       A. Yes.
    22   throughout the country convinced the medical      22       Q. What are the pill mills in Summit
    23   community to adopt pain as the fifth vital        23   County that have been shut down?
    24   sign."                                            24       A. I -- I don't know the specifics. I
    25            Do you see that?                         25   don't know the names of the -- of the people
                                                Page 295                                               Page 297
     1       A. Yes, I do.                                  1   who are involved in these -- in this -- in this
     2       Q. Do you agree with that statement?           2   massive overprescribing.
     3       A. Do I agree with this -- do I agree          3           I know that there was a physician
     4   that -- with what is in this report?               4   that was connected to Summa, for example, who
     5       Q. Yes. This statement that I just             5   was arrested for operating a -- a pill mill.
     6   read.                                              6   I -- and I'm aware of a couple of others
     7       A. This statement that the Ohio                7   anecdotally.
     8   medical board and others throughout the county     8        Q. Do you know how many pill mills
     9   [sic] convinced the medical community to adopt     9   have operated in Summit County?
    10   pain as the fifth vital sign?                     10        A. Specifically, no.
    11       Q. Yes.                                       11        Q. Do you know roughly?
    12       A. Do I agree with that? I would              12        A. Three or four.
    13   accept that that's true.                          13        Q. And do you know the physicians or
    14       Q. Do you know in what way the Ohio           14   other individuals who ran those pill mills?
    15   medical board and others convinced the medical    15        A. Not personally, no.
    16   community to adopt pain as the fifth vital        16        Q. Do you believe that unscrupulous
    17   sign?                                             17   individuals who have ran or presently run pill
    18       A. I have no idea.                            18   mills have responsibility --
    19       Q. Okay. Number 4 -- just skipping            19           MS. KEARSE: Object to form.
    20   down for a second -- refers to Medicaid and       20        Q. -- for the opioid epidemic in
    21   Medicare, and it talks about grading hospitals    21   Summit County?
    22   and physicians.                                   22           MS. KEARSE: Object to form.
    23           Do you see that?                          23        A. Can -- can you ask me the first
    24       A. Yes.                                       24   part of that question again?
    25       Q. Is that what you were referring to         25        Q. Sure. Do you believe that
                                                                                         75 (Pages 294 - 297)
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                                                  Page 298                                                 Page 300
     1   unscrupulous individuals who have run or run         1   part responsible.
     2   pill mills have responsibility for the opioid        2        Q. And -- and to what extent would you
     3   epidemic in Summit County?                           3   ascribe responsibility for the opioid epidemic
     4           MS. KEARSE: Object to form.                  4   in Summit County to a broader cultural mindset
     5        A. In part, yes.                                5   about the use of prescription medications?
     6        Q. How so?                                      6            MS. KEARSE: Object to form.
     7        A. That when they flood the market              7        A. Because -- because all of these
     8   with medications, they're feeding the problem.       8   factors are linked to one another, I think that
     9   And -- and once -- once they're removed from         9   you could make the argument that aggressive
    10   the communities, then that leaves a void and        10   marketing, aggressive advertising of
    11   typically the dealers step in to fill that          11   pharmaceuticals create, in part, that culture.
    12   void.                                               12   So I -- I see that that culture is very much
    13        Q. Do you believe that drug dealers            13   a -- a product of the marketing campaigns.
    14   have responsibility for the opioid epidemic in      14        Q. And when you talk more broadly
    15   Summit County?                                      15   about the cultural mindset and marketing of
    16        A. In part, yes.                               16   pharmaceutical medications, are you talking
    17        Q. To what extent do you believe drug          17   about the marketing of prescription opioid
    18   dealers are responsible for the opioid epidemic     18   medications particularly, or are you talking
    19   in the County?                                      19   just generally about marketing of
    20        A. I couldn't assign a number or a             20   pharmaceutical products?
    21   percentage of responsibility.                       21            MS. KEARSE: Object to form.
    22        Q. How would you characterize the              22        A. I'm talking about the overall
    23   extent of the responsibility, even if you don't     23   culture, because I believe that that translates
    24   use a number?                                       24   irrespective of the issue for which you're
    25        A. They've been more than happy to             25   seeking treatment.
                                                  Page 299                                                 Page 301
     1   step in and fill the void.                           1       Q. Is it your view that pharmaceutical
     2       Q. Okay. How would -- how would you              2   manufacturers should not be permitted to
     3   characterize the -- the nature of their              3   advertise their products?
     4   contribution to the epidemic in Summit County?       4       A. That pharmaceutical companies
     5           MS. KEARSE: Object to form.                  5   should not be? I believe that -- I believe
     6       A. They've introduced more lethal and            6   that there should be some controls put on the
     7   more potent substances into the community.           7   information that's put out there.
     8       Q. Are you referring to fentanyl and             8       Q. Do you know if there already are
     9   carfentanil?                                         9   controls in place in terms of the information
    10       A. Yes.                                         10   that pharmaceuticals can use to advertise their
    11       Q. And are you referring to --                  11   products?
    12       A. And methamphetamine and other --             12       A. Evidently not enough.
    13   and other very potent drugs of abuse.               13       Q. So your view is there ought to be
    14       Q. And cocaine?                                 14   more controls than there currently are?
    15       A. Yes.                                         15       A. I think that's worth considering,
    16       Q. We talked earlier today a little             16   yes.
    17   bit about the cultural mindset of using pills.      17       Q. What additional controls do you
    18   Do you remember that?                               18   believe ought to be put in place in terms of
    19       A. Yes.                                         19   pharmaceutical manufacturers' marketing of
    20       Q. To what extent do you believe that           20   their products?
    21   a cultural mindset of taking prescription           21       A. I don't know. I guess I've never
    22   medicines to address pain is responsible for        22   thought about it until -- until being asked
    23   the opioid epidemic in Summit County?               23   about it.
    24       A. I think that that's -- that's --             24       Q. Okay. So you -- you don't have any
    25   they are -- that that cultural mindset is in        25   particular suggestions?
                                                                                            76 (Pages 298 - 301)
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                                                   Page 302                                                 Page 304
     1       A. I don't have anything that comes               1   ADM-centric entity. We really wanted it to be
     2   immediately to mind, no.                              2   owned by the community. But it became very
     3       Q. Okay. And you don't have any                   3   clear to us that nobody else in the community
     4   particular criticisms of the particular               4   was taking the mantle of responsibility, and so
     5   guidelines currently in place for the                 5   I felt as though we couldn't wait for somebody
     6   advertising of pharmaceutical products?               6   else to take responsibility, so we did.
     7       A. I'm not aware of the guidelines                7        Q. When did you first put out the
     8   that are currently in place.                          8   feelers in the community to try and assess
     9       Q. You mean you're not familiar with              9   whether or not others would be willing to form
    10   the guidelines?                                      10   this type of group?
    11       A. I'm not -- I'm not aware that there           11        A. Probably 2012 and the first part of
    12   are guidelines, and I'm not familiar with any        12   2013.
    13   guidelines that may exist.                           13        Q. And your -- your general sense was
    14       Q. Okay. You indicated a couple of               14   that there was a somewhat unenthusiastic
    15   times that Summit County set up this group           15   reaction?
    16   called the Opiate Task Force.                        16            MS. KEARSE: Object to form.
    17           Do you remember that?                        17        A. I think -- I think the way that I
    18       A. Yes.                                          18   looked at it was in assessing the capability of
    19       Q. Did I hear you right that that was            19   that organization to take that on left me to
    20   established in 2014?                                 20   decide that it probably wasn't going to happen.
    21       A. Yes.                                          21        Q. What was that organization? I'm
    22       Q. Why did Summit County establish the           22   not sure I caught that.
    23   Opiate Task Force?                                   23        A. I'm -- I'll have to -- I can't
    24       A. Because the community was seeing              24   remember the name of the organization just
    25   more and more of an impact. And as we                25   because of -- because I'm trying so hard to
                                                   Page 303                                                 Page 305
     1   interacted in our planning function with other        1   remember the name of the organization. Summit
     2   parts of our community, we were hearing more          2   County Community Partnership.
     3   and more about the impact of opiates in the           3        Q. Is that the name of the
     4   health care system, in other social service           4   organization?
     5   agencies, and so we felt as though a lot of the       5        A. That's the name of the
     6   issues that we were hearing about were a lot          6   organization. It just came to me.
     7   broader than what the ADM Board could tackle on       7        Q. Who runs that?
     8   its own within its -- its particular purview or       8        A. Darryl Brake.
     9   its particular scope of -- of work.                   9        Q. Why did you think that that entity
    10            So we felt as though we needed to           10   would be an appropriate place to house an
    11   bring in those other sectors of the community        11   Opiate Task Force?
    12   in a similar fashion as a community drug             12        A. Because they -- because they were
    13   coalition to try to address this so that we          13   not -- they were not staffed, and they did not
    14   could have a broader impact.                         14   appear to -- they did not appear to be moving
    15        Q. Why didn't Summit County or the              15   in a -- in a direction that would suggest that
    16   ADAMHS Board establish an Opiate Task Force          16   they were -- that they were capable of doing
    17   earlier than 2014?                                   17   that.
    18        A. We -- we wanted to establish it              18        Q. No. My question was why did you
    19   earlier. Initially we had courted our local          19   initially consider them to be a good
    20   drug abuse coalition, and they just didn't seem      20   candidate --
    21   to be able to get any traction on that, so we        21        A. Okay.
    22   determined that it was something that we wanted      22        Q. -- even if you concluded ultimately
    23   to do.                                               23   that they were not, to house the opiate task
    24            What we want- -- what we wanted to          24   force?
    25   avoid was that this would be seen as an              25        A. Because they were a community
                                                                                             77 (Pages 302 - 305)
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                                                 Page 306                                                  Page 308
     1   coalition, and a -- and a coalition engages all     1            MS. KEARSE: Object to form.
     2   the sectors of the community. So they already       2       A. Yes, I would say that it's very
     3   had a relationship with the business community,     3   multifaceted.
     4   with health care, with some of the others as        4       Q. And I know this is difficult, but
     5   part of the other work that they did.               5   if you were to allocate responsibility for the
     6       Q. To what extent do you assign                 6   various factors, individuals, entities that you
     7   responsibility to drug cartels and other            7   believe have contributed to the opioid abuse
     8   transnational criminal organizations for the        8   epidemic in Summit County, what factor would
     9   opioid epidemic in Summit County?                   9   you rank as number one?
    10            MS. KEARSE: Object to form.               10            MS. KEARSE: Object to form.
    11       A. How would I characterize their              11       A. Wow. I don't know.
    12   responsibility? Or how would I --                  12            I -- from -- from all things
    13       Q. That's one way of saying it. I              13   that -- that, you know, I've read about and all
    14   think I asked you to what extent do you assign     14   the information that's come to me, I believe
    15   responsibility to the cartels and the other        15   that had it not been for the number of
    16   international criminal organizations?              16   prescription pain medications that have been
    17            MS. KEARSE: Object to form.               17   distributed throughout the communities, and
    18       A. As I've said in -- to these types           18   particularly in some of the areas -- and again,
    19   of questions in the past, I think they played a    19   I go back to some of the reading that I've done
    20   role. I don't know that -- how I would rate        20   through Sam Quinones' Dreamland and others --
    21   their role in comparison to some of these other    21   that had those -- had those -- had those pill
    22   factors.                                           22   mills and those -- and those prescription pain
    23       Q. Okay. You do know that drug                 23   medications not been so widely available, that
    24   cartels and international criminal                 24   there may not have been a ready market waiting
    25   organizations have played a significant role in    25   for the -- the cartels to come in.
                                                 Page 307                                                  Page 309
     1   fueling the opioid epidemic in the United           1            So I would have to say that
     2   States, fair?                                       2   without -- without having a -- a ready market,
     3            MS. KEARSE: Object to form.                3   that the -- the pills really set the table for
     4       A. I -- I think that would be a                 4   that to occur.
     5   reasonable conclusion.                              5       Q. Okay. And -- and why is it that
     6       Q. And we've talked about a lot of              6   you think there were more pills in the
     7   things, contributing factors. We spent a lot        7   communities? You talked about the -- the
     8   of time today going through them.                   8   amount of pills in the -- in Summit County.
     9       A. Uh-huh.                                      9       A. Uh-huh.
    10       Q. Are there any contributing factors          10       Q. What are the factors that you think
    11   to the opioid epidemic in Summit County that       11   inform the -- the number of pills that you see?
    12   you believe we've not already discussed today      12       A. The factors that informed the
    13   that I've forgotten about or that have been on     13   number of pills?
    14   your mind?                                         14       Q. Yeah.
    15            MS. KEARSE: Object to form.               15       A. I don't know what you mean by that.
    16       A. None that come to mind.                     16       Q. Well, we've talked about a lot of
    17       Q. Okay. Do you agree that the opioid          17   things today. We've talked about changes of
    18   epidemic in the country, in Ohio, and in Summit    18   prescribing guidelines. We've talked about
    19   County is extraordinarily complex and              19   treating pain as the fifth vital sign. We've
    20   multifaceted?                                      20   talked about diversion. We've talked about a
    21            MS. KEARSE: Object to form.               21   lot of things.
    22       A. I would agree that it is very               22            And so I'm just trying to
    23   complex.                                           23   understand, when you talk about there were
    24       Q. And do you agree that it's                  24   pills in the community, what is it that you
    25   extraordinarily multifaceted?                      25   think explains that?
                                                                                           78 (Pages 306 - 309)
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                                                 Page 310                                                  Page 312
     1            MS. KEARSE: Object to form.                1            MS. KEARSE: Object to form.
     2       A. Well, you know, all of those things          2       A. That's correct.
     3   I think play a role, but I think that the           3       Q. Is it possible for a licensed
     4   unscrupulous prescribers have -- certainly have     4   physician making a prescribing decision for a
     5   a role, but they would not have had access to       5   legitimate medical need to know in advance
     6   the medications to prescribe had it not been        6   whether or not an individual patient is
     7   for the drug companies that provided them           7   predisposed to the disease of addiction?
     8   inordinate -- exorbitant amounts of these pain      8       A. I believe that any prescriber
     9   medications for them to be able to prescribe.       9   should treat everyone with universal
    10       Q. Okay. Do you agree that to some             10   precautions just like we do with people with
    11   extent opioid abuse and the opioid epidemic in     11   HIV. You treat everybody with the idea that
    12   Summit County is due to the disease of             12   that person could be susceptible.
    13   addiction itself?                                  13       Q. I -- I guess my question still
    14            MS. KEARSE: Object to form.               14   stands, though. Do -- do you know whether or
    15       A. Do I believe that the opiate                15   not it's possible for a health care provider
    16   epidemic is due to the disease of addiction        16   making a prescribing decision about an
    17   itself?                                            17   individual patient to know in advance whether
    18            It's a -- it's a -- the disease of        18   or not that patient has a predisposition to the
    19   addiction is triggered by the substance.           19   disease of addiction?
    20   And -- and so certainly the person who's           20       A. I don't know that, whether that's
    21   susceptible to addiction, whether it's somebody    21   possible or not.
    22   who takes the first pill and they're on the        22       Q. Do you know, in terms of the
    23   road towards addiction, to the person that         23   overdose data in Summit County, what percentage
    24   builds up a tolerance and then finds themselves    24   of the toxicology reports find that individuals
    25   addicted, I think that, you know, those two        25   who have overdosed on opioids are also using
                                                 Page 311                                                  Page 313
     1   things work hand in hand.                        1      psychiatric medications?
     2       Q. Okay. I think you've talked about         2               MS. KEARSE: Object to form.
     3   addiction earlier today as a brain disease.      3          A. I've never -- I've never looked at
     4       A. Yes.                                      4      that to -- I've never looked at that, no.
     5       Q. Is that, in your view, a fair             5          Q. Okay.
     6   characterization?                                6               MS. KEARSE: Is this a good time
     7       A. That's a fair characterization,           7      for a break? I know we've been going an hour.
     8   yes.                                             8               MR. BOEHM: Sure.
     9       Q. And do you agree that some people         9               THE VIDEOGRAPHER: Off the record,
    10   are predisposed to the disease of addiction?    10      4:29.
    11       A. I believe that some people are           11               (A recess was taken.)
    12   predisposed to addiction.                       12               THE VIDEOGRAPHER: On the record,
    13       Q. And some people are not, right?          13      5:04.
    14       A. That's correct.                          14      BY MR. BOEHM:
    15       Q. And some people can use opioid           15          Q. Mr. Craig, welcome back from
    16   medications appropriately from a licensed       16      another of our breaks today.
    17   physician and never run any risk of becoming an 17               Do you agree that using
    18   addict just based on their -- they got the luck 18      prescription opioid medications under the care
    19   of the draw in terms of their biological        19      of a licensed physician for a legitimate
    20   makeup, fair?                                   20      medical need does not result in addiction or
    21           MS. KEARSE: Object to form.             21      substance abuse for the vast majority of
    22       A. I'd say that's fair.                     22      patients?
    23       Q. And other people aren't so lucky         23               MS. KEARSE: Object to form.
    24   and might have a predisposition toward          24          A. Yes.
    25   addiction, right?                               25          Q. You indicated earlier today your
                                                                                           79 (Pages 310 - 313)
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                                                   Page 314                                                 Page 316
     1   concerns with respect to, kind of, the amount         1        Q. And this is the federal kind of
     2   of opioids that were being prescribed, right?         2   umbrella organization for the state medical
     3       A. Yes.                                           3   boards. And you see that this document is a
     4       Q. And you kind of referred to that, I            4   model policy on the use of opioid analgesics in
     5   think to some extent, as overprescribing?             5   the treatment of chronic pain; do you see that?
     6       A. Yes.                                           6        A. Yes, I do see that.
     7       Q. Do you agree that individual                   7        Q. Have you ever seen this document
     8   prescribing decisions by licensed prescribers         8   before?
     9   are not made in relation to a particular              9        A. No, I have not.
    10   patient based on how much inventory of a             10        Q. Are you familiar with the
    11   prescription opioid medication there is or is        11   Federation of State Medical Boards?
    12   not at a pharmacy?                                   12        A. No, I am not.
    13           MS. KEARSE: Object to form.                  13        Q. Did you know that they have, over
    14       A. I'm going to ask you to repeat that           14   the course of time, propagated prescribing
    15   question again.                                      15   guidelines for the use of prescription opioids
    16       Q. Sure. Do you agree that individual            16   to treat pain, including chronic pain?
    17   prescribing decisions by licensed prescribers        17        A. I'm not aware of any of their
    18   are not made, on a patient basis, based on the       18   activities.
    19   amount or volume of a -- of a drug that's            19        Q. Okay. If you turn to page 8 of
    20   available at a neighborhood pharmacy?                20   this document, I'm going to direct your
    21           MS. KEARSE: Object to form.                  21   attention to a section entitled "Preventing
    22       A. I would agree with that statement.            22   Opioid Diversion and Abuse."
    23       Q. They base those decisions, as we              23            Do you see that?
    24   discussed earlier, based on individual               24            MS. KEARSE: Counsel, I think the
    25   case-by-case considerations related to the           25   witness has testified he's never seen this
                                                   Page 315                                                 Page 317
     1   patient, right?                                       1   document. I don't think there's any foundation
     2           MS. KEARSE: Object to form.                   2   to ask him questions about the document. It
     3       A. Yes.                                           3   speaks for itself.
     4               - - - - -                                 4       Q. Do you see that section of the
     5           (Thereupon, Deposition Exhibit 20,            5   document?
     6           Federation of State Medical Boards            6           MS. KEARSE: Objection.
     7           Model Policy on the Use of Opioid             7       A. Yes, I do.
     8           Analgesics in the Treatment of                8       Q. Okay. If you go to the third
     9           Chronic Pain, July 2013,                      9   paragraph of that section, the first sentence
    10           SUMMIT_001233672 to 001233700, was           10   says, "The board will judge the validity of the
    11           marked for purposes of                       11   physician's treatment of a patient on the basis
    12           identification.)                             12   of available documentation rather than solely
    13               - - - - -                                13   on the quantity and duration of medication
    14       Q. I'm going to mark the next exhibit            14   administered."
    15   here as Exhibit 20 for your deposition. I'm          15           Do you see that?
    16   handing it to you now.                               16       A. Yes.
    17           MR. BOEHM: And, Anne, there's a              17       Q. Do you agree that the quantity and
    18   copy for you.                                        18   duration of prescription opioids alone cannot
    19       Q. This is a July 2013 document from             19   determine the validity of an individual
    20   the Federation of State Medical Boards. Do you       20   prescribing decision by a licensed physician?
    21   see that?                                            21           MS. KEARSE: Object to form.
    22       A. I do see that.                                22   Improper question.
    23       Q. We talked earlier about the Ohio              23       A. I -- I'm not a -- I'm not a medical
    24   medical board?                                       24   practitioner, so I don't really -- I don't know
    25       A. Yes.                                          25   that I'm qualified to -- to have an opinion
                                                                                             80 (Pages 314 - 317)
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                                                 Page 318                                                   Page 320
     1   about that.                                         1   prescription opioid medications that are used
     2       Q. Uh-huh. And you indicated earlier            2   by individuals for reasons other than a
     3   today you're not familiar with any of the           3   legitimate medical need --
     4   federal agencies or specific regulations in         4            MS. KEARSE: Object to form.
     5   place to set quotas for the amount of               5        Q. -- are --
     6   controlled substances, including prescription       6            MS. KEARSE: Oh, sorry.
     7   opioids, that are made available in the United      7        Q. -- come from a legitimate
     8   States, correct?                                    8   prescription from a licensed physician to the
     9       A. That's correct.                              9   individual who is misusing the drug?
    10       Q. And you're not familiar with any of         10        A. I have no way of knowing that.
    11   the specific federal regulations or agencies       11        Q. Why don't you have any way of
    12   that govern the distribution of controlled         12   knowing that?
    13   substances, including prescription opioids,        13        A. Because I don't -- because it falls
    14   true?                                              14   outside the scope of -- of the work that we do
    15       A. That's correct.                             15   at the board. We don't investigate the -- we
    16       Q. And you agree that in order to              16   don't investigate the sources and -- and
    17   assess whether or not a physician is               17   medical -- medical -- we don't -- we don't --
    18   overprescribing, you have to take into account     18   it just falls outside of our domain.
    19   case-by-case, patient-specific factors, right?     19        Q. Have you ever seen any data that
    20           MS. KEARSE: Object to form.                20   would give you insight into the question of
    21       A. Yes.                                        21   what percentage of prescription opioid pills
    22       Q. All right. You can set that one             22   that are being used or misused for reasons
    23   aside.                                             23   other than a legitimate medical need come from
    24           Going back just for a moment to our        24   a legitimate prescription from a licensed
    25   earlier discussion about the claims data that      25   prescriber to the individual who is misusing
                                                 Page 319                                                   Page 321
     1   you have available, we talked about the fact        1   that drug?
     2   that you can't really distinguish between           2           MS. KEARSE: Object to form.
     3   prescription opioids and illicit opioids in         3       A. No. I don't have access to any of
     4   terms of assessing those data.                      4   that kind of data.
     5           Is that also true with respect to           5           MR. BOEHM: Okay. I'm going to
     6   differentiating as between different types of       6   mark this next document as Exhibit 21.
     7   prescription opioids?                               7              - - - - -
     8       A. All our claims data show us is               8           (Thereupon, Deposition Exhibit 21,
     9   whether or not an opioid was involved.              9           3/22/2016 E-Mail Re: The Recorder:
    10       Q. It doesn't say whether it's                 10           Missing Mark on Addiction,
    11   prescription or illicit, right?                    11           SUMMIT_001039666 to 001039667, was
    12       A. Our claims data only states the             12           marked for purposes of
    13   classification of the -- of the substance.         13           identification.)
    14       Q. Does your claims data allow you to          14              - - - - -
    15   determine, to the extent a substance was a         15       Q. This is a document that was
    16   prescription opioid, where that particular         16   produced to us by your lawyers here. And it
    17   prescription was filled?                           17   looks like it's cut-and-paste of an article
    18       A. If we don't know whether or not it          18   from a publication called The Recorder.
    19   was a prescription pain medication from our        19   "Missing Mark on Addiction."
    20   claims data, then, by extension, we wouldn't       20           Do you see that?
    21   know where it was filled.                          21       A. Uh-huh.
    22       Q. And by extension, you wouldn't know         22       Q. If you look in the third paragraph
    23   which physician prescribed it?                     23   of this March 20, 2016, article, the third
    24       A. That's correct.                             24   sentence says, "Most, 80 percent, of pills used
    25       Q. Do you know what percentage of              25   for a person's addiction don't come from a

                                                                                            81 (Pages 318 - 321)
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                                                   Page 322                                                 Page 324
     1   legitimate prescription; they come for                1       Q. Okay. You understand that in
     2   diversion."                                           2   Summit County, as in Ohio, as in the United
     3            Do you see that?                             3   States, that the fentanyl that's being detected
     4       A. Yes, I see that.                               4   in toxicology reports of overdose victims is
     5       Q. Is that true with respect to the               5   almost exclusively illicitly manufactured
     6   percentage of pills used for a person's               6   fentanyl, oftentimes from China and Mexico?
     7   addiction in Summit County?                           7            MS. KEARSE: Object to form.
     8       A. I don't know.                                  8       A. Yes.
     9       Q. Do you have any reason to question             9       Q. And here in the next paragraph, if
    10   that statistic based on what you do know about       10   you keep going down the article, this
    11   the opioid epidemic in Summit County?                11   individual says, "I'm seeing people whose first
    12            MS. KEARSE: Object to form.                 12   drug was heroin. They did not have a pill
    13       A. I'm sorry. Can you ask that                   13   problem."
    14   question again, please?                              14       A. I'm sorry --
    15       Q. Do you have any reason to disagree            15       Q. It's the next paragraph down.
    16   with this statistics here, the 80 percent            16       A. From -- which par- -- can you give
    17   statistic --                                         17   me a number?
    18            MS. KEARSE: Object to form.                 18       Q. It begins, "For the time" -- "For
    19       Q. -- that's in this article, based on           19   the first time in 14 years."
    20   what you do know about the opiate epidemic in        20       A. Okay.
    21   Summit County?                                       21       Q. Now, do you see that this person is
    22            MS. KEARSE: The same objection.             22   saying they're seeing people whose first drug
    23       A. I don't have any reason to question           23   was heroin?
    24   this data.                                           24       A. Yes.
    25       Q. If you go to the next paragraph,              25       Q. And they did not have a pill
                                                   Page 323                                                 Page 325
     1   the last sentence says that, "The real killer         1   problem.
     2   is cheap, potent, often tainted heroin."              2            Are you seeing a similar phenomenon
     3            Do you see that?                             3   in Summit County in terms of trends of use and
     4       A. Yes, I see that.                               4   initiation of opioid addiction?
     5       Q. Is that something that you agree               5        A. We don't -- we don't track that.
     6   with insofar as it concerns Summit County?            6   We don't track that, so I would have no way of
     7            MS. KEARSE: Object to form.                  7   knowing.
     8       A. Opiates are the -- are the real                8            We use the national statistics as
     9   killer. I don't know. The -- the fentanyl             9   we become aware of them, and the national
    10   and -- and carfentanil have been the culprit in      10   statistics -- I think the latest that I've
    11   most of these fatalities.                            11   heard is that 83 percent of people who are
    12       Q. You say they have been, or you                12   using illicit drugs start with prescription
    13   don't know if they have --                           13   pain medications.
    14       A. They have been.                               14        Q. Do you agree that in Summit County
    15       Q. They have.                                    15   most first-time abusers of prescription opioids
    16       A. They have been, yes.                          16   obtain them from family or friends, not from a
    17       Q. Okay. For how many years have                 17   licensed physician?
    18   fentanyl and carfentanil been the primary            18            MS. KEARSE: Object to form.
    19   drivers of opioid-related overdose deaths in         19        A. Am I aware that that's the case?
    20   Summit County?                                       20        Q. Do you agree?
    21       A. I would say probably the last five            21        A. Do I agree? I don't know. I don't
    22   or six years, for sure. It's been present even       22   know that for a fact.
    23   before that, but I think the -- the -- that the      23        Q. Do you know who Lou LaMarca is?
    24   diverted fentanyl versus the street fentanyl, I      24        A. The name doesn't strike a chord.
    25   think, has become more and more prolific.            25        Q. Have you ever heard of the
                                                                                             82 (Pages 322 - 325)
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                                                   Page 326                                                 Page 328
     1   Community Assessment and Treatment Services?          1   to object to this line of question on a
     2       A. No.                                            2   document that he's never received that suggests
     3       Q. When you say "strike a chord," I               3   that he's on this e-mail chain --
     4   just want to make sure you mean doesn't ring a        4            MR. BOEHM: Okay.
     5   bell?                                                 5            MS. KEARSE: -- and it's a Cuyahoga
     6       A. It doesn't ring a bell. No, it                 6   exhibit.
     7   doesn't.                                              7            MR. BOEHM: Okay.
     8       Q. I didn't know if you just meant                8       Q. My question for you is in relation
     9   that --                                               9   to this very short e-mail from Mr. LaMarca --
    10       A. That was Ohio vernacular.                     10       A. Yes.
    11       Q. -- hearing the -- hearing the name            11       Q. -- in relation to this update that
    12   didn't make you angry or anything.                   12   he had received from Dr. Gilson.
    13           MR. BOEHM: Struggling to find a              13            And he says, "It is rare for one of
    14   place for this. I'm going to put this exhibit        14   our clients to have started with a medically
    15   sticker in the middle because I found some           15   necessary opioid prescription."
    16   space there. It's Exhibit 22.                        16            Do you see that?
    17               - - - - -                                17       A. I do see that.
    18           (Thereupon, Deposition Exhibit 22,           18       Q. Is that true with respect to what
    19           10/10/2017 E-Mail Chain Re: Update           19   you see in Summit County and what you have seen
    20           from Dr. Gilson, CUYAH_002049206 to          20   in Summit County?
    21           002048210, was marked for purposes           21       A. Like I said, before, we don't track
    22           of identification.)                          22   that information. And our Oriana House has
    23               - - - - -                                23   tracked that information in the past and -- and
    24       Q. It's an October 2017 e-mail from              24   has provided us some data, but that was several
    25   Lou LaMarca. And he says -- well, we can             25   years ago.
                                                   Page 327                                                 Page 329
     1   actually go down a little bit.                        1        Q. Okay. Receiving a pill for a
     2            Do you know here today in Summit             2   prescription opioid that didn't come from a
     3   County the extent to which individuals                3   doctor but come -- came from family or friends
     4   suffering from opiate use disorder have               4   or from a drug dealer on the street or from
     5   initiated their opioid use with heroin or other       5   some other diverted source, like theft, that's
     6   illicit opioid?                                       6   not the same as obtaining a prescription pain
     7        A. No. We have no way of knowing                 7   medication from a licensed physician for a
     8   that.                                                 8   legitimate medical need, fair?
     9        Q. Okay.                                         9            MS. KEARSE: Object to form.
    10            MS. KEARSE: Counsel, I'm just               10        A. That's fair.
    11   going -- I know you've marked 22. Is this --         11        Q. Do you know the percentage of
    12   this is not a document that's come out of            12   first-time abusers of -- of prescription
    13   Summit County's file.                                13   opioids in Summit County who have obtained them
    14            MR. BOEHM: Correct. It's a                  14   from sources other than a licensed physician
    15   Cuyahoga County-produced document.                   15   for a legitimate medical need?
    16            MS. KEARSE: Right. And -- and the           16            MS. KEARSE: Object to form.
    17   witness has testified he doesn't even know who       17        A. I believe I already answered that.
    18   Lou LaMarca is, and I'm not sure that the            18   We don't track that information.
    19   witness was a recipient of this e-mail as well.      19        Q. Would there be any way for you to
    20            MR. BOEHM: Okay.                            20   try and figure that out based on the data
    21        Q. I just have --                               21   available to you?
    22            MR. BOEHM: Understood.                      22        A. We don't -- we don't capture that
    23        Q. I just have a quick question for             23   data anywhere in our system that I'm aware of.
    24   you about it, and then we'll keep moving.            24        Q. We talked earlier about
    25            MS. KEARSE: Okay. Well, I'm going           25   conversations you've had with the county

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                                                   Page 330                                                Page 332
     1   executive or people from the county executive's       1   inform some of their campaigning. And I'm
     2   office in connection with the opioid epidemic.        2   drawing a blank on the name of the individual.
     3   I want to ask you questions about the county          3           So there have been -- those are the
     4   council.                                              4   ones that I can recall at this point in time.
     5            Do you ever have communications              5              - - - - -
     6   with the Summit County Council about the opioid       6           (Thereupon, Deposition Exhibit 23,
     7   epidemic?                                             7           ADM Slide Deck Titled "The Opiate
     8       A. I've had conversations with council            8           Epidemic: Our Community Response",
     9   as a whole, and also with individual members,         9           was marked for purposes of
    10   yes.                                                 10           identification.)
    11       Q. When have you had those                       11              - - - - -
    12   conversations?                                       12           MR. BOEHM: Okay. I want to mark
    13       A. Periodically, we are called to                13   the next document as Exhibit 23. I'm giving
    14   present to council a financial picture of our        14   that to you now.
    15   agency, and also to offer any information that       15           And unfortunately this is a
    16   they might find helpful.                             16   document that was produced in native format,
    17            Typically, we're responding to a            17   and I do not know the -- if or what the Bates
    18   request for information of some sort. So the         18   number is, but I'm happy to see if we can track
    19   county council may reach out to me through           19   that down and supplement the record on that.
    20   their -- through their clerk and ask me to come      20       Q. But do you see that this is a slide
    21   and be prepared to talk about such-and-such an       21   deck for a presentation from the Summit County
    22   issue, so -- so we've done that.                     22   ADAMHS Board?
    23            And I also meet with individual             23       A. Yes.
    24   county council members on -- on about an             24       Q. Are you familiar with this
    25   every-other-month basis.                             25   particular slide deck?
                                                   Page 331                                                Page 333
     1       Q. And do you discuss with individual             1        A. It looks familiar to me. I
     2   county council members the opioid epidemic?           2   would -- I -- I believe that this is one that
     3       A. In part, along with a lot of the               3   possibly Dr. Smith used.
     4   other activities that the board's engaged in.         4        Q. Okay. Do you know if you've ever
     5       Q. Are there any county council                   5   used this slide deck?
     6   members who, from your perspective, have taken        6        A. I probably used parts of it, but
     7   a particular interest in issues related to the        7   not this specific slide deck, no.
     8   opioid epidemic in the county?                        8        Q. It's a little tricky because,
     9       A. By "particular interest," I'm not              9   again, we don't have page numbers --
    10   sure what you mean.                                  10        A. Sure.
    11       Q. I just mean that they've been more            11        Q. -- but we'll see if we can muddle
    12   active in wanting to communicate with you or         12   our way through it.
    13   asking questions, or, really, any involvement        13            I want to ask you questions in
    14   or interest in the epidemic in the county.           14   particular about -- oh, you're almost there.
    15       A. There have been a handful of county           15   It's the slide that says, "Typical Opiate
    16   council members over the years who have reached      16   Heroin Addict."
    17   out to me to get some education or -- or at          17        A. Uh-huh.
    18   least a better understanding of the issue, yes.      18        Q. "The Current Path to Heroin
    19       Q. Okay. And who are those council               19   Addiction." Do you see that?
    20   members?                                             20        A. Yes.
    21       A. Tamela Lee was -- was one person.             21        Q. And the first checkmark there says,
    22   Jeff Wilhite is somebody else.                       22   "Started on prescription pain medication a few
    23           Some individuals who are running             23   years ago for a legitimate injury."
    24   for county council who wanted to help -- were        24            Do you see that?
    25   interested in learning more about this to help       25        A. Yes, I do.
                                                                                            84 (Pages 330 - 333)
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                                                 Page 334                                               Page 336
     1       Q. I think you testified -- I just              1       Q. But ultimately you did decide it
     2   want to make sure I understand -- that in           2   was important to have that, right?
     3   Summit County you actually don't track              3       A. The Opiate Task Force decided that
     4   information and can't really provide                4   that would be a good metric to see whether or
     5   information about whether or not it's most          5   not we're making progress in trying to impact
     6   common for somebody to initiate the use of          6   this particular aspect of the -- of the
     7   opioids, prescription or not, based on a            7   epidemic, yes.
     8   legitimate prescription for a legitimate            8       Q. Not just making progress, but also
     9   medical need, right?                                9   to understand better what substances were being
    10       A. Yes, I did.                                 10   used and abused in Summit County, right?
    11           MS. KEARSE: Object to form.                11           MS. KEARSE: Object to form.
    12       Q. And do you -- and do you stand by           12       A. I think that was a -- I think that
    13   that testimony, notwithstanding this               13   was a secondary benefit of collecting that
    14   characterization in this particular slide?         14   information.
    15       A. Yes.                                        15       Q. And it's been useful, for example,
    16       Q. And you don't know what data, if            16   to know that it's been fentanyl and carfentanil
    17   any, were used to back up the statement that's     17   that have been the primary drivers of overdose
    18   presented in the first checkmark on this slide?    18   death in Summit County, because you know that
    19       A. I do not.                                   19   from looking at the overdose data from the
    20       Q. Okay. Do you know if, in Summit             20   medical examiner's office, right?
    21   County, opioid-related overdose deaths are         21       A. Yes.
    22   categorized as between prescription opioids and    22       Q. Have you ever read the President's
    23   non-prescription, illegal, illicit opioids?        23   Commission report on the opioid epidemic?
    24       A. I don't know that.                          24       A. Which president are you talking
    25       Q. When did you start paying attention         25   about? President Trump?
                                                 Page 335                                               Page 337
     1   to overdose death data from the Summit County       1        Q. I believe that President Trump
     2   office of the medical examiner?                     2   established a committee to -- to look into the
     3            MS. KEARSE: Object to form. Asked          3   opioid epidemic, and that committee prepared a
     4   and answered.                                       4   report. It was chaired by Governor Chris
     5       A. Sometime after 2014. During or               5   Christie.
     6   after 2014.                                         6            Are you familiar with that?
     7       Q. When you noticed the burgeoning              7        A. I am familiar with that. I'm
     8   opiate population that we talked about earlier      8   familiar with the report. I don't know -- I
     9   in July -- that was referenced in July 2011,        9   don't know if I actually looked at the report
    10   did you, at that time, consider communicating      10   itself or not.
    11   in any way with the office of medical examiner     11        Q. You're not sure whether or not
    12   to better understand the information that was      12   you've ever read the report?
    13   coming from there?                                 13        A. That's -- that's correct.
    14       A. No.                                         14        Q. Do you have any recollection,
    15       Q. Do you agree that it would have             15   sitting here today, that you've ever read the
    16   been helpful for you to have been aware and had    16   report from the President's Commission?
    17   access to overdose data from the medical           17        A. I don't know that I've read the
    18   examiner's office for Summit County?               18   report itself. We may have talked about some
    19       A. Not within the scope of our                 19   things that were in the report in different --
    20   responsibility, no.                                20   different professional settings, but I -- I
    21       Q. Okay. Why not?                              21   cannot recall actually reading the report.
    22       A. Because we were trying to gauge             22        Q. Why didn't you read the report when
    23   the -- the demand and capacity for treatment,      23   it came out?
    24   and looking at overdose data really wouldn't       24            MS. KEARSE: Object to form.
    25   help us to gauge the demand for treatment.         25        A. Because I didn't feel it would be a
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                                                  Page 338                                                 Page 340
     1   good use of my time.                                 1       A. Yes.
     2       Q. Why not?                                      2       Q. And my question to you is whether
     3       A. Because I was pressed with other              3   or not you're somebody who typically relies on
     4   things that we were trying to get done in the        4   media reports rather than on the primary
     5   community.                                           5   sources of information relevant to the job you
     6               - - - - -                                6   do in Summit County, and, in particular, as it
     7           (Thereupon, Deposition Exhibit 24,           7   concerns the opioid epidemic?
     8           1/21/2011 Document Titled "Craig's           8           MS. KEARSE: Objection to form.
     9           List," SUMMIT_001233282 to                   9       A. Is that a question?
    10           001233283, was marked for purposes          10       Q. It is.
    11           of identification.)                         11       A. If I -- if I primarily rely on
    12               - - - - -                               12   media reports in Summit County to inform the
    13       Q. Is it fair to say that you believed          13   work that we do at the ADM Board?
    14   you had higher priorities, based on your            14       Q. If -- if you're someone who
    15   overall responsibilities as the head of the         15   typically relies on media accounts rather than
    16   Summit County ADAMHS Board, than reading the        16   primary sources of information insofar as it
    17   President's Commission report on combatting         17   concerns the opiate epidemic.
    18   drug addiction and the opioid crisis?               18       A. No, I don't primarily rely on media
    19       A. Yes. Now, I did -- I did read                19   reports.
    20   newspaper accounts of the report, and there         20           As I said before, there are --
    21   wasn't anything in there that I felt would be       21   there are some things that I read and I -- and
    22   particularly -- there was nothing in those          22   information that I -- that I pick up that is --
    23   accounts that compelled me to read the report.      23   that sources data, and I will often go back to
    24       Q. Are you somebody who typically               24   that data source to -- to see where it came
    25   trusts media reports over primary sources of        25   from and to check the legitimacy of -- of that
                                                  Page 339                                                 Page 341
     1   information?                                         1   information.
     2            MS. KEARSE: Object to form.                 2       Q. Okay. So as you sit here today,
     3       A. No, not necessarily. But I think              3   having not read the report from the President's
     4   that, you know, as part of an overall -- an          4   Commission, you can't say whether or not
     5   overarching -- an overarching summary of the         5   there's anything in particular that you
     6   information, I think the media generally does a      6   disagree with or that you agree with; is that
     7   pretty good job of -- of summarizing at least        7   fair?
     8   the high points.                                     8       A. That would be fair.
     9       Q. In this case, with respect to the             9       Q. I'm directing your attention, now,
    10   President's Commission report on the opioid         10   to this document marked as Exhibit 24 to your
    11   epidemic, you chose to rely on media reports        11   deposition. It's dated January 21, 2011, and
    12   rather than to review the primary source; is        12   this is one of these newsletters that you refer
    13   that fair?                                          13   to as "Craig's List," right?
    14            MS. KEARSE: Object to form.                14       A. Yes.
    15   Mischaracterizes testimony.                         15       Q. And the title -- what's the title
    16       A. Not -- not necessarily. But I                16   of this particular weekly newsletter?
    17   did -- I did read, so I wasn't totally              17       A. "The Opiate Epidemic."
    18   unfamiliar with the -- with the contents of the     18       Q. Did you come up with the title for
    19   president's report.                                 19   your weekly newsletter, or did somebody write
    20       Q. You didn't read the report, right?           20   this for you?
    21       A. I did not read the report.                   21       A. That was me.
    22       Q. You read media reports and you               22       Q. Certainly by January 21, 2011, it
    23   relied on the media reports for your                23   was your view that there was an opioid epidemic
    24   understanding of what the report contained,         24   in Summit County, right?
    25   right?                                              25            MS. KEARSE: Object to form.
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                                                   Page 342                                                 Page 344
     1        A. That's what I entitled the form,              1       Q. When you -- in and around January
     2   yes.                                                  2   of 2011, for example, when you put out your
     3        Q. And you don't disagree with that,             3   weekly newsletter titled "The Opiate Epidemic,"
     4   sitting here today, right?                            4   did you, in or around that time, consider OARRS
     5        A. That I don't disagree with what?              5   data as part of your investigation and analysis
     6        Q. That there was in your view, as of            6   of the causes of the opioid epidemic in Summit
     7   at least January 21, 2011, an opiate epidemic         7   County?
     8   in Summit County.                                     8           MS. KEARSE: Object --
     9            MS. KEARSE: Object to form.                  9       A. I don't -- I don't believe so. I
    10        A. That's the term I used to describe           10   don't believe that we began to use OARRS data
    11   the -- the opiate problem, yes.                      11   in an intentional way until we established the
    12        Q. And I'm asking whether or not,               12   Opiate Task Force.
    13   sitting here today in early 2019, you some- --       13       Q. Why didn't you consider using OARRS
    14   you think you somehow got it wrong when in           14   data before the establishment of the Opiate
    15   January 2011 you called -- you titled this           15   Task Force here in Summit County?
    16   document "The Opiate Epidemic."                      16       A. Because it was a result of my
    17        A. Do I think that I got it wrong? I            17   involvement in the Opiate Task Force where I
    18   called it -- I called it what I called it.           18   began to understand and appreciate the
    19        Q. Let me say --                                19   information that was available on the OARRS
    20        A. I called it what I -- I did call it          20   website.
    21   "The Opiate Epidemic," if that's what you're         21           Prior to that, I knew that there
    22   asking me.                                           22   was an automated prescription reporting system,
    23        Q. And it's fair to say --                      23   but I wasn't aware that there were actually
    24        A. I wrote that. It's -- it's my                24   reports that were available publicly.
    25   language. I'm the one that put "epidemic" in         25       Q. Okay. You actually were getting
                                                   Page 343                                                 Page 345
     1   there, yes.                                           1   automated reports from the OARRS system before
     2       Q. And you stand by it?                           2   the establishment of the Opiate Task Force in
     3       A. Yes.                                           3   Summit County, true?
     4       Q. Are you familiar with OARRS?                   4        A. It's possible.
     5       A. Yes, I am.                                     5        Q. And you can't say, sitting here
     6       Q. What is OARRS?                                 6   today, when you started receiving data and
     7       A. It's a mechanism by which the                  7   reports from the OARRS system?
     8   prescribing of certain drugs are tracked              8        A. No, I can't. I don't -- I don't
     9   through a state-run system that can be accessed       9   recall.
    10   by prescribers and other authorized                  10        Q. And you don't recall when or if
    11   individuals.                                         11   ADAMHS Board had access to data from OARRS?
    12       Q. Do you know when OARRS was                    12        A. I don't know when we had -- when we
    13   established?                                         13   became aware that we had access to that system.
    14       A. I'm not -- I'm not entirely sure              14           And again, I'm speaking only for
    15   when.                                                15   myself. My staff may have known, but I was not
    16       Q. Do you agree that ADAMHS Board for            16   aware.
    17   Summit County has had access to OARRS data at        17        Q. Okay. Do you recall a time when
    18   least since the time that you joined ADAMHS in       18   you first became aware that you had access to
    19   2007?                                                19   OARRS data?
    20       A. I'm not sure at what point I became           20        A. I can tell you that when we
    21   aware that we had access to OARRS data. I know       21   established the Opiate Task Force, we -- at our
    22   that I became aware as a result of our               22   first meeting we had a rather robust discussion
    23   discussions through the task force and possibly      23   about the OARRS data and how that data could be
    24   earlier, but I don't -- I don't know when I          24   helpful to us.
    25   became aware of OARRS data being available.          25        Q. Okay. Who led that conversation?

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                                                    Page 346                                                 Page 348
     1       A. I don't know if it was Dr. Smith or             1        Q. Well --
     2   Orman Hall, but both of them were at that              2        A. So while we've received these
     3   meeting, and there was discussion about it.            3   reports from the OARRS system, I don't know
     4               - - - - -                                  4   that that necessarily meant that we had access
     5           (Thereupon, Deposition Exhibit 25,             5   to anything further than that.
     6           10/22/2013 E-Mail Re: OARRS                    6        Q. Okay. You switched it up a little
     7           Quarterly Statistics for Summit                7   bit --
     8           County, with Attachment,                       8        A. Okay.
     9           SUMMIT-001017988, was marked for               9        Q. -- by throwing in the online thing.
    10           purposes of identification.)                  10           I'm asking you just generally, do
    11               - - - - -                                 11   you know whether or not you had access to OARRS
    12       Q. I'm giving you a document marked as            12   data in 2006?
    13   Exhibit 25 to this deposition that was produced       13           Goodness, I remember a time in our
    14   by your lawyers.                                      14   lives when there was no online and we had to
    15           And do you see this is an example             15   get data in the old-fashioned way.
    16   of an automatically generated report --               16           So setting aside the online part,
    17       A. Yes.                                           17   my question to you is whether or not you know
    18       Q. -- from the OARRS system sent                  18   whether or not the ADAMHS Board in Summit
    19   directly to you as the head of the Summit             19   County had access to OARRS data going back to
    20   County ADAMHS Board, right?                           20   2006, or certainly earlier than October 2013,
    21       A. Yes.                                           21   the date of this e-mail?
    22       Q. Okay. And this was sent in October             22           MS. KEARSE: Object to form.
    23   2013?                                                 23   Twice.
    24       A. Yes.                                           24        A. I don't know -- I don't know when I
    25       Q. Was this before or after the                   25   knew that the OARRS data was available, when I
                                                    Page 347                                                 Page 349
     1   establishment of the Summit County Opiate Task         1   first became aware of that.
     2   Force?                                                 2        Q. Okay. This particular report from
     3        A. It was roughly six months before.              3   October 2013, you can tell it's automatically
     4        Q. And it says here, "Dear Executive              4   generated, right?
     5   Director, attached to this e-mail is the               5        A. I don't know how it's generated.
     6   quarterly statistical report for your county           6        Q. Okay. Well, it says Ohio Automated
     7   from the Ohio State Board of Pharmacy."                7   Prescription Reporting System.
     8           Do you see that?                               8        A. Right.
     9        A. Yes, I do.                                     9        Q. Right. And then you have kind of a
    10        Q. And the next paragraph says that              10   form e-mail, it looks like. Do you see that?
    11   the OARRS system was established in 2006. Do          11        A. I do see that.
    12   you see that?                                         12        Q. Do you recall getting other
    13        A. I do see that.                                13   automated quarterly reports from the OARRS
    14        Q. Do you dispute the fact that Summit           14   system?
    15   County and the ADAMHS Board could have had            15        A. I don't. I don't remember.
    16   access to data from the OARRS system starting         16        Q. Is sitting here right now the first
    17   in 2006?                                              17   time you remember ever having -- or let me back
    18           MS. KEARSE: Object to form.                   18   up.
    19        A. So what this document demonstrates            19           As you sit here today, do you
    20   is that we were sent information from OARRS,          20   remember having ever received this or any other
    21   which is -- you know, obviously that's the            21   report from the OARRS system?
    22   case. But it doesn't describe in here anywhere        22        A. I can say that having seen this, it
    23   that I'm seeing that it describes that we would       23   looks familiar, but I don't have -- I can't
    24   have access to data -- additional data online.        24   draw a recollection of being able to see this
    25   So I don't know that --                               25   report on a regular basis.
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                                                Page 350                                                 Page 352
     1       Q. Did you ever endeavor to use data           1   increase? Let me -- let me strike that. That
     2   from the OARRS system to try and better            2   was clunky. I'm going to try this again and
     3   understand the opioid epidemic in Summit           3   see if I do any better.
     4   County?                                            4             Do you know, in Summit County, when
     5       A. Only in the context of our data             5   the number of prescriptions for FDA-approved
     6   dashboard for the Opiate Task Force.               6   opioid medications began to go upward?
     7       Q. Describe that. In what respects             7        A. Not specifically, no.
     8   did you use OARRS data in the context of your      8        Q. Do you know generally?
     9   data dashboard?                                    9        A. I -- just trying to think in my
    10       A. We used -- we used the OARRS data          10   mind's eye as I -- some of the charts that I've
    11   to -- to be able to track, over time, the         11   seen that show an increase through the '90s.
    12   number of opiates dispensed per capita.           12        Q. Did you know, when you joined the
    13       Q. And that's information that's              13   ADAMHS Board in 2007, that the amount of opioid
    14   actually here in this October 2013 report,        14   prescribing being done by physicians was
    15   right?                                            15   increasing in Summit County and elsewhere?
    16       A. Yes.                                       16             MS. KEARSE: Object to form.
    17       Q. This report is telling you the             17        A. No, I did not.
    18   number of doses dispensed overall in the          18        Q. When did you first learn that the
    19   county, right?                                    19   amount of prescribing of FDA-approved opioid
    20       A. Yes.                                       20   medications was increasing in Summit County?
    21       Q. It's telling you the number of             21        A. I don't know when I became aware of
    22   doses dispensed per patient, right?               22   it. I -- I saw a lot of data from -- in a lot
    23       A. Yes.                                       23   of different venues, so -- and I can't pinpoint
    24       Q. And it's telling you the number of         24   when I first became aware of that.
    25   doses dispensed per capita?                       25        Q. Do you know whether Summit County
                                                Page 351                                                 Page 353
     1        A. Yes.                                    1      classifies fentanyl-related overdose deaths as
     2        Q. So you're getting all that              2      prescription opioid deaths?
     3   information in -- in this automatically         3          A. I don't know. I would have to ask
     4   generated report, fair?                         4      the medical examiner.
     5        A. On a quarterly basis. It looks          5          Q. Have you ever asked the medical
     6   like that's the case.                           6      examiner's office about that?
     7        Q. Did you or anybody else from the        7          A. I have not.
     8   Summit County ADAMHS Board ever use data from 8            Q. Do you know if there's ever been a
     9   OARRS in presentations to the public or other   9      time when the Summit County Medical Examiner's
    10   individuals about the opioid epidemic in the   10      Office has classified overdoses from illicit
    11   county?                                        11      fentanyl as a prescription opioid death?
    12        A. Yes, I'm sure we did.                  12          A. I would have no way of knowing
    13        Q. Do you agree that the OARRS system     13      that.
    14   is a mechanism to monitor misuse and diversion 14          Q. Why do you say you would have no
    15   of controlled substances?                      15      way of knowing that?
    16        A. Yes, I would agree that that's the     16          A. Because I'm not involved in
    17   case.                                          17      day-to-day discussions or conversations with
    18        Q. And it's also a system that let's      18      the medical examiner to analyze her data. That
    19   you know the volume of prescription opioids    19      may be a better question for Eric Hutzell.
    20   that are being prescribed in Summit County,    20              MR. BOEHM: If you guys don't mind,
    21   right?                                         21      let me take a break and get a little more
    22        A. Yes.                                   22      organized as we head down the stretch. Does
    23        Q. Do you recall or do you know when      23      that work?
    24   in Summit County the volume of prescription    24              MS. KEARSE: If that means you'll
    25   opioid -- of prescription opioids began to     25      be done sooner, yeah.

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                                                   Page 354                                               Page 356
     1           THE VIDEOGRAPHER: Off the record, 1               system was replaced with the current system,
     2   5:49.                                            2        did all of the data from the predecessor system
     3            (A recess was taken.)                   3        get migrated over to the current system?
     4           THE VIDEOGRAPHER: We're on the 4                      A. I believe so.
     5   record, 6:20.                                    5            Q. Okay. Is there any data in the
     6   BY MR. BOEHM:                                    6        predecessor system that's not contained in the
     7       Q. Great. We're back from another            7        current system?
     8   break, Mr. Craig.                                8            A. No. No.
     9           Earlier today and several times          9            Q. Would we need to talk to
    10   over the course of the day, we've talked about 10         Ms. Peivich in order to confirm that?
    11   these claims data that you all have at ADAMHS. 11             A. I think Nick Veauthier, who's our
    12   Do you remember that?                           12        IT specialist, would probably be in a better
    13       A. Yes.                                     13        position to talk about what types of data we
    14       Q. And I asked you whether or not you       14        have now versus the type of data we had before.
    15   knew the names of the software or databases     15                My -- my understanding is that we
    16   that are used to store the claims data?         16        have the ability to track more data in our
    17       A. Yes.                                     17        new -- in our new system than we had in our old
    18       Q. And I think you said that you            18        system.
    19   weren't sure?                                   19            Q. Okay. Which of the two systems did
    20       A. No. I know the name of the               20        you use for purposes of computing expenditures
    21   software.                                       21        that you believe are related to the opioid
    22       Q. What's the name of the software?         22        epidemic in -- in Summit County, or did you use
    23       A. It's -- it's called GOSH. And we         23        both?
    24   also have claims data that we've navigated over 24            A. I don't -- I don't know. I don't
    25   from an old claims system, which is called      25        know if we -- I don't know.
                                                   Page 355                                               Page 357
     1   MACSIS.                                               1       Q. Who would I have to ask about --
     2       Q. Okay.                                          2       A. You'd have to --
     3       A. Both of those are acronyms.                    3       Q. -- which systems were used for the
     4       Q. Are those the two systems that you             4   computation?
     5   all use to compute expenditures that you              5       A. You'd have to ask Nick.
     6   believe are related to opioid use disorder?           6       Q. Would Ms. Peivich know that as
     7       A. This -- this is the software that              7   well?
     8   we use to collect claims information for              8       A. Possibly.
     9   payment purposes and from which we pull claims        9       Q. Okay. Exhibit 2 is a document that
    10   data.                                                10   we marked and then didn't really spend any time
    11       Q. And you said that MACSIS -- is that           11   on, so I just wanted to very quickly go back to
    12   M-A-C-S-I-S?                                         12   it.
    13       A. Yes.                                          13       A. Okay.
    14       Q. You said that's the predecessor or            14       Q. You see that document?
    15   the current system?                                  15       A. I do see that document, yes.
    16       A. The predecessor.                              16       Q. And this was an exchange between
    17       Q. Okay. So -- and GOSH? Is that                 17   you and Ms. Walter from November of 2017?
    18   G-O-S-H?                                             18       A. Yes.
    19       A. Yes.                                          19       Q. Is this an e-mail exchange that you
    20       Q. Is that the current system?                   20   had with Ms. Walter?
    21       A. Yes.                                          21       A. Yes, it is.
    22       Q. When was the GOSH System put in               22       Q. Okay.
    23   place?                                               23           MR. BOEHM: I'm marking Exhibit 26
    24       A. Roughly two years ago.                        24   to your deposition, which is an e-mail exchange
    25       Q. At the time when the predecessor              25   from October of 2015.
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                                                   Page 358                                                   Page 360
     1                - - - - -                                1        Q. What does CDC stand for?
     2            (Thereupon, Deposition Exhibit 26,           2        A. Center for Disease Control and
     3            10/26/2015 E-Mail Chain Re: CDC              3   Prevention.
     4            Health Advisory - Fentanyl-Related           4        Q. And you indicate that your view is
     5            Overdose Fatalities,                         5   the report had been helpful in understanding
     6            SUMMIT_001029476 to 001029477, was           6   that this is not a diversion problem. Do you
     7            marked for purposes of                       7   recall what you meant by that?
     8            identification.)                             8        A. As it -- that -- yes, I do recall
     9                - - - - -                                9   what I meant by that. I think it was probably
    10       Q. And the e-mail exchange appears to            10   one of the first times that I was aware that
    11   be between yourself and Ms. Kim McMahan. Do          11   there was illicit fentanyl -- illicitly
    12   you see that?                                        12   produced fentanyl, synthetic fentanyl, for --
    13       A. Yes.                                          13   for lack a better way of saying it, in our
    14       Q. Who is Kim McMahan?                           14   community. And so -- so the fact that -- that
    15       A. She's a reporter and columnist for            15   we're seeing that in our community was a
    16   the Akron Beacon Journal. Since retired.             16   sobering fact.
    17       Q. Okay. In this October 26, 2015,               17        Q. And it says, "I was not aware that
    18   exchange, you write to Ms. McMahan at                18   it could be so easily manufactured."
    19   a.m., that "The report was helpful in                19        A. Yes.
    20   understanding that this is not a diversion           20        Q. And what did you mean by that?
    21   problem."                                            21        A. Just what I said. Just what I
    22            And I'll just note that the subject         22   said.
    23   of this e-mail exchange is "CDC health               23        Q. That it wasn't being made by
    24   advisory, fentanyl-related overdose                  24   pharmaceutical companies; it was being made by
    25   fatalities."                                         25   drug cartels, often in Mexico and China, right?
                                                   Page 359                                                   Page 361
     1           Did I get all that right?                     1            MS. KEARSE: Object to form.
     2       A. Yes.                                           2        A. I was -- and again, I don't -- I
     3       Q. Do you remember what this report               3   don't remember exactly what I was reacting to,
     4   was about?                                            4   but I think I was surprised that it could be
     5       A. I need to look at this and then I              5   manufactured in a laboratory.
     6   can -- I can tell you.                                6        Q. Okay. Independent of this
     7       Q. Sure.                                          7   exchange, you're aware that the fentanyl that's
     8       A. Let me just start at the beginning             8   largely being used in Summit County, and for
     9   here.                                                 9   that matter in other parts of the United
    10           Okay.                                        10   States, is largely being manufactured by
    11       Q. Okay. So I think my question was              11   cartels in other countries?
    12   whether or not you can tell us what this report      12            MS. KEARSE: Object to form.
    13   was about.                                           13        A. Yes. And I came to understand that
    14       A. I don't re- -- I don't recall. I              14   later as I -- as I looked into this a little
    15   can only look at it in the context of somebody       15   bit further.
    16   from public health sent me a health advisory,        16                - - - - -
    17   and we were reacting to the content of that.         17            (Thereupon, Deposition Exhibit 27,
    18       Q. Okay. And it looks like the                   18            March 2018 E-Mail Chain Re: Plan -
    19   advisory had to do with fentanyl-related             19            Progressive Opioid Event, with
    20   overdose fatalities?                                 20            Attachment, SUMMIT_001102842 to
    21       A. Yes.                                          21            001102843, was marked for purposes
    22       Q. Okay. And it was from the CDC?                22            of identification.)
    23       A. That's correct.                               23                - - - - -
    24       Q. Do you know what the CDC is?                  24        Q. This is now a document marked
    25       A. Yes.                                          25   Exhibit 27. It's an e-mail from March 2018,
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                                                  Page 362                                                  Page 364
     1   attached to which there is a slide deck.             1   particular statistic appears to come from the
     2           And this is something that you               2   CDC, and that was my question, whether or not
     3   received in March 2018, right?                       3   you had any data in Summit County on this same
     4       A. Yes.                                          4   subject.
     5       Q. And the title of this deck is, "The           5       A. No, we do not.
     6   Prescription Pill and Heroin/Fentanyl                6       Q. If you turn over a couple pages,
     7   Epidemic," right?                                    7   you see a slide that says, "From Prescription
     8       A. Yes.                                          8   Pills to Heroin: A New Epidemic."
     9       Q. Again, unfortunately this slide               9       A. Yes.
    10   deck does not come with numbers, but if you go      10       Q. And the first bullet point there
    11   to the fourth page you see --                       11   says, "By 2010, heroin is the number one drug
    12       A. The fourth total page or the fourth          12   threat in the United States."
    13   page of the slide deck?                             13            Do you see that?
    14       Q. Yeah. Thank you. Fourth page of              14       A. I do see that.
    15   the slide deck.                                     15       Q. Do you agree with that statement?
    16           You see --                                  16       A. I have no way of -- of evaluating
    17       A. "The Dealer in your Medicine                 17   that statement.
    18   Cabinet"? Yes.                                      18       Q. I'm really asking you, based on
    19       Q. Right. The title of this slide is            19   your position at the ADAMHS Board for Summit
    20   "The Dealer in your Medicine Cabinet."              20   County since 2007 and as its director since
    21           Do you know what that refers to?            21   2010, in that capacity, do you agree or
    22       A. Yes.                                         22   disagree with the statement that "By 2010,
    23       Q. What -- what is your understanding           23   heroin was the number one drug threat in the
    24   of that?                                            24   United States"?
    25       A. It refers to diversion.                      25            MS. KEARSE: Object to form.
                                                  Page 363                                                  Page 365
     1       Q. In other words, people taking                 1       A. And -- and I can tell you I don't
     2   medications that are not prescribed for them         2   really know. I don't know that.
     3   and using them for non-medical needs?                3       Q. It indicates here that "By 2010,
     4           MS. KEARSE: Object to form.                  4   large amounts of heroin were coming into the
     5       A. Yes, that's --                                5   United States from Mexico."
     6       Q. This particular slide indicates               6           Do you see that?
     7   that prescription drugs were the leading cause       7       A. I do see that.
     8   until 2012, when surpassed by heroin.                8       Q. Do you agree with that statement?
     9           Do you see that?                             9           MS. KEARSE: Object to form.
    10       A. Yes.                                         10       A. Again, I don't know. This is -- I
    11       Q. Is that consistent with your                 11   don't know that I can stipulate to this
    12   understanding of what's happened in Summit          12   information. I don't know the source of it,
    13   County?                                             13   and I don't know -- I can't confirm or -- or
    14           MS. KEARSE: Object to form.                 14   deny it.
    15       A. I don't -- I don't know where this           15       Q. Uh-huh. Have you ever undertaken
    16   information came from. I believe this is a          16   any effort to try and understand when in Summit
    17   slide deck that was used by one of the other        17   County large amounts of illicit heroin were
    18   presenters, so I don't have any -- he sources,      18   coming into the borders of the county?
    19   I guess, the Centers for Disease Control,           19           MS. KEARSE: Object to form.
    20   but --                                              20       A. No, I don't believe I have.
    21       Q. Yeah.                                        21       Q. Are you familiar with the term
    22       A. -- I don't have -- we don't have --          22   "black tar heroin"?
    23   I don't have access to any information in           23       A. Yes, I am.
    24   Summit County.                                      24       Q. Is that something that has shown up
    25       Q. Okay. Yeah, you're right. This               25   in Summit County?
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                                                   Page 366                                                Page 368
     1       A. I -- I don't recall reading               1                Do you see that?
     2   anything about black tar heroin in Summit        2            A. I do see that.
     3   County.                                          3            Q. Would you agree with that statement
     4       Q. So you don't know one way or              4        insofar as it concerns Summit County?
     5   another whether or not black tar heroin has, in  5                MS. KEARSE: Object to form.
     6   part, fueled the opiate epidemic in Summit       6            A. I -- I have no way of knowing.
     7   County?                                          7            Q. All right. If you skip down to the
     8           MS. KEARSE: Object to form.              8        bottom of the page, do you see it says, "Heroin
     9       A. I've read about black tar heroin in       9        and fentanyl are directly linked to Mexico
    10   the context of the Dreamland book. I know that 10         DTOs"?
    11   we get some reports from the Ohio Substance     11            A. Yes, I do see that.
    12   Abuse Monitoring Network that mentions that in 12             Q. Okay. Do you know what that means?
    13   terms of how available it is and in what        13            A. I don't know what DTOs are.
    14   form -- how available heroin is and in what     14            Q. Does drug trafficking organization
    15   form, but I don't have a -- a distinct          15        sound right to you?
    16   recollection.                                   16            A. That makes sense, yes.
    17       Q. Okay. As the head of the ADAMHS          17            Q. Is it your understanding that the
    18   Board since 2010, do you know whether or not 18           heroin and fentanyl that you see here in Summit
    19   black tar heroin has, in part, driven the       19        County is linked to Mexican and -- and drug
    20   opioid epidemic within Summit County?           20        trafficking organizations from other countries
    21           MS. KEARSE: Object to form. Asked 21              as well?
    22   and answered.                                   22                MS. KEARSE: Object to form.
    23       A. I don't know.                            23            A. I've come to understand that over
    24       Q. Have you ever asked anybody about        24        time, yes.
    25   that?                                           25            Q. And, in fact, if you skip over to
                                                   Page 367                                                Page 369
     1       A. From the information that I've seen            1   the next slide that's titled "The Fentanyl
     2   in the most recent OSAM reports, Ohio Substance       2   Threat" -- or maybe it's two slides on. I'm
     3   Abuse Monitoring Network, black tar heroin is         3   sorry.
     4   not typically one of the more prevalent --            4       A. Yes.
     5   prevalent forms of heroin.                            5       Q. There's reference to both fentanyl
     6       Q. What are the more prevalent forms              6   and then carfentanil, sometimes referred to as
     7   of heroin that you see in Summit County?              7   "China White," and synthetics.
     8       A. There are different                            8           Do you see that?
     9   characterizations. Sometimes it's                     9       A. Yes, I do.
    10   characterized by color. Sometimes it's               10       Q. And it says that those are produced
    11   characterized by consistency. I don't -- I           11   in Mexico and China and shipped to the United
    12   don't remember particularly, but there have          12   States. Do you see that?
    13   been certain news reports that have talked           13       A. I do see that.
    14   about heroin that appears to be like concrete        14       Q. And is that your understanding?
    15   or cement.                                           15           MS. KEARSE: Object to form.
    16            There have been some that have been         16       A. Is that my understanding that it's
    17   characterized to -- by its -- by its color           17   shipped from China? That's my understanding
    18   being pink, I believe. That's what I -- that's       18   based on reports from law enforcement, yes.
    19   what I recall just from sort of in my mind's         19       Q. And when you talk about reports
    20   eye, looking at those reports.                       20   from law enforcement, are you talking about
    21       Q. Okay. This slide deck indicates               21   from Summit County law enforcement?
    22   that the heroin that was coming into the United      22       A. I'm talking about from
    23   States from Mexico that represented the number       23   presentations that I've heard when I've done
    24   one drug threat to the United States had a           24   presentations with members from the DEA and
    25   direct link to terrorism.                            25   either some of our local law enforcement
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                                                 Page 370                                                Page 372
     1   agencies.                                           1        Q. So if you turn a few pages in, the
     2       Q. What presentations have you done             2   numbers are -- start at page 25, so you have to
     3   with the DEA?                                       3   get to page 31 to get to the section on heroin
     4       A. We did a -- we did a presen- -- I            4   and fentanyl.
     5   did a presentation in Barberton, and I did          5            Do you see that?
     6   another presentation in Twinsburg, where it was     6        A. 31 -- I'm sorry. Yes, I see that
     7   a panel presentation, and we looked at the          7   section.
     8   problem from a variety of perspectives.             8        Q. And then that section, as you're
     9               - - - - -                               9   familiar from having read these reports, they
    10            (Thereupon, Deposition Exhibit 28,        10   sometimes have information that they have
    11            OSAM Document Titled "Drug Abuse          11   done -- they provide information based on their
    12            Trends in the Akron-Canton Region,"       12   investigations and discussions with individuals
    13            Summit_001103531 to 001103554, was        13   in the community, right?
    14            marked for purposes of                    14        A. Yes, in part.
    15            identification.)                          15        Q. Right. And about halfway down that
    16               - - - - -                              16   first paragraph in the left-hand column of page
    17       Q. Okay. I'm giving you a document             17   31, under the heroin and fentanyl section, do
    18   that I've marked as Exhibit 28 --                  18   you see it says "Participants reported"?
    19       A. Yes.                                        19        A. I do see that.
    20       Q. -- for purposes of your deposition          20        Q. And then it says, "It's easier to
    21   here today.                                        21   find than weed." In other words marijuana.
    22            And it's a document from the Ohio         22            Do you see that?
    23   Substance Abuse Monitoring Network. Is that        23        A. I do see that.
    24   the organization that you just referenced not a    24        Q. And do you see that that's in
    25   couple minutes ago in your testimony?              25   reference to heroin?
                                                 Page 371                                                Page 373
     1       A. Yes.                                         1       A. Yes.
     2       Q. And you're familiar with these               2       Q. And it says, "80 percent of my
     3   periodic reports from the Ohio Substance Abuse      3   clients are on heroin." That's another report
     4   Monitoring Network?                                 4   there at the bottom.
     5       A. Yes, I am.                                   5            MS. KEARSE: Object to form.
     6       Q. Do you receive and read those when           6       A. It does say that, yes.
     7   they come in?                                       7       Q. Okay. Are those statements
     8       A. Yes, I do.                                   8   consistent with your understanding of what's
     9       Q. Okay. This particular report from            9   happening or has happened in Summit County?
    10   OSAM -- which is the acronym for that entity,      10   That it's easy to find heroin?
    11   right?                                             11            MS. KEARSE: Object to form.
    12       A. Correct.                                    12       A. These statements help to inform my
    13       Q. This particular report from OSAM is         13   understanding. So this -- these are, again,
    14   from January to June 2017.                         14   inputs into informing me about better
    15            Do you see that?                          15   understanding the problem.
    16       A. No. I'm looking for the date. Oh,           16       Q. Now, if you go a few pages in --
    17   there it is.                                       17   and this goes on for a while. If you go a few
    18       Q. The bottom.                                 18   more pages over, you'll see on page 34 there's
    19       A. Okay. Yes.                                  19   a section about prescription opioids.
    20       Q. And this concerns drug abuse trends         20            Do you see that?
    21   in the Akron/Canton region, right?                 21       A. Yes, I do.
    22       A. Yes, it is.                                 22       Q. And I want to direct your attention
    23       Q. And that's where we're here today,          23   to page 35. The final paragraph that starts --
    24   in Akron, right?                                   24   I'm sorry. It's the next to last paragraph in
    25       A. We are in Akron.                            25   the left-hand column of page 35 that begins,
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                                                Page 374                                                   Page 376
     1   "Participants and community professionals."        1   Ohio when it comes to drug overdose data?
     2           Do you see that?                           2       A. Yes, it is.
     3       A. I do see that.                              3       Q. Okay. And that's something you
     4       Q. It says, "Participants and                  4   have to get from the Ohio Department of Health;
     5   community professionals reported that the          5   you can't just go to your Summit County people,
     6   general availability of prescription opioids       6   right?
     7   has decreased during the last six months.          7       A. We go through the Ohio Department
     8   Participants stated the DEA really cracked down    8   of Health, CDC, and other sources, yes.
     9   on doctors."                                       9               - - - - -
    10           See that?                                 10           (Thereupon, Deposition Exhibit 29,
    11       A. I do see that.                             11           Ohio Department of Health Document
    12       Q. It goes on to say, "You almost have        12           Titled "2016 Ohio Drug Overdose
    13   to get your arm cut off to get them now."         13           Data: General Findings,"
    14           Do you see that?                          14           SUMMIT_001085401 to 001085408, was
    15       A. Yes.                                       15           marked for purposes of
    16       Q. And then it refers to stricter laws        16           identification.)
    17   and issues surrounding overprescribing.           17               - - - - -
    18           Do you see that?                          18       Q. All right. I'm going to show you
    19           MS. KEARSE: Object to form.               19   one of those reports from 2016. And I'm --
    20       A. Yes, I see that.                           20   I've marked it as Exhibit 29.
    21       Q. Are those statements consistent            21           It says, "Fentanyl and related
    22   with your understanding of the trends of opiate   22   drugs like carfentanil, as well as cocaine,
    23   use and abuse in Summit County --                 23   drove increase in overdose deaths."
    24           MS. KEARSE: Objection.                    24           Do you see that?
    25       Q. -- as between heroin and                   25       A. I see that.
                                                Page 375                                                   Page 377
     1   prescription opioids?                              1        Q. And we've -- we've talked about
     2        A. These statements help to inform my         2   fentanyl and carfentanil. Those are those
     3   understanding. I don't know that they're           3   illicit substances we were talking about
     4   consistent with my understanding. They help to     4   earlier, right?
     5   inform my understanding.                           5        A. Yes.
     6        Q. Are these statements inconsistent          6        Q. Okay. If you go down to the fourth
     7   with your understanding in terms of --             7   paragraph on this first page, do you see where
     8        A. These particular and my                    8   it says, "Fentanyl and related drugs were
     9   understanding at the time that I read these        9   involved in 58.2 percent of all unintentional
    10   or -- or now?                                     10   drug overdose deaths in 2016"?
    11        Q. As you sit here now.                      11        A. Yes, I do.
    12        A. As I sit here now, I wouldn't say         12        Q. Do you agree that that trend is
    13   it's inconsistent.                                13   consistent going back, actually, several years
    14        Q. Okay. Do you know that the Ohio           14   before 2016, that fentanyl and related drugs
    15   Department of Health issues periodic drug         15   are driving drug overdose deaths?
    16   overdose data reports?                            16        A. They certainly played a role, yes.
    17        A. Yes, I am.                                17        Q. Well, it played a role, but I'm
    18        Q. And are those reports that you            18   asking whether or not --
    19   review?                                           19        A. I don't know.
    20        A. Not always, no.                           20        Q. -- this trend of them being the
    21        Q. Why not?                                  21   primary driver actually goes back several years
    22        A. Because we generate our own               22   before 2016. Do you know?
    23   reports.                                          23            MS. KEARSE: Object to form.
    24        Q. Is it interesting to you to know          24        A. As to whether or not they were
    25   what the overall trends are in the state of       25   drivers, I -- I don't know. I don't know that
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                                                 Page 378                                                  Page 380
     1   to be the case.                                     1       Q. What's your understanding as to why
     2       Q. All right. Well, let's look at               2   the number of cocaine overdose deaths goes up
     3   this a little bit further.                          3   as between 2010 and 2016?
     4            The last full paragraph on this            4       A. Well, what I don't know about this
     5   particular page says that the number of             5   data is whether these are drugs that -- that
     6   overdose deaths involving heroin had remained       6   these drugs, while they're the cause of death,
     7   relatively flat, right, as between 2016 and         7   whether they were -- whether there were other
     8   2015?                                               8   substances involved, whether -- so I don't
     9       A. Yes.                                         9   really know what to attribute the increase in
    10       Q. Okay. And then if you turn the              10   cocaine deaths to be --
    11   page to page 2 of this exhibit, there's a          11       Q. What other sub- --
    12   section entitled "Unintentional Overdose Deaths    12       A. -- during --
    13   Involving Prescription Opioids Continued to        13       Q. -- I'm sorry. What other
    14   Decline."                                          14   substances do you have in mind?
    15            Do you see that?                          15       A. I'm talking about having any of
    16       A. I do see that.                              16   these mixed together in -- in a toxicology
    17       Q. Has that been true in Summit                17   report.
    18   County?                                            18       Q. Do you sometimes see illicit
    19            MS. KEARSE: Object to form.               19   fentanyl mixed together with cocaine in the
    20       A. As I'm sitting here right now, I            20   toxicology reports of an overdose death?
    21   don't -- I don't know the answer to that           21       A. I know that there is fentanyl. I
    22   question.                                          22   don't know if it's illicit fentanyl or not. I
    23       Q. Is that something you have ever             23   just know that they're -- the toxicology
    24   known; you just can't remember? Or is that         24   reports will list fentanyl as one of the
    25   something you've never paid attention to?          25   ingredients.
                                                 Page 379                                                  Page 381
     1       A. I've never really paid attention to          1        Q. Combined with cocaine?
     2   that.                                               2        A. Yes.
     3       Q. If you go down to Figure 2 at the            3        Q. Okay. Is Summit County claiming
     4   bottom of that second page, do you see there's      4   that the Defendants in this case are somehow
     5   some data that's depicted in this chart?            5   responsible for overdose deaths of individuals
     6       A. Yes.                                         6   who have overdosed on cocaine that's been cut
     7       Q. And it compares the percentage of            7   with illicit fentanyl?
     8   unintentional overdose deaths by drug from the      8             MS. KEARSE: Object to form.
     9   year 2010 to the year 2016. Do you see that?        9        A. I'm sorry. I didn't -- can you
    10       A. I do see that.                              10   repeat that question, please?
    11       Q. And do you see that the number of           11             MR. BOEHM: I'll have the court
    12   prescription opioid deaths is dropping, really,    12   reporter read it back.
    13   every year between 2010 and 2016. Do you see       13               (Record read.)
    14   that?                                              14             MS. KEARSE: Object to form.
    15       A. Yes, I do see that.                         15        A. I don't know that we've ever made
    16       Q. And on the contrary -- or by                16   any kind of mention about cocaine --
    17   contrast, I should say, fentanyl rises pretty      17        Q. Okay. So is the answer --
    18   dramatically, right?                               18        A. -- in this lawsuit, so, no.
    19       A. Yes.                                        19        Q. What about individuals who have
    20       Q. And heroin goes up and then kind of         20   overdosed on methamphetamine that's been cut by
    21   levels off?                                        21   illicit fentanyl? Is Summit County claiming
    22       A. Yes.                                        22   the Defendants are somehow responsible for
    23       Q. And then you see cocaine goes up,           23   those overdose deaths?
    24   too, right?                                        24             MS. KEARSE: Object to form.
    25       A. Yes, I do see that.                         25        A. I don't know that we -- I don't

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                                                Page 382                                                Page 384
     1   believe that that's part of the -- part of this  1     we've had topic experts who've -- who've been
     2   lawsuit, no.                                     2     able to help us to understand the -- the
     3        Q. Okay. What about individuals             3     relationship between the reduction in
     4   who've overdosed on illicit heroin and have      4     prescription opioids and the fact that that's
     5   never been prescribed a prescription opioid for  5     left people --
     6   a legitimate medical need? Is the County         6          Q. Not -- not -- I'm sorry. Go ahead.
     7   alleging that the Defendants in this case are    7     Go ahead.
     8   somehow responsible for those overdose deaths? 8            A. -- the fact that that's left people
     9        A. Yes, I believe they are.                 9     with no option other than to seek those drugs
    10        Q. Okay. What's your understanding         10     on the streets, that I --
    11   about that theory?                              11          Q. Not my question.
    12        A. Well, just as you see in the            12          A. Okay.
    13   first -- the first group of -- of prescription  13              MS. KEARSE: He's still -- he's
    14   opioids, as you see that decline over time, if  14     still answering the question.
    15   you look at the second, you see an increase     15              MR. BOEHM: I don't think so.
    16   over time in fentanyl and the analogues.        16              MS. KEARSE: Well, you just cut him
    17             So my belief is that the groundwork   17     off.
    18   was laid by the overprescribing of these        18          Q. My -- my question, just to -- just
    19   medications for -- for people to become         19     to let you hear it again --
    20   addicted, not have access to those med- --      20              MS. KEARSE: Counsel -- but,
    21   medications as the government shut -- shut down 21     Counsel, I -- if -- if you don't think it was
    22   some of the pill mills and tried to address the 22     the same question, I'd appreciate you let the
    23   overprescribing, and that that void was filled  23     witness still continue answering the question.
    24   with these other -- these other illicit         24              MR. BOEHM: I was getting a long
    25   substances.                                     25     answer to -- that wasn't --
                                                Page 383                                                Page 385
     1       Q. I understand that's your belief.            1           MS. KEARSE: Wait --
     2   Do you have any data, specific data, that you      2           MR. BOEHM: -- to something that
     3   rely on in espousing that belief?                  3   wasn't my question.
     4       A. Do I have any data? This is --              4           Let -- let me just ask it again, if
     5   this data here is pretty compelling.               5   that's okay.
     6       Q. Do you believe that what you see            6           MS. KEARSE: Well, Counsel --
     7   here is, by itself, enough to lead you to the      7           MR. BOEHM: Is that fair?
     8   conclusion that you just articulated?              8           MS. KEARSE: -- I'm just going to
     9       A. Not by itself it's not.                     9   object. If he's still answering the question,
    10       Q. Do you have any other data that you        10   let him finish --
    11   rely on in espousing the view that you just       11           MR. BOEHM: Sure.
    12   articulated?                                      12           MS. KEARSE: -- and then you can --
    13       A. Data? Not necessarily data, but            13           MR. BOEHM: Okay.
    14   other information that I've -- that I've come     14           MS. KEARSE: -- ask another
    15   to understand through discussions with -- you     15   question.
    16   know, with individuals who've been affected by    16       Q. Was there something more you wanted
    17   this and people who study this have led me to     17   to add there, Mr. Craig?
    18   that conclusion.                                  18       A. No.
    19       Q. What analyses or studies are you           19       Q. Okay. My question to you was what
    20   relying on for purposes of arriving at the        20   specific studies or analyses or reports are you
    21   conclusion, beyond just looking at these          21   relying on in arriving at the conclusion that
    22   charts?                                           22   individuals who had a prescription opiate
    23       A. Well, I think that this is                 23   addiction moved to fentanyl or other illicit
    24   something that as we've -- as we've learned       24   substances like heroin?
    25   more and more about this epidemic, we've --       25           I'm -- I'm asking you specifically
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                                                   Page 386                                                Page 388
     1   about actual reports, not general ideas or            1   about people who got addicted to heroin but
     2   thoughts. Specific data reports or analyses           2   never used prescription opioids.
     3   that you are relying on, if any, for that view.       3           Do you remember that?
     4            MS. KEARSE: Object to form.                  4       A. No.
     5        A. Well, I guess I would characterize            5       Q. Is the County claiming that
     6   this as an analysis, and in -- when I read the        6   Defendants are somehow responsible for
     7   book Dreamland and saw what happened in               7   individuals who became addicted to
     8   Portsmouth when they shut down those pill             8   non-prescription opioids without ever having
     9   mills, and the drug cartels moved in and they         9   used a prescription opioid, whether it was
    10   started to sell these substances on the              10   legally obtained or not?
    11   streets, they filled a void that was left.           11           MS. KEARSE: Object to form.
    12        Q. Okay. Anything else besides the              12       A. No, I don't believe they are.
    13   book Dreamland?                                      13       Q. Would we be able to use the claims
    14        A. No. But I think that -- you know,            14   data from ADAMHS in order to separate out
    15   I think that -- I think that that was a              15   individuals who got addicted to heroin without
    16   prevailing -- that was a prevailing and -- and       16   having developed an abuse disorder with
    17   accepted explanation for that.                       17   prescription opioids first?
    18        Q. Right. But my question right now             18       A. I've already answered this question
    19   is about analyses, specific analyses, reports,       19   a number of times.
    20   or studies that have been performed.                 20       Q. The answer is no, right?
    21        A. No others.                                   21       A. I've already answered this
    22        Q. Okay. With respect to Dreamland,             22   question.
    23   was that written by a medical doctor?                23       Q. Is the answer no?
    24        A. It was written by an investiga- --           24       A. I've answered this question.
    25   investigative reporter.                              25       Q. I just am confirming to make sure I
                                                   Page 387                                                Page 389
     1       Q. A newspaper reporter, right?                   1   understand correctly.
     2       A. I don't know what sort of reporter             2            MS. KEARSE: Right. And,
     3   he was, but he was a reporter for -- in               3   Counsel --
     4   Los Angeles, I believe.                               4       A. Then check the record. Check the
     5       Q. Reporter for the Los Angeles Times,            5   record.
     6   right?                                                6       Q. I -- I couldn't use your data to do
     7       A. If you say so.                                 7   that, right?
     8       Q. Do you know if he has a degree in              8            MS. KEARSE: Asked and answered.
     9   public health?                                        9   Objection.
    10       A. I don't know what his degree is in.           10       Q. I'm going to take that as a no, so
    11       Q. Do you know if he's an                        11   correct me if I'm misunderstanding. Is that
    12   epidemiologist?                                      12   fair?
    13       A. I don't know if he's an                       13            MS. KEARSE: Counsel, Let's move
    14   epidemiologist.                                      14   on.
    15       Q. Do you know if he's a                         15            MR. BOEHM: Okay.
    16   biostatistician?                                     16               - - - - -
    17       A. I don't know if he's a                        17            (Thereupon, Deposition Exhibit 30,
    18   biostatistician.                                     18            ADM Board Document Titled "Summit
    19       Q. Do you know if he has any of the              19            County Quick Response Team,"
    20   credentials who participated in the                  20            SUMMIT_001793050 to 001793051, was
    21   Presidential Commission report from 2017 that        21            marked for purposes of
    22   you have not yet read?                               22            identification.)
    23       A. I do not know that.                           23               - - - - -
    24           MS. KEARSE: Object to form.                  24       Q. I'm going to direct your attention
    25       Q. My original question to you was               25   to the next exhibit. It's Exhibit 30. We've

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                                                   Page 390                                                   Page 392
     1   gotten to a nice round number.                        1   a -- either a counselor or a recovery coach.
     2            This is -- oh -- yeah, I gave you            2            They knock on the doors of people
     3   the right one.                                        3   who've experienced an overdose to offer them an
     4            This is an ADAMHS Board Summit               4   opportunity to get into treatment.
     5   County Quick Response Team memo from March            5            We also provide information to
     6   2018.                                                 6   family members about treatment options and also
     7            Do you see that?                             7   some stories that -- of individuals who've --
     8       A. Yes, I do.                                     8   who are in recovery as a -- a message of hope.
     9       Q. Is this something you're familiar              9            The objective is to get that
    10   with?                                                10   individual who's recently experienced an
    11       A. Yes.                                          11   overdose within -- and those visits occur
    12       Q. How often do you put these out?               12   within a week of their overdose. The hope is
    13       A. I don't know.                                 13   that they would see that as an opportunity to
    14       Q. Okay.                                         14   engage that person in treatment.
    15       A. Possibly quarterly. We put                    15        Q. Thank you. Is that something
    16   maybe -- this is the only one that I'm aware of      16   that's been effective, from your perspective,
    17   that I've seen.                                      17   in addressing the opioid epidemic?
    18          (Telephonic interruption.)                    18        A. It's been helpful, yes.
    19       Q. It's okay. Go ahead. This is the              19        Q. There's some reference to an ADM
    20   only one that you've seen?                           20   Helpline in the document. What is the ADM
    21       A. This is the only one that I'm aware           21   Helpline?
    22   of having been produced.                             22        A. The ADM Helpline is a -- a phone
    23       Q. Okay. Were you aware of this one              23   system that's staffed during regular business
    24   at the time it was released?                         24   hours that allows an individual who -- or a
    25       A. Yes, I was.                                   25   family member who has a -- who's aware of
                                                   Page 391                                                   Page 393
     1        Q. Is this made available to the                 1   somebody with an addiction need, to get
     2   public?                                               2   information about resources to link them into
     3        A. This was made available to the                3   treatment.
     4   Quick Response Teams as part of the quarterly         4            So if I'm a -- if I'm a family
     5   meeting, I believe.                                   5   member and my son is with me and I want to try
     6        Q. Okay. And what's the purpose of               6   to get them into treatment, we can look at
     7   the Quick Response Team report?                       7   their insurance coverage, if they have it or
     8        A. This is to demonstrate the -- some            8   not, where they live, and what's the nature of
     9   of the -- some of the statistics related to the       9   their issue or problem, and we can link them to
    10   first response teams. The -- how many                10   services.
    11   individuals they touched, how many of those          11       Q. Got it.
    12   individuals that they touched got into               12       A. As part of -- as part of the
    13   treatment, and -- and the number of visits that      13   Addiction Helpline, we -- we can track the
    14   they -- that they had.                               14   length of time it takes from the time somebody
    15        Q. Okay. What are Quick Response                15   requests an appointment to the time that they
    16   Teams? Or is it just one thing? Is there just        16   get that appointment.
    17   one team, or are there multiple teams?               17            And also in response -- in return,
    18        A. In Summit County we have nine Quick          18   the agency tells us whether or not that
    19   Response Teams that touch 10 communities. The        19   referral was successful.
    20   communities that we touch represent about 85         20       Q. On the first page of this document
    21   percent of the overdoses that have occurred in       21   that's been marked as Exhibit 30 --
    22   Summit County.                                       22            MR. BOEHM: I think. Did I get
    23            The Quick -- each team is comprised         23   that right? Are we on Exhibit 30?
    24   of a police officer, a first respond- -- an          24            MS. KEARSE: Yeah. You said we
    25   EMS -- EMT, emergency medical technician, and        25   were at a -- finally at a round number.
                                                                                              99 (Pages 390 - 393)
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                                                   Page 394                                                   Page 396
      1           MR. BOEHM: Okay.                             1   down.
      2       Q. On the first page of Exhibit 30, in           2        Q. Why do you believe that the number
      3   bottom right-hand corner, do you see a little        3   of drug overdose deaths has been trending
      4   graphic there that says, "Top five substances        4   downward in Summit County?
      5   reported from the ADM Helpline in 2017"?             5        A. I'd like to believe that many of
      6       A. I'm not sure which is the first               6   the things that we put into place to mitigate
      7   page. I'm sorry.                                     7   the risk for people who are -- who -- who are
      8       Q. Yeah. It's 3050 on the bottom                 8   addicted have been effective in reducing those
      9   right-hand corner.                                   9   overdoses, but I also cannot rule out the
     10       A. Okay. Thank you.                             10   possibility that our -- the drugs that are --
     11       Q. You see that --                              11   that are out on the street are less potent.
     12       A. Oh, I'm --                                   12           So there could be a variety of
     13       Q. -- graphic?                                  13   reasons, and I can't make an attribution to any
     14       A. Yes, I do see that.                          14   one cause, but I'd like to believe that the
     15       Q. And this tells us the top five               15   collective efforts of our community would be
     16   substances that were reported from the ADM          16   making an impact.
     17   Helpline during the year of 2017, right?            17        Q. Have you ever had conversations
     18       A. Yes.                                         18   with individuals in -- in County government or
     19       Q. And it has heroin, meth, fentanyl,           19   at the ADAMHS Board about the reason why the
     20   alcohol, and cannabis, right?                       20   overdose deaths in Summit County has been
     21       A. This information is captured                 21   declining recently?
     22   directly from the individuals, so it's what         22        A. Have I had conversations?
     23   they report.                                        23        Q. About the reasons why.
     24       Q. Okay. Fair to say that                       24        A. If I'm asked, I -- I suppose, yes.
     25   prescription opioids doesn't make the list of       25        Q. What are the conversations? And
                                                   Page 395                                                   Page 397
      1   top five substances?                                 1   what have -- let me back up.
      2       A. It's not listed here, no.                     2            Are you indicating that you have
      3       Q. Just to make sure the record is               3   been asked why drug overdose deaths have been
      4   clear, so it is fair to say that prescription        4   going downward?
      5   opioids is not in the top five of the                5       A. I've been asked -- when presented
      6   substances reported to the ADM Helpline in           6   with the data that people would say, "Why do
      7   2017?                                                7   you think this is the case?"
      8           MS. KEARSE: Object to form.                  8       Q. And what have you said in response?
      9       A. Yes.                                          9       A. I'd say that a lot of our harm
     10               - - - - -                               10   reduction strategies have been effective; that
     11           (Thereupon, Deposition Exhibit 31,          11   the potency of the -- the drugs that are out in
     12           June 2015 E-Mail Chain between Kim          12   the community are -- are -- the drugs that are
     13           McMahan and Jerry Craig Re:                 13   out in the community are less potent, that the
     14           Prescribing, SUMMIT_001022445 to            14   dealers don't want to kill off their customers;
     15           001022447, was marked for purposes          15   that we've done a better job of getting people
     16           of identification.)                         16   into treatment faster; that we've increased the
     17               - - - - -                               17   capacity of our system. A lot of those factors
     18       Q. Has the overall number of drug               18   have, I think, weighed into that.
     19   overdose deaths in Summit County been going         19       Q. Okay. When you talk about potency
     20   downward in recent years?                           20   being not as strong because dealers don't want
     21       A. The number of overdoses? Yes.                21   to kill off their customers, are there
     22       Q. For how long has the trend been              22   particular illicit substances that you're
     23   downward?                                           23   referring to?
     24       A. Probably since November of 2017 it           24       A. Yes.
     25   started -- is when it started to -- to come         25       Q. What are those?
                                                                                            100 (Pages 394 - 397)
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                                                 Page 398                                                Page 400
      1       A. Fentanyl and carfentanil.                1    sent her, so I -- so I would be speculating.
      2       Q. Okay. All right. I want to direct        2        Q. But the bottom line is you believe
      3   your attention to this next document that's     3    that data from OARRS allows you to draw a
      4   been marked as Exhibit 31. This is an e-mail    4    conclusion that the volume of prescription
      5   exchange between you and that same reporter     5    opioids in the community is a driver of the
      6   from the Akron Beacon Journal, Kim McMahan. 6        amount of addiction and overdose deaths that
      7           Do you see that?                        7    you see in the community?
      8       A. Yes.                                     8        A. I think it goes back to this
      9       Q. And she sends you -- if you go to        9    prospect that when you see a reduction in the
     10   the bottom -- because it's an e-mail exchange, 10    number of opioids prescribed, that we have also
     11   you have to start at the bottom to --          11    seen that, an increase in the illicit opiates
     12       A. Uh-huh.                                 12    in the community.
     13       Q. -- start at the beginning.              13        Q. Okay. And that's the question that
     14           She, in June 2015 -- I'm sorry.        14    we were asking about earlier, where I was
     15   This is you writing to her in June 2015 at     15    asking you what data, specific analyses, and
     16   a.m., saying, "Thought you might be interested 16    reports you're relying on for that connection,
     17   in this OARRS report."                         17    right?
     18           Do you see that?                       18        A. Sure. Yes.
     19       A. Yes.                                    19        Q. Same -- same issue?
     20       Q. And then you say, "I think this is      20        A. Same issue.
     21   relatively self-explanatory."                  21        Q. A little bit later in the
     22           Do you see that?                       22    exchange -- this takes us to the first page of
     23       A. Yes.                                    23    Exhibit 31 --
     24       Q. "Gives you an idea about                24        A. Uh-huh.
     25   prescribing practices."                        25        Q. -- Ms. McMahan writes, "Thanks. I
                                                 Page 399                                                Page 401
      1           What did you have in mind when you       1   really need someone in the County to say
      2   wrote that?                                      2   something like (hundreds or thousands) have
      3       A. That in this -- in the OARRS              3   been saved by Narcan, because I really don't
      4   reports that there are typically -- there's      4   know. Since I'm reporting the deaths, I need
      5   typically information available about            5   to say something about how much it could be
      6   per capita doses that have been prescribed.      6   worse."
      7       Q. Okay. Why did you think that that         7           Do you see that?
      8   information might be interesting to this         8       A. Yes.
      9   reporter from the local newspaper?               9       Q. Do you know what she was trying to
     10       A. Because there's an association           10   communicate to you? What was your
     11   between the number of people who have their     11   understanding of what she was saying there?
     12   hands on prescription medications and people    12       A. My read on it was that she wanted
     13   who are -- fall prey to addiction.              13   to get a sense if -- she wanted to know whether
     14       Q. And you're saying that's based on        14   or not we could -- if we could quantify the
     15   this particular OARR- -- you just thought that  15   number of people who had been saved by Narcan.
     16   this OARRS report that you forwarded to her     16       Q. And you said you were going to try
     17   substantiated that?                             17   and get her something more definitive, right?
     18       A. In part, yes.                            18       A. Correct.
     19       Q. Okay. And what was it about this         19       Q. You didn't have that information at
     20   OARRS report that you believe substantiated the 20   your fingertips?
     21   idea that there's an association between the    21       A. That's correct.
     22   amount of prescription opioids available and    22       Q. Do you know if you ever provided
     23   people who, as you put it, fall prey to         23   her with any such information?
     24   addiction?                                      24       A. I don't recall.
     25       A. I don't remember the report that I       25       Q. Okay. The e-mail exchange that was

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                                                  Page 402                                                 Page 404
      1   produced to us in the litigation ends with her   1      SUMMIT_001039894.
      2   response to you where she says, "Jerry, today I  2              MS. KEARSE: Whatever Exhibit 23
      3   told someone that there have been 78 deaths      3      was, but thank you.
      4   caused by fentanyl and heroin in Summit County 4                MR. BOEHM: And let's go off the
      5   through June 9th."                               5      record for a moment.
      6            Did I read that correctly?              6              THE VIDEOGRAPHER: Off the record,
      7        A. Yes, you read that correctly.            7      7:08.
      8        Q. She goes on to say, "He said 'That       8              (A recess was taken.)
      9   doesn't seem like all that many.'"               9              THE VIDEOGRAPHER: On the record,
     10            Do you see that?                       10      7:21.
     11        A. I do see that.                          11              MR. BOEHM: Mr. Craig, thank you
     12        Q. And then she says, "Ah!!!," three       12      very much for your time today. I'm going to
     13   exclamation points.                             13      pass the -- pass my time along to
     14            Do you see that?                       14      Ms. Feinstein.
     15        A. Yes, I do see that.                     15              MS. FEINSTEIN: Thank you.
     16        Q. What did you understand -- did you      16             EXAMINATION OF GERALD CRAIG
     17   understand her to be frustrated by the fact     17      BY MS. FEINSTEIN:
     18   that somebody had said that doesn't seem like   18          Q. Good evening, Mr. Craig. I'll just
     19   all that many?                                  19      reintroduce myself briefly. I know we've all
     20            MS. KEARSE: Object to form.            20      been here for a long time. My name is Wendy
     21   Speculation.                                    21      West Feinstein. I represent the Teva
     22        A. I don't know -- I don't know why        22      Defendants in this litigation.
     23   she made that exclamation.                      23              Do you know who the Teva Defendants
     24        Q. What was your read of it when you       24      are?
     25   saw this e-mail come through?                   25          A. Did you say Tubba?
                                                  Page 403                                                 Page 405
      1           MS. KEARSE: Object to form.                 1       Q. Teva.
      2       A. I don't know. Kim -- Kim's always            2       A. Teva? Yes, I've -- I've heard of
      3   been sort of exuberant in her -- in her             3   Teva.
      4   interactions with me.                               4       Q. Okay. Do you know Teva to be a
      5       Q. Did she -- do you think she was              5   manufacturer of prescription opioids?
      6   excited when she said, "Ah!!!"?                     6       A. I'm just familiar with the name.
      7           MS. KEARSE: Object. Asked and               7       Q. Do you know whether Teva
      8   answered.                                           8   manufactures prescription opioids?
      9       A. I don't -- I don't know what                 9       A. I don't know that.
     10   you'd -- I don't know why she put "Ah" with        10       Q. Do you know why it's a defendant in
     11   three exclamation points.                          11   this case?
     12       Q. So you have no idea one way or              12       A. I know that -- that any -- any
     13   another?                                           13   company that was named in the suit has had a
     14       A. No.                                         14   role in the complaint.
     15       Q. Okay. You don't know if she was             15       Q. Do you have any understanding of
     16   disappointed that the number of deaths from        16   what role Teva played that resulted in it being
     17   fentanyl and heroin in Summit County through       17   named in the lawsuit?
     18   June 9th had caused somebody to say that's not     18       A. Not specifically, no.
     19   very many?                                         19       Q. Earlier this evening you spoke
     20           MS. KEARSE: Objection. Asked and           20   about -- or throughout the day, actually,
     21   answered.                                          21   you've mentioned several times, pill mills. Do
     22       A. Again, I don't know.                        22   you recall that testimony --
     23       Q. Okay.                                       23       A. Yes, I --
     24           MR. BOEHM: For the record, the             24       Q. -- talking about pill mills?
     25   Bates number for Exhibit 23 is                     25   Sorry.
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                                                   Page 406                                                Page 408
      1       A. Sorry. Yes, I do.                             1           MS. KEARSE: Object to form.
      2       Q. You would agree with me that pill             2       A. I was not aware that the FDA has to
      3   mills are illegal operations, right?                 3   approve those packet inserts.
      4            MS. KEARSE: Object to form.                 4       Q. Have you ever read the package
      5       A. That would probably be a good way             5   insert for a prescription medication?
      6   to characterize them, yes.                           6       A. No, I have not.
      7       Q. And they're -- they're shut down by           7       Q. So you've never read the package
      8   the authorities because they're illegal              8   insert that goes along with an opioid.
      9   operations, right?                                   9           MS. KEARSE: Object to form.
     10            MS. KEARSE: Object to form.                10       A. That is correct.
     11       A. The ones that are shut down are              11       Q. Are you aware that the package
     12   shut down by the authorities because they're        12   inserts for prescription medications include
     13   illegal, yes.                                       13   information about risks associated with those
     14       Q. And you understand that                      14   pharmaceutical products?
     15   prescription opioids, in and of themselves, are     15           MS. KEARSE: Object to form.
     16   not illegal?                                        16       A. Generally, yes.
     17       A. That's correct.                              17       Q. Are you aware that the package
     18       Q. So it is legal for a physician to            18   inserts for prescription opioids include
     19   prescribe, for a medical need, a prescription       19   information about the risk of addiction?
     20   opioid in the United States, correct?               20           MS. KEARSE: Object to form.
     21       A. That's correct.                              21       A. Am I aware that that -- that -- I
     22       Q. And for some patients -- you would           22   don't have direct knowledge of that, but I
     23   agree with me that for some patients suffering      23   would -- I would tend to believe that.
     24   from pain, that a prescription opioid is the        24       Q. Have you ever heard of risk
     25   pharmaceutical product that alleviates that         25   evaluation and mitigation strategies with
                                                   Page 407                                                Page 409
      1   pain for that patient?                               1   respect to opioids -- prescription opioids?
      2       A. To some degree or extent, yes.                2       A. Not -- not in that term and not
      3       Q. And you would agree that for some             3   with prescription opioids.
      4   patients suffering from pain, that prescription      4           We have a term that we call "harm
      5   opioids may be medically necessary?                  5   reduction strategies" within our -- you know,
      6            MS. KEARSE: Object to form.                 6   our business.
      7       A. Yes, I would agree.                           7       Q. Have you ever heard of -- it's
      8       Q. And that determination is made by             8   sometimes also called the REMS program for
      9   their physician, correct?                            9   prescription opioids, R-E-M-S?
     10       A. Yes.                                         10       A. I've not heard of R-E-M-S.
     11       Q. You testified earlier today that             11       Q. Do you -- you mentioned earlier
     12   you're not familiar with the FDA regulations        12   that you had heard of -- of Teva before. Can
     13   that apply to pharmaceuticals, right?               13   you please tell me whether you are familiar
     14       A. No, I -- I'm not.                            14   with the prescription opioid manufacturers who
     15       Q. You are not aware?                           15   are defendants in this litigation?
     16       A. I'm not aware.                               16       A. In -- in what way?
     17       Q. Are you aware that prescription              17       Q. Are you familiar with them as, one,
     18   opioids are approved by the FDA?                    18   prescription opioid manufacturers, and, two,
     19       A. I believe that all drugs that are            19   with what product they manufacture?
     20   distributed through pharmacies have -- have to      20       A. If I was given a test, I probably
     21   be approved by the FDA.                             21   could not assign a specific opioid to a
     22       Q. Are you aware that the FDA also              22   specific manufacturer. Many of the
     23   approves what is called as a -- as a package        23   manufacturers have been talked about more than
     24   insert that is provided along with prescription     24   others, so some of them I would recognize.
     25   medications?                                        25       Q. But you -- just kind of sitting
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                                                   Page 410                                                Page 412
      1   here today, you couldn't identify for me a list      1   a prescription opioid manufacturer? Not a
      2   of prescription opioid manufacturers who are         2   physician about or a researcher about a
      3   named in the Summit County lawsuit?                  3   prescription opioid, but false statements made
      4       A. Not off the top of my head, I                 4   by a prescription opioid manufacturer that you
      5   couldn't, no.                                        5   have personal knowledge of?
      6       Q. Do you know the prescription                  6           MS. KEARSE: Object to form.
      7   opioid -- any prescription opioid names off the      7       A. No, I do not.
      8   top of your head, the products?                      8       Q. Do you personally have any
      9       A. I could name some off the top of my           9   information about any agreements between or
     10   head, yes.                                          10   among any prescription opioid manufacturers?
     11       Q. What can you name off the top of             11       A. No, I do not.
     12   your head?                                          12       Q. Do you personally have any
     13       A. Opana, OxyContin, Dilaudid,                  13   information about anything that any of the
     14   methadone.                                          14   prescription opioid manufacturers did wrong in
     15           I'm drawing a blank on -- on some           15   Summit County?
     16   of the other -- morphine, and probably some         16           MS. KEARSE: Object to form.
     17   others that I can't think of right off the top      17       A. No, I do not.
     18   of my head.                                         18           MS. FEINSTEIN: Give me one second
     19       Q. Do you know any of the -- do you             19   to look through my notes, but I think I'm done.
     20   know the name of the manufacturer of any of         20           Thank you. I will now hand the
     21   those that you just listed?                         21   microphone to one of my colleagues. I
     22       A. Not -- not -- I wouldn't bet the             22   appreciate your time.
     23   house on it.                                        23         EXAMINATION OF GERALD CRAIG
     24       Q. And I believe you testified about            24   BY MR. MOYLAN:
     25   this earlier, but I just want to confirm, and I     25       Q. Mr. Craig, again, my name is Daniel
                                                   Page 411                                                Page 413
      1   apologize if I'm repeating.                          1   Moylan, and I represent the CVS Defendants in
      2            You have not seen any advertising,          2   the litigation. I'll just have, I think,
      3   direct-to-consumer advertising, for                  3   relatively few questions.
      4   prescription opioids, have you?                      4            Have you ever heard of a company
      5        A. Not that I can recall.                       5   called CVS Indiana LLC?
      6        Q. Do you personally have any                   6       A. I've heard of CVS, but not
      7   information about any false statements made by       7   specifically the longer version of that.
      8   any of the prescription opioid manufacturers in      8       Q. Okay. So you haven't heard of that
      9   this litigation?                                     9   particular entity?
     10        A. I'm aware, through reading                  10       A. Right.
     11   Dreamland, that the -- that there was a letter      11       Q. Have you heard of an entity called
     12   that was -- was cited by -- I don't know if it      12   CVS Rx Services, Inc.?
     13   was a doctor, but his name was Jick, that           13       A. I have not.
     14   led -- that was used to diminish the -- I'm         14       Q. Okay. So is it fair to say that
     15   sorry. I'm having -- having a hard time             15   you don't have an understanding of what either
     16   tracking here -- that was used to downplay the      16   of those entities' business -- what the nature
     17   addictive nature of opiates.                        17   of that business is?
     18        Q. Okay. Is Dr. Jick a manufacturer            18       A. That would be a fair assessment.
     19   of prescription opioids?                            19       Q. Were you aware that either of those
     20        A. I don't believe that he was a -- a          20   entities is a defendant in this case?
     21   manufacturer.                                       21       A. I am not aware.
     22        Q. Okay. And -- and my question was a          22       Q. So it's fair to say that you don't
     23   little bit different than that. My -- my            23   have an understanding of why they're named as
     24   question is, do you personally have any             24   defendants?
     25   information about any false statements made by      25       A. I wouldn't -- I wouldn't go that
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                                                  Page 414                                               Page 416
      1   far. I think that we -- we understand that          1   of the claims against Walgreens --
      2   certain companies have been identified as           2           MS. KEARSE: Object to form.
      3   having a role in the -- in the distribution of      3       Q. -- in the case?
      4   large amounts of -- of medic- -- of                 4           MS. KEARSE: Object to form.
      5   prescription pain medications.                      5       A. That's correct.
      6       Q. Okay. What do you specifically               6       Q. Okay. Were you aware that of all
      7   know about the distribution activity of those       7   of the retail pharmacy chains that I've
      8   two entities that I just referred to?               8   mentioned, that none of them is sued in their
      9       A. I know nothing about the                     9   role as a pharmacy in this litigation?
     10   distribution activities of those two companies.    10       A. No, I'm not aware of that.
     11       Q. Okay. In addition to CVS, are you           11       Q. Okay. So you're not aware that
     12   aware of any other national pharmacy chains        12   none of those entities is sued for its role in
     13   that are defendants in this case?                  13   dispensing prescription opioids?
     14       A. Walmart. And that's -- that's the           14           MS. KEARSE: Object to form.
     15   only one I can think of right now today.           15       A. I'm not aware of that, yes -- or,
     16       Q. And you know that from your review          16   no. No, I'm not aware of that.
     17   of the complaint that you described earlier?       17       Q. Okay. Do you have any personal
     18       A. From my review of the -- from --            18   knowledge or information about anything that
     19   from what I've -- not necessarily from the         19   the whole- -- wholesale distributors did wrong
     20   review of the complaint. I think that I just       20   with respect to the prescription opioid
     21   recognize that they were -- their name was --      21   epidemic in Summit County?
     22   was -- was included in the -- in the suit.         22           MS. KEARSE: Object to form.
     23       Q. Okay. And what do you understand            23       A. In Summit County, no.
     24   about the nature of the claims against Walmart?    24       Q. Okay. Over your tenure as
     25       A. I don't -- I don't know that I've           25   executive director of the ADAMHS Board, have
                                                  Page 415                                               Page 417
      1   read the suit to really understand what the         1   you ever communicated with any CVS personnel
      2   claims are against Walmart.                         2   about efforts to address the opioid problem in
      3        Q. Okay. With respect to Rite Aid,             3   Summit County?
      4   are you aware that they're a defendant in the       4       A. Have I -- I'm sorry. Could you
      5   litigation?                                         5   repeat the question?
      6        A. I don't know if -- I don't know             6       Q. Have you ever had any personal
      7   that -- I don't know if -- if Rite Aid is a --      7   interactions with CVS personnel with respect to
      8   is a -- is a defendant in this case or not.         8   the opioid problem in Summit County?
      9        Q. Okay. So it's fair to say that if           9       A. No.
     10   I represent that they are a defendant, you         10       Q. The same question with respect to
     11   don't have any understanding of the basis of       11   Rite Aid. Do you recall having any discussions
     12   the claims against Rite Aid?                       12   with Rite Aid personnel with respect to the
     13        A. That would be correct.                     13   opioid problem in Summit County?
     14        Q. And with respect to Walgreens, were        14       A. Yes.
     15   you aware that they were a defendant in            15       Q. What do you remember about
     16   the lit- -- in the litigation?                     16   conversations with Rite Aid personnel?
     17        A. Well, earlier I was equivocating           17       A. I just had a -- a conversation with
     18   about whether I should say Walgreens because I     18   a pharmacist who worked at -- at one of the
     19   thought I remembered seeing Walgreen, but I        19   Rite Aids where I picked up a prescription
     20   wasn't going to speak because I wasn't sure.       20   and -- and asked about the use of drug disposal
     21        Q. So you're not sure that they're            21   pouches and sort of getting a sense of what
     22   named as a defendant?                              22   he's -- what he's seeing in his -- in his
     23        A. I'm not sure that they are.                23   pharmacy.
     24        Q. Okay. And so it's fair to say that         24       Q. When did this conversation happen,
     25   you don't have any understanding of the nature     25   if you remember?
                                                                                         105 (Pages 414 - 417)
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                                                    Page 418                                                   Page 420
      1       A. Sometime within the past six                   1   same topic?
      2   months.                                               2       A. No, I have not.
      3       Q. And it's your general understanding            3       Q. Okay. Are you generally familiar
      4   that Rite Aid has dug -- drug distribution            4   with efforts by the retail pharmacies that I've
      5   centers at some of its pharmacies in Summit           5   mentioned to make naloxone available without a
      6   County?                                               6   prescription?
      7       A. Yes.                                           7            MS. KEARSE: Object to form.
      8       Q. Okay. What was the -- what was the             8       A. I know that there have been
      9   nature of the discussion with the pharmacist          9   pharmacies who have made naloxone available to
     10   that you mentioned?                                  10   individuals without a prescription, but I don't
     11       A. I don't recall specifically what --           11   know which pharmacies those are. I don't
     12   what I asked. I think one of the inquiries           12   have -- I don't collect that information to --
     13   that I made was whether or not they made those       13   for ease of retrieval, so -- so I don't --
     14   drug disposal pouches available to customers.        14   again, I couldn't tell you which pharmacies
     15   And I also offered that our task force would be      15   those are.
     16   willing to provide some materials to the             16       Q. If I represented to you that my
     17   pharmacy.                                            17   understanding is that each of the national
     18       Q. And has there been any followup               18   retail chains that I've referred to currently
     19   since then regarding the -- the issue that you       19   make naloxone available without a prescription
     20   discussed?                                           20   in Summit County, does that sound correct or
     21       A. I left some of that information               21   not to you?
     22   with my staff, and I don't know that they're --      22            MS. KEARSE: Object to form. Asked
     23   whether there's been followup or not.                23   and answered.
     24       Q. Do you have a sense of how many               24       A. I -- I just don't know.
     25   Rite Aid pharmacies in Summit County have drug       25       Q. Okay.
                                                    Page 419                                                   Page 421
      1   distribution facilities?                              1              - - - - -
      2       A. I'm not aware, no.                             2           (Thereupon, Deposition Exhibit 32,
      3       Q. Which -- which particular pharmacy             3           9/15/2016 E-Mail Chain between
      4   did this pharmacist work at?                          4           Douglas Smith and Jerry Craig Re:
      5       A. Tallmadge.                                     5           Pharmacies with Naloxone,
      6       Q. Okay. Do you remember the name of              6           SUMMIT_000870043 to 000870044, was
      7   the pharmacist?                                       7           marked for purposes of
      8       A. No.                                            8           identification.)
      9       Q. Apart from this conversation with              9              - - - - -
     10   the Tallmadge pharmacist, have you had any           10           THE WITNESS: Excuse me.
     11   other conversations with Rite Aid personnel          11           MR. MOYLAN: I've just handed you
     12   about efforts to deal with the opioid problem        12   an exhibit marked as Exhibit 32. The Bates
     13   in Summit County?                                    13   number is SUMMIT_000870043.
     14       A. No, I have not.                               14           MS. KEARSE: Can I -- was there a
     15       Q. With respect to Walgreens, do you             15   3- -- okay. I'm sorry. There was a 31. Okay.
     16   have any recollection of conversations that          16        Q. It appears to be an e-mail exchange
     17   you've had with any Walgreens personnel              17   between you and Doug Smith, and the date of the
     18   regarding efforts to combat the opioid               18   first e-mail appears to be from September 15,
     19   problem --                                           19   2016.
     20       A. No.                                           20           The subject line of the e-mails
     21       Q. -- in Summit County?                          21   appears to be "Pharmacies with naloxone," and
     22       A. I'm sorry. No, I have not.                    22   Mr. Smith's e-mail to you appears to be a
     23       Q. And same question with respect to             23   response that says, "Only CVS so far in our
     24   Walmart. Do you have any recollection of             24   county. Amazing that Acme is not on board
     25   discussions with Walmart personnel about the         25   yet."

                                                                                             106 (Pages 418 - 421)
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                                                     Page 422                                                Page 424
      1            What is your understanding of what            1   does it look familiar to you as -- as a
      2   this exchange means as you read it today?              2   LISTSERV e-mail that you did review or not?
      3        A. Based on what I'm reading here, it             3       A. Okay.
      4   would be pharmacies that -- that have naloxone.        4       Q. Does it look like a particular
      5   It's not clear to me what that means, though.          5   LISTSERV message that you recall having
      6        Q. Okay. But --                                   6   reviewed before?
      7        A. Whether that means that they -- I'm            7       A. I have not, no.
      8   sorry. Whether that means that they stock it           8       Q. Okay. I'm just going to have a
      9   or that they make it available to people free          9   couple of questions, then, about the contents.
     10   of charge, or -- or how that -- you know,             10            If you could turn to the page with
     11   what -- what exactly -- how that's -- what that       11   the Bates number that ends in 144. It's near
     12   means.                                                12   the end.
     13        Q. Okay. Do you recall this is an                13            MS. KEARSE: I'll have a running
     14   exchange that you had with Doug Smith in or           14   objection that the witness does not recall
     15   around September of 2016?                             15   reading or reviewing this document before.
     16        A. I -- to be honest with you, I don't           16       Q. Okay. You'll note near the top
     17   remember this -- this exchange.                       17   that there -- the first full paragraph begins
     18        Q. But you don't have any doubt that             18   "Rite Aid," and I would just ask you to read
     19   you did engage in this e-mail exchange with           19   the first sentence of that paragraph, "Rite
     20   him?                                                  20   Aid" -- "Rite Aid has trained."
     21        A. Yes.                                          21            MS. KEARSE: The document speaks
     22        Q. Okay.                                         22   for itself, Counsel.
     23               - - - - -                                 23       Q. So just to read it into the record,
     24            (Thereupon, Deposition Exhibit 33,           24   "Rite Aid has trained over 8,400 pharmacists on
     25            3/29/2016 E-Mail Re: Very Important          25   naloxone and is dispensing naloxone to patients
                                                     Page 423                                                Page 425
      1           Invitation and New Information,"               1   without needing an individual prescription in
      2           etc., with Attachment,                         2   10 states with plans to expand to additional
      3           SUMMIT_001040139 to 001040146, was             3   states."
      4           marked for purposes of                         4            My question is, do you have any
      5           identification.)                               5   recollection, in reviewing that, of whether
      6               - - - - -                                  6   Rite Aid is currently supplying naloxone
      7       Q. Just handed you what's been marked              7   without a prescription within Summit County?
      8   as Exhibit 33. The Bates number on this                8            MS. KEARSE: Object to form and
      9   document is SUMMIT_001040139.                          9   asked and answered.
     10           It appears to come from a LISTSERV,           10       A. If I'm -- if I was ever aware of
     11   and one that we've seen in a number of e-mails.       11   that, I've forgotten, so I'm not -- I don't
     12   So when you look at the top line of the e-mail,       12   have a recollection of that.
     13   that has the "From," do you have an                   13       Q. Even today you're not aware of
     14   understanding, as you look at that, what --           14   whether Rite Aid is supplying naloxone without
     15   what this sender refers to?                           15   a prescription?
     16       A. No. What I can tell you, just to               16       A. I do not. I don't know for sure.
     17   add a little bit of context to this, is that I        17       Q. Okay. And if you could turn to the
     18   was on this LISTSERV, and we got five, six, up        18   last page of the e-mail I'll read into the
     19   to 10 e-mails a day from this particular              19   record. There's a paragraph that states, "In
     20   LISTSERV, so I didn't read all of these.              20   February, Walgreens announced that it will
     21       Q. Okay. If you could scan through                21   install" -- "install safe medication disposal
     22   this briefly. I'm only going to have a few            22   kiosks in more than 500 drug stores across the
     23   questions.                                            23   country, primarily at locations open 24 hours."
     24       A. Okay.                                          24            Were you aware whether Walgreens
     25       Q. But my -- my first question is,                25   has installed safe medication disposal kiosks
                                                                                             107 (Pages 422 - 425)
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                                                   Page 426                                                Page 428
      1   at drugstores within Summit County?                  1           MS. FEINSTEIN: Okay.
      2       A. I'm not aware, no.                            2           THE VIDEOGRAPHER: Off the record,
      3       Q. Okay. There's also a statement in             3   7:47.
      4   that paragraph that says, "Walgreens will make       4           (A recess was taken.)
      5   naloxone available without needing an                5           THE VIDEOGRAPHER: On the record,
      6   individual prescription at its 35" -- "at its        6   7:58.
      7   pharmacies in 35 states and Washington, D.C.         7          EXAMINATION OF GERALD CRAIG
      8   throughout this year."                               8   BY MS. KEARSE:
      9           Are you aware whether Walgreens is           9       Q. Good evening, Mr. Craig. Thank you
     10   currently supplying naloxone without a              10   for being here today and answering questions of
     11   prescription in Summit County?                      11   counsel. I have one question for you.
     12           MS. KEARSE: Objection. Asked and            12           What percentage of people with a
     13   answered.                                           13   substance use disorder seek treatment?
     14       A. I'm not aware.                               14       A. National statistics that we've --
     15       Q. Okay. And the last paragraph                 15   that we've used in our presentations would
     16   refers to CVS Health, similar content. It has       16   indicate that fewer than 10 percent of people
     17   worked to increase naloxone by establishing         17   with substance use disorders actually touch
     18   standing orders in collaborative practice           18   treatment systems. So I could -- so we use
     19   agreements.                                         19   those same statistics and apply those to our
     20           The question I have is, are you             20   local community.
     21   aware whether CVS is currently supplying            21           MS. KEARSE: Thank you, Mr. Craig.
     22   naloxone without a prescription within Summit       22   That's all the question I have, and thank you
     23   County?                                             23   for being here today.
     24           MS. KEARSE: Object to form.                 24           MR. BOEHM: I -- I just have one
     25       A. I'm not aware. I don't have direct           25   question about that.
                                                   Page 427                                                Page 429
      1   knowledge.                                           1           EXAMINATION OF GERALD CRAIG
      2        Q. Okay. The last sentence in that              2   BY MR. BOEHM:
      3   document says, "CVS Health has also launched a       3       Q. With respect to the percentage of
      4   drug abuse prevention program called                 4   people with a substance use disorder who seek
      5   Pharmacists Teach, which brings CVS pharmacists      5   treatment in Summit County, do you have any
      6   into schools across the country to educate           6   statistical data on that particular subject?
      7   students about the dangers of drug abuse."           7       A. On that --
      8           Are you aware of the CVS                     8       Q. In Summit County.
      9   pharmacists program?                                 9       A. -- in Summit County?
     10        A. I am not.                                   10       Q. Yeah.
     11        Q. And are you aware of whether the            11       A. No.
     12   program has been rolled out or implemented          12            MR. BOEHM: Thanks.
     13   within Summit County?                               13           EXAMINATION OF GERALD CRAIG
     14           MS. KEARSE: Object to form.                 14   BY MS. KEARSE:
     15        A. I've not -- I've not heard that             15       Q. And, Counsel [sic], is there any
     16   it's been rolled out in Summit County.              16   reason to think that Summit County is any
     17           MR. MOYLAN: Okay. That's all the            17   different from your national statistics that
     18   questions I have. Thank you.                        18   you just talked about?
     19           THE WITNESS: Okay.                          19       A. There's no reason to believe that.
     20           MR. MOYLAN: So we go off the                20            MS. KEARSE: Thank you.
     21   record.                                             21           EXAMINATION OF GERALD CRAIG
     22           MS. FEINSTEIN: Any questions on             22   BY MR. BOEHM:
     23   the phone or anything from you guys?                23       Q. Is that true with respect to any
     24           MS. KEARSE: I'm going to take a             24   statistics that we've discussed today, or are
     25   break, and we'll let you know.                      25   there diff- -- different demographics and
                                                                                           108 (Pages 426 - 429)
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                                                   Page 430                                                    Page 432
      1   population-based reasons why information such 1                  REPORTER'S CERTIFICATE
      2   as that might actually vary dramatically from  2         The State of Ohio, )
      3   state to state or region to -- region by       3                          SS:
      4   region?                                        4         County of Cuyahoga. )
      5       A. Absent any local data, we tend to       5
      6   use the national data.                         6                  I, Stephen J. DeBacco, a Notary
      7       Q. Okay. You don't consider yourself       7         Public within and for the State of Ohio, duly
      8   an expert in terms of population-based         8         commissioned and qualified, do hereby certify
      9   statistics, right?                             9         that the within named witness, GERALD CRAIG,
     10       A. That's correct.                        10         was by me first duly sworn to testify the
     11            MR. BOEHM: Okay. Thank you.          11         truth, the whole truth and nothing but the
     12            MS. KEARSE: That's it.               12         truth in the cause aforesaid; that the
     13            MS. FLOWERS: Off the record.         13         testimony then given by the above-referenced
     14            THE VIDEOGRAPHER: Off the record, 14            witness was by me reduced to stenotypy in the
     15   7:59.                                         15         presence of said witness; afterwards
     16       (Deposition concluded at 7:59 p.m.)       16         transcribed, and that the foregoing is a true
     17                 ~~~~~                           17         and correct transcription of the testimony so
     18                                                       18   given by the above-referenced witness.
     19                                                       19            I do further certify that this
     20                                                       20   deposition was taken at the time and place in
     21                                                       21   the foregoing caption specified and was
     22                                                       22   completed without adjournment.
     23                                                       23
     24                                                       24
     25                                                       25
                                                   Page 431                                                    Page 433
      1   Whereupon, counsel was requested to give         1                I do further certify that I am not
      2   instructions regarding the witness's review of   2       a relative, counsel or attorney for either
      3   the transcript pursuant to the Civil Rules.      3       party, or otherwise interested in the event of
      4                                                    4       this action.
      5               SIGNATURE:                           5                IN WITNESS WHEREOF, I have hereunto
      6   Transcript review was requested pursuant to the 6        set my hand and affixed my seal of office at
      7   applicable Rules of Civil Procedure.             7       Cleveland, Ohio, on this 16th day of
      8                                                    8       January, 2019.
      9           TRANSCRIPT DELIVERY:                     9
     10   Counsel was requested to give instructions      10
     11   regarding delivery date of transcript.          11
     12                                                   12
     13                                                   13             <%11472,Signature%>
     14                                                   14             Stephen J. DeBacco, Notary Public
     15                                                   15             within and for the State of Ohio
     16                                                   16
     17                                                   17       My commission expires September 30, 2022.
     18                                                   18
     19                                                   19
     20                                                   20
     21                                                   21
     22                                                   22
     23                                                   23
     24                                                   24
     25                                                   25

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                                                                          Page 434                                                                        Page 436
      1                 Veritext Legal Solutions                                      1         DEPOSITION REVIEW
                         1100 Superior Ave                                                     CERTIFICATION OF WITNESS
      2                    Suite 1820                                                 2
                        Cleveland, Ohio 44114                                           ASSIGNMENT REFERENCE NO: 3182086
      3                  Phone: 216-523-1313                                          3 CASE NAME: In Re: National Prescription Opiate Litigation
      4                                                                                 DATE OF DEPOSITION: 1/11/2019
          January 16, 2019                                                            4 WITNESS' NAME: Gerald Craig
                                                                                      5     In accordance with the Rules of Civil
      5
                                                                                        Procedure, I have read the entire transcript of
          To: Anne Kearse, Esq.
                                                                                      6 my testimony or it has been read to me.
      6
                                                                                      7     I have listed my changes on the attached
          Case Name: In Re: National Prescription Opiate Litigation
                                                                                        Errata Sheet, listing page and line numbers as
      7                                                                               8 well as the reason(s) for the change(s).
          Veritext Reference Number: 3182086                                          9     I request that these changes be entered
      8                                                                                 as part of the record of my testimony.
        Witness: Gerald Craig         Deposition Date: 1/11/2019                     10
      9                                                                                     I have executed the Errata Sheet, as well
     10 Dear Sir/Madam:                                                              11 as this Certificate, and request and authorize
     11                                                                                 that both be appended to the transcript of my
        Enclosed please find a deposition transcript. Please have the witness        12 testimony and be incorporated therein.
     12                                                                              13 _______________           ________________________
        review the transcript and note any changes or corrections on the                Date              Gerald Craig
     13                                                                              14
        included errata sheet, indicating the page, line number, change, and                Sworn to and subscribed before me, a
     14                                                                              15 Notary Public in and for the State and County,
        the reason for the change. Have the witness’ signature notarized and            the referenced witness did personally appear
     15                                                                              16 and acknowledge that:
        forward the completed page(s) back to us at the Production address           17     They have read the transcript;
                                                                                            They have listed all of their corrections
     16 shown
                                                                                     18     in the appended Errata Sheet;
     17 above, or email to production-midwest@veritext.com.
                                                                                            They signed the foregoing Sworn
     18
                                                                                     19     Statement; and
        If the errata is not returned within thirty days of your receipt of                 Their execution of this Statement is of
     19                                                                              20     their free act and deed.
        this letter, the reading and signing will be deemed waived.                  21     I have affixed my name and official seal
     20                                                                              22 this ______ day of_____________________, 20____.
     21 Sincerely,                                                                   23         ___________________________________
     22 Production Department                                                                   Notary Public
     23                                                                              24
     24                                                                                         ___________________________________
     25 NO NOTARY REQUIRED IN CA                                                     25         Commission Expiration Date

                                                                          Page 435                                                      Page 437
      1           DEPOSITION REVIEW                                                   1            ERRATA SHEET
                 CERTIFICATION OF WITNESS
      2                                                                                        VERITEXT LEGAL SOLUTIONS MIDWEST
         ASSIGNMENT REFERENCE NO: 3182086                                             2          ASSIGNMENT NO: 1/11/2019
      3 CASE NAME: In Re: National Prescription Opiate Litigation
                                                                                      3   PAGE/LINE(S) /    CHANGE       /REASON
         DATE OF DEPOSITION: 1/11/2019
      4 WITNESS' NAME: Gerald Craig                                                   4   ___________________________________________________
      5     In accordance with the Rules of Civil                                     5   ___________________________________________________
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me.                                       6   ___________________________________________________
      7     I have made no changes to the testimony                                   7   ___________________________________________________
        as transcribed by the court reporter.                                         8   ___________________________________________________
      8
        _______________          ________________________                             9   ___________________________________________________
      9 Date              Gerald Craig                                               10   ___________________________________________________
     10     Sworn to and subscribed before me, a
        Notary Public in and for the State and County,
                                                                                     11   ___________________________________________________
     11 the referenced witness did personally appear                                 12   ___________________________________________________
        and acknowledge that:                                                        13   ___________________________________________________
     12
            They have read the transcript;                                           14   ___________________________________________________
     13     They signed the foregoing Sworn                                          15   ___________________________________________________
            Statement; and                                                           16   ___________________________________________________
     14     Their execution of this Statement is of
            their free act and deed.                                                 17   ___________________________________________________
     15                                                                              18   ___________________________________________________
            I have affixed my name and official seal
     16
                                                                                     19
        this ______ day of_____________________, 20____.                                _______________      ________________________
     17                                                                              20 Date          Gerald Craig
                ___________________________________
     18         Notary Public                                                        21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     19         ___________________________________                                  22 DAY OF ________________________, 20______ .
                Commission Expiration Date
                                                                                     23       ___________________________________
     20
     21                                                                                       Notary Public
     22                                                                              24
     23
     24                                                                                       ___________________________________
     25                                                                              25       Commission Expiration Date

                                                                                                                                    110 (Pages 434 - 437)
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              0
                             376:14               169:24              10/22/2013 9:14
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